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      9
                              UNITED STATES DISTRICT COURT
     10
     11              FOR THE SOUTHERN DISTRICT OF CALIFORNIA

     12
     13                                                   Case No. 15-MD-2670 JLS (MDD)
          IN RE: PACKAGED SEAFOOD
          PRODUCTS ANTITRUST LITIGATION
     14                                                   [REDACTED] THIRD
          This Document Relates To:                       AMENDED CONSOLIDATED
     15
                                                          CLASS ACTION COMPLAINT
          The Indirect Purchaser End Payer Actions
     16                                                   OF THE INDIRECT
     17                                                   PURCHASER END PAYER
                                                          PLAINTIFFS
     18
     19                                                   DEMAND FOR JURY TRIAL
     20                                                   JUDGE: Hon. Janis L. Sammartino
     21                                                   CTRM: 4A (4th Fl.—Schwartz)
     22
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      1         Plaintiffs Louise Adams, Nay Alidad, Jessica Bartling, Gay Birnbaum,
      2   Barbara Blumstein, Melissa Bowman, Sally Bredberg, Barbara Buenning, Michael
      3   Buff, Scott Caldwell, Jade Canterbury, Laura Childs, Casey Christensen, Jody
      4   Cooper, Kim Craig, Sundé Daniels, Elizabeth Davis-Berg, Jessica Decker, Brian
      5   Depperschmidt Vivek Dravid, Gloria Emery, Ana Gabriela Felix Garcia, John
      6   Frick, Kathleen Garner, Stephanie Gipson, Kathy Gore, Andrew Gorman, Tina
      7   Grant, Edgardo Gutierrez, Lisa Hall, Mary Hudson, Tya Hughes, Amy Jackson,
      8   Marissa Jacobus, Danielle Johnson, Zenda Johnston, Amy Joseph, Michael Juetten,
      9   Steven Kratky, Joseph A. Langston, Katherine Larson, Kathy Lingnofski, Carla
     10   Lown, Katherine McMahon, Diana Mey, Liza Milliner, Laura Montoya, Rick
     11   Musgrave, Jennifer A. Nelson, Corey Norris, Barbara Olson, Kirsten Peck, John
     12   Pels, Elizabeth Perron, Valerie Peters, John Peychal, Audra Rickman, Erica
     13   Rodriguez, Kaitlyn Rooney, Joelyna A. San Agustin, Amber Sartori, Rebecca Lee
     14   Simoens, Robert Skaff, Greg Stearns, Nancy Stiller, Christopher Todd, John Trent,
     15   Elizabeth Twitchell, Bonnie Vander Laan, Nigel Warren, Julie Wiese, Thomas E.
     16   Willoughby III, and Daniel Zwirlein (collectively “Plaintiffs”), for their
     17   consolidated complaint, allege upon personal knowledge as to themselves and their
     18   own actions, and upon information and belief, including the investigation of
     19   counsel, as follows:
     20                                  NATURE OF ACTION
     21         1.    This is a class action concerning anticompetitive activity by the
     22   Defendants Bumble Bee Foods LLC; Dongwon Industries Co., Ltd.; StarKist
     23   Company; Del Monte Corporation (“Del Monte”); Thai Union Group Public
     24   Company Limited; and Tri-Union Seafoods LLC d/b/a Chicken of the Sea
     25   International (collectively “Defendants”). The claims alleged herein are brought
     26   pursuant to various state antitrust, consumer protection, and equitable laws as
     27   alleged. This action is brought by Plaintiffs, on behalf of themselves and Classes
     28   of persons and entities who indirectly purchased shelf-stable packaged tuna

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      1   (“Packaged Tuna”) produced by any Defendant or current or former subsidiary or
      2   affiliate of any Defendant, during the period from, and including, at least July 1,
      3   2004 through such time as the anticompetitive effects of Defendants’ conduct
      4   ceases (the “Class Period”)1.
      5         2.     The exact date of the conspiracy is uncertain, but it began no later
      6   than 2004 and continued in force through at least July 2015 (the “Relevant
      7   Period”). The effects of the conspiracy continue to the date of the filing of this
      8   Complaint, as evidenced by the Class Period.
      9         3.     Defendants have conspired to raise, fix, stabilize or maintain prices of
     10   and restrict capacity within the market for the sale of Packaged Tuna during the
     11   Class Period.
     12         4.     With slowing and stagnating growth and margins in the United
     13   States Packaged Tuna industry, beginning in or about in 2004, Defendants
     14   directly coordinated: (1) can and pouch sizes for tuna; (2) pricing of packaged
     15   tuna; (3) promotional activity for packaged tuna; and (4) the offering of “FAD”
     16   (or “Fish Aggregating Device”) Free labeling for tuna under the major brands.
     17   As part of this coordination, Defendants agreed and conspired to artificially
     18   increase prices for Packaged Tuna to record highs in spite of reduced consumer
     19   interest and falling demand.        The impacts of Defendants’ unlawful and
     20   anticompetitive conduct are ongoing and continue to this day.
     21
          1
            Discovery is necessary to determine the full scope of the conspiracy, including the
     22
          time frame, products and participants. Plaintiffs have only begun reviewing the
     23   hundreds of thousands of merits-related documents produced by Defendants since
     24   the beginning of April of 2017. Third-party document productions remain far from
          complete. No depositions have been taken. Evidence indicates that further
     25   discovery may demonstrate actionable cartel conduct significantly outside the
     26   Class Period, and accordingly Plaintiffs reserve the right to amend to expand the
          time period covered by the claims alleged.
     27
     28

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      1                                        PARTIES
      2   Plaintiffs
      3         5.     Plaintiff Louise Adams is domiciled in Chippewa County, Michigan,
      4   and purchased Packaged Tuna indirectly from one or more Defendants in the State
      5   of Michigan during the Class Period.
      6         6.     Plaintiff Nay Alidad is domiciled in Clark County, Nevada, and
      7   purchased Packaged Tuna indirectly from one or more Defendants in the State of
      8   Nevada during the Class Period.
      9         7.     Plaintiff Jessica Bartling is domiciled in Hillsborough County, New
     10   Hampshire, and purchased Packaged Tuna indirectly from one or more Defendants
     11   in the State of New Hampshire during the Class Period.
     12         8.     Plaintiff Gay Birnbaum is domiciled in Beaufort County, South
     13   Carolina, and purchased Packaged Tuna indirectly from one or more Defendants in
     14   the State of South Carolina during the Class Period.
     15         9.     Plaintiff Barbara Blumstein is domiciled in Palm Beach County,
     16   Florida, and purchased Packaged Tuna indirectly from one or more Defendants in
     17   the State of Florida during the Class Period.
     18         10.    Plaintiff Melissa Bowman is domiciled in Douglas County, Nebraska,
     19   and purchased Packaged Tuna indirectly from one or more Defendants in the State
     20   of Nebraska during the Class Period.
     21         11.    Plaintiff Sally Bredberg is domiciled in Cook County, Illinois, and
     22   purchased Packaged Tuna indirectly from one or more Defendants in the State of
     23   Illinois during the Class Period.
     24         12.    Plaintiff Barbara Buenning is domiciled in Dodge County, Nebraska,
     25   and purchased Packaged Tuna indirectly from one or more Defendants in the State
     26   of Nebraska during the Class Period.
     27         13.    Plaintiff Michael Buff is domiciled in Albany County, New York, and
     28   purchased Packaged Tuna indirectly from one or more Defendants in the State of

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      1   New York during the Class Period.
      2         14.    Plaintiff Scott Caldwell is domiciled in Essex County, Massachusetts,
      3   and purchased Packaged Tuna indirectly from one or more Defendants in the State
      4   of Massachusetts during the Class Period.
      5         15.    Plaintiff Jade Canterbury is domiciled in Monroe County, West
      6   Virginia, and purchased Packaged Tuna indirectly from one or more Defendants in
      7   the State of West Virginia during the Class Period.
      8         16.    Plaintiff Laura Childs is domiciled in Washington County, Minnesota,
      9   and purchased Packaged Tuna indirectly from one or more Defendants in the State
     10   of Minnesota during the Class Period.
     11         17.    Plaintiff Casey Christensen is domiciled in Lincoln County, South
     12   Dakota, and purchased Packaged Tuna indirectly from one or more Defendants in
     13   the State of South Dakota during the Class Period.
     14         18.    Plaintiff Jody Cooper is domiciled in Merrimack County, New
     15   Hampshire and purchased Packaged Tuna, indirectly from one or more Defendants
     16   in the State of New Hampshire.
     17         19.    Plaintiff Kim Craig is domiciled in Garland County, Arkansas, and
     18   purchased Packaged Tuna indirectly from one or more Defendants in the State of
     19   Arkansas during the Class Period.
     20         20.    Plaintiff   Sundé    Daniels   is   domiciled   in   Norfolk   County,
     21   Massachusetts and purchased Packaged Tuna indirectly from one or more
     22   Defendants in the State of Massachusetts during the Class Period.
     23         21.    Plaintiff Elizabeth Davis-Berg is domiciled in Cook County, Illinois,
     24   and purchased Packaged Tuna indirectly from one or more Defendants in the State
     25   of Illinois during the Class Period.
     26         22.    Plaintiff Jessica Decker is domiciled in Ingham County, Michigan,
     27   and purchased Packaged Tuna indirectly from one or more Defendants in the State
     28   of Michigan during the Class Period.

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      1         23.   Plaintiff Brian Depperschmidt is domiciled in Sedgwick County,
      2   Kansas, and purchased Packaged Tuna indirectly from one or more Defendants in
      3   the State of Kansas during the Class Period.
      4         24.   Plaintiff Vivek Dravid is domiciled in Cuyahoga County, Ohio, and
      5   purchased Packaged Tuna indirectly from one or more Defendants in the State of
      6   Utah during the Class Period. Vivek Dravid was formerly domiciled during the
      7   Class Period in Salt Lake County, Utah, during which time he made all relevant
      8   purchases in the State of Utah.Plaintiff Gloria Emery is domiciled in Hawaii
      9   County, Hawaii, and purchased Packaged Tuna indirectly from one or more
     10   Defendants in the State of Hawaii during the Class Period.
     11         25.   Plaintiff Ana Gabriela Felix Garcia is domiciled in the District of
     12   Columbia and purchased Packaged Tuna indirectly from one or more Defendants
     13   in the State of Arizona and the District of Columbia during the Class Period.
     14         26.   Plaintiff John Frick is domiciled in Jackson County, Missouri, and
     15   purchased Packaged Tuna indirectly from one or more Defendants in the State of
     16   Missouri during the Class Period.
     17         27.   Plaintiff Kathleen Garner is domiciled in Clark County, Arkansas, and
     18   purchased Packaged Tuna indirectly from one or more Defendants in the State of
     19   Arkansas during the Class Period.
     20         28.   Plaintiff Stephanie Gipson is domiciled in Chittenden County,
     21   Vermont, and purchased Packaged Tuna indirectly from one or more Defendants in
     22   the State of Vermont during the Class Period.
     23         29.   Plaintiff Kathy Gore is domiciled in Portales County, New Mexico,
     24   and purchased Packaged Tuna indirectly from one or more Defendants in the State
     25   of New Mexico during the Class Period.
     26         30.   Plaintiff Andrew Gorman is domiciled in the District of Columbia,
     27   and purchased Packaged Tuna indirectly from one or more Defendants in the
     28   District of Columbia and the State of Virginia during the Class Period.

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      1         31.    Plaintiff Tina Grant is domiciled in Salt Lake County, Utah, and
      2   purchased Packaged Tuna indirectly from one or more Defendants in the States of
      3   Arizona and Utah during the Class Period.
      4         32.    Plaintiff Edgardo Gutierrez is domiciled in Broward County, Florida,
      5   and purchased Packaged Tuna indirectly from one or more Defendants in the State
      6   of Florida during the Class Period.
      7         33.    Plaintiff Lisa Hall is domiciled in Saline County, Kansas, and
      8   purchased Packaged Tuna indirectly from one or more Defendants in the State of
      9   Kansas during the Class Period.
     10         34.    Plaintiff Mary Hudson is domiciled in San Diego County, California,
     11   and purchased Packaged Tuna indirectly from one or more Defendants in the State
     12   of California during the Class Period.
     13         35.    Plaintiff Tya Hughes is domiciled in Ward County, North Dakota, and
     14   purchased Packaged Tuna indirectly from one or more Defendants in the States of
     15   Arizona, California, and North Dakota during the Class Period.
     16         36.    Plaintiff Amy Jackson is domiciled in the Territory of Guam and
     17   purchased Packaged Tuna indirectly from one or more Defendants in the Territory
     18   of Guam and the State of California during the Class Period.
     19         37.    Plaintiff Marissa Jacobus is currently domiciled in Calaveras County,
     20   California, and purchased Packaged Tuna indirectly from one or more Defendants
     21   in the State of Virginia during the Class Period. Marissa Jacobus was formerly
     22   domiciled during the Class Period in Arlington, Virginia, during which time she
     23   made all relevant purchases in the State of Virginia.
     24         38.    Plaintiff Danielle Johnson is domiciled in Multnomah County,
     25   Oregon, and purchased Packaged Tuna indirectly from one or more Defendants in
     26   the State of Oregon during the Class Period.
     27         39.    Plaintiff Zenda Johnston is domiciled in Orange County, Florida, and
     28   purchased Packaged Tuna indirectly from one or more Defendants in the State of

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      1   Florida during the Class Period.
      2         40.    Plaintiff Amy Joseph is domiciled in DuPage County, Illinois, and
      3   purchased Packaged Tuna indirectly from one or more Defendants in the State of
      4   Illinois during the Class Period.
      5         41.    Plaintiff Michael Juetten is domiciled in Los Angeles County,
      6   California, and purchased Packaged Tuna indirectly from one or more Defendants
      7   in the States of California and Wisconsin during the Class Period.
      8         42.    Plaintiff Steven Kratky is domiciled in the independent city of St.
      9   Louis, Missouri, and purchased Packaged Tuna indirectly from one or more
     10   Defendants in the State of Missouri during the Class Period.
     11         43.    Plaintiff Joseph A. Langston is domiciled in Benton County,
     12   Arkansas, and purchased Packaged Tuna indirectly from one or more Defendants
     13   in the State of Arkansas during the Class Period.
     14         44.    Plaintiff Katherine Larson is domiciled in Hennepin County,
     15   Minnesota, and purchased Packaged Tuna indirectly from one or more Defendants
     16   in the State of Minnesota during the Class Period.
     17         45.    Plaintiff Kathy Lingnofski is domiciled in Outagamie County,
     18   Wisconsin, and purchased Packaged Tuna indirectly from one or more Defendants
     19   in the State of Wisconsin during the Class Period.
     20         46.    Plaintiff Carla Lown is domiciled in Blackhawk County, Iowa, and
     21   purchased Packaged Tuna indirectly from one or more Defendants in the State of
     22   Iowa during the Class Period.
     23         47.    Plaintiff Katherine McMahon is domiciled in Washington County,
     24   Rhode Island, and purchased Packaged Tuna indirectly from one or more
     25   Defendants in the State of Rhode Island during the Class Period.
     26         48.    Plaintiff Diana Mey is domiciled in Ohio County, West Virginia, and
     27   purchased Packaged Tuna indirectly from one or more Defendants in the State of
     28   West Virginia during the Class Period.

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      1         49.    Plaintiff Liza Milliner is domiciled in Washington County, Oregon,
      2   and purchased Packaged Tuna indirectly from one or more Defendants in the State
      3   of Oregon during the Class Period.
      4         50.    Plaintiff Laura Montoya is domiciled in Rio Arriba County, New
      5   Mexico, and purchased Packaged Tuna indirectly from one or more Defendants in
      6   the State of New Mexico during the Class Period.
      7         51.    Plaintiff Rick Musgrave is domiciled in Contra Costa County,
      8   California, and purchased Packaged Tuna indirectly from one or more Defendants
      9   in the State of California during the Class Period.
     10         52.    Plaintiff Jennifer A. Nelson domiciled in Bennington County,
     11   Vermont, and purchased Packaged Tuna indirectly from one or more Defendants in
     12   the States of Iowa, New York, and Vermont during the Class Period.
     13         53.    Plaintiff Corey Norris is domiciled in Johnston County, North
     14   Carolina, and purchased Packaged Tuna indirectly from one or more Defendants in
     15   the State of North Carolina during the Class Period.
     16         54.    Plaintiff Barbara Olson is domiciled in Washtenaw County, Michigan,
     17   and purchased Packaged Tuna indirectly from one or more Defendants in the State
     18   of Michigan during the Class Period.
     19         55.    Plaintiff Kirsten Peck is domiciled in Williamson County, Tennessee,
     20   and purchased Packaged Tuna indirectly from one or more Defendants in the State
     21   of Tennessee during the Class Period.
     22         56.    Plaintiff John Pels is domiciled in Sonoma County, California, and
     23   purchased Packaged Tuna indirectly from one or more Defendants in the States of
     24   Arizona and California during the Class Period.
     25         57.    Plaintiff Elizabeth Perron is domiciled in Worcester County,
     26   Massachusetts and purchased Packaged Tuna, indirectly from one or more
     27   Defendants in the States of Massachusetts and Rhode Island during the Class
     28   Period.

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      1         58.   Plaintiff Valerie Peters is domiciled in Broward County, Florida, and
      2   purchased Packaged Tuna indirectly from one or more Defendants in the State of
      3   Florida during the Class Period.
      4         59.   Plaintiff John Peychal is domiciled in Sevier County, Tennessee, and
      5   purchased Packaged Tuna indirectly from one or more Defendants in the State of
      6   Tennessee during the Class Period.
      7         60.   Plaintiff Audra Rickman is domiciled in Brunswick County, North
      8   Carolina, and purchased Packaged Tuna indirectly from one or more Defendants in
      9   the State of North Carolina during the Class Period.
     10         61.   Plaintiff Erica Rodriguez is domiciled in Maricopa County, Arizona,
     11   and purchased Packaged Tuna indirectly from one or more Defendants in the State
     12   of Arizona during the Class Period.
     13         62.   Plaintiff Kaitlyn Rooney is domiciled in the District of Columbia, and
     14   purchased Packaged Tuna indirectly from one or more Defendants in the District
     15   of Columbia during the Class Period.
     16         63.   Plaintiff Joelyna A. San Agustin is domiciled in the Territory of Guam
     17   and purchased Packaged Tuna indirectly from one or more Defendants in the
     18   Territory of Guam during the Class Period.
     19         64.   Plaintiff Amber Sartori is domiciled in Mecklenburg County, North
     20   Carolina, and purchased Packaged Tuna indirectly from one or more Defendants in
     21   the States of Missouri and North Carolina during the Class Period.
     22         65.   Plaintiff Rebecca Lee Simoens is domiciled in St. Charles County,
     23   Missouri, and purchased Packaged Tuna indirectly from one or more Defendants in
     24   the State of Missouri during the Class Period.
     25         66.   Plaintiff Robert Skaff is domiciled in Rockingham County, New
     26   Hampshire, and purchased Packaged Tuna indirectly from one or more Defendants
     27   in the State of New Hampshire during the Class Period.
     28         67.   Plaintiff Greg Stearns is domiciled in Waldo County, Maine, and

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      1   purchased Packaged Tuna indirectly from one or more Defendants in the State of
      2   Maine during the Class Period.
      3         68.    Plaintiff Nancy Stiller is domiciled in Washoe County, Nevada, and
      4   purchased Packaged Tuna indirectly from one or more Defendants in the State of
      5   Nevada during the Class Period.
      6         69.    Plaintiff Christopher Todd is domiciled in New Orleans Parish,
      7   Louisiana, and purchased Packaged Tuna indirectly from one or more Defendants
      8   in the State of Mississippi during the Class Period.
      9         70.    Plaintiff John Trent is domiciled in Shelby County, Tennessee, and
     10   purchased Packaged Tuna indirectly from one or more Defendants in the State of
     11   Tennessee during the Class Period.
     12         71.    Plaintiff Elizabeth Twitchell is domiciled in the independent city of
     13   Alexandria, Virginia and purchased Packaged Tuna, indirectly from one or more
     14   Defendants in the State of Virginia during the Class Period.
     15         72.    Plaintiff Bonnie Vander Laan is domiciled in Emmons County, North
     16   Dakota and purchased Packaged Tuna, indirectly from one or more Defendants in
     17   the State of North Dakota during the Class Period.
     18         73.    Plaintiff Nigel Warren is currently domiciled in Hong Kong in the
     19   Special Administrative Region of China, though was previously domiciled in
     20   Kings County, New York, and purchased Packaged Tuna indirectly from one or
     21   more Defendants in the State of New York during the Class Period.
     22         74.    Plaintiff Julie Wiese is domiciled in Milwaukee County, Wisconsin,
     23   and purchased Packaged Tuna indirectly from one or more Defendants in the State
     24   of Wisconsin during the Class Period.
     25         75.    Plaintiff Thomas E. Willoughby III is domiciled in Cumberland
     26   County, Maine, and purchased Packaged Tuna indirectly from one or more
     27   Defendants in the State of Maine during the Class Period.
     28         76.    Plaintiff Daniel Zwirlein is domiciled in Waukesha County,

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      1   Wisconsin, and purchased Packaged Tuna indirectly from one or more Defendants
      2   in    the     State     of     Wisconsin         during   the    Class      Period.
      3   Defendants
      4   Chicken of the Sea Defendants
      5         77.    Defendant Tri-Union Seafoods, LLC d/b/a Chicken of the Sea
      6   International (“Tri-Union” or “COSI”) is a Delaware corporation with its
      7   principal place of business at 9330 Scranton Rd. #500, San Diego, CA 92121
      8         78.    Defendant Tri-Union is a wholly-owned subsidiary of Defendant Thai
      9   Union Group Public Company Limited, a publicly held company headquartered in
     10   Thailand.
     11         79.    Defendant Thai Union Group Public Company Limited (“Thai Union”
     12   or “TUG”) is a corporation organized and doing business under the laws of
     13   Thailand. Its head office is located at 72/1 Moo 7, Sethakit 1 Road, Tambon
     14   Tarsai, Mueang Samut Sakhon District, Amphur Muangsamutsakorn, Samutsakorn
     15   74000, Thailand. TUG is the world’s largest canned tuna producer, processing
     16   18% of the world’s production. It is the largest canned tuna producer in Thailand.
     17         80.    Unless otherwise stated, below, Tri-Union and TUG are collectively
     18   referred to as “Chicken of the Sea” or “COSI”.
     19         Bumble Bee
     20         81.    Defendant Bumble Bee Foods LLC, f/k/a Bumble Bee Seafoods LLC
     21   (“Bumble Bee”) is a Delaware corporation with its principal place of business at
     22   280 10th Avenue, San Diego, CA 92101.
     23         82.    Bumble Bee is a wholly-owned subsidiary of Lion Capital, a private
     24   investment firm headquartered in the United Kingdom, which purchased it from
     25   private investment firm Centre Partners in 2010, following its merger with Connor
     26   Brothers Limited in in 2004.
     27         StarKist Defendants
     28         83.    Defendant StarKist Company is a Delaware corporation with its

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      1   principal place of business at 225 North Shore Drive, Suite 400, Pittsburgh, PA
      2   15212. StarKist Company is a wholly-owned subsidiary of Dongwon Industries
      3   Co. Ltd. (“Dongwon”), which is headquartered in the Republic of Korea.
      4         84.    Defendant Dongwon Industries Co. Ltd. is a corporation organized
      5   and doing business under the laws of South Korea, with its headquarters located at
      6   Dongwon Industries Building 7th floor, Mabang-ro 68 (Yangjae-dong), Seocho-gu,
      7   Seoul, Korea. Dongwon is a publicly traded company listed on the Korean Stock
      8   Exchange. It is the largest producer of canned tuna in South Korea.
      9         Del Monte Defendants
     10         85.    Defendant Del Monte Corporation (“Del Monte”), now known as Big
     11   Heart Pet Brands, Inc., is a Delaware corporation with its principal place of
     12   business at 1 Strawberry Lane, Orrville, Ohio, 44667.
     13         86.    In 2014, Del Monte Pacific Limited acquired the canned and
     14   processed foods portfolio of the Del Monte Corporation. As a result, the remainder
     15   of the Del Monte business not acquired in the transaction was renamed Big Heart
     16   Pet Brands, Inc., which now largely focuses on the remaining pet foods portfolio.
     17         87.    Del Monte acquired StarKist Company in 2002. Through StarKist
     18   Company, Del Monte Produced and sold Packaged Tuna throughout the United
     19   States (including in this District), its territories and the District of Columbia. On
     20   June 6, 2008, Del Monte sold StarKist Company to Dongwon; the divestiture was
     21   completed on October 6, 2008. According to a filing by Del Monte with the
     22   Securities & Exchange Commission (“SEC”), “[a]t the time of sale, Del Monte
     23   entered into a two-year Operating Services Agreement (which was completed in
     24   September 2010) pursuant to which the Company provided operational services to
     25   StarKist Company such as warehousing, distribution, transportation, sales,
     26   information technology and administration.”
     27                        AGENTS AND CO-CONSPIRATORS
     28         88.    On information and belief, other corporations, partnerships, or business

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      1   entities, currently unknown to Plaintiffs, are co-conspirators with Defendants in
      2   their unlawful restraints of trade.    Various persons that are not named as
      3   Defendants have participated as co-conspirators in the violations alleged herein
      4   and have performed acts and made statements in furtherance thereof.
      5         89.     These other persons or entities have facilitated, adhered to,
      6   participated in, and/or communicated with others regarding the alleged
      7   conspiracy to raise and maintain prices of Packaged Tuna and restrict offerings
      8   alleged.    Plaintiffs reserve the right to name some or all of these entities as
      9   Defendants at a later date.
     10                            JURISDICTION AND VENUE
     11         90.     Plaintiffs seek consideration paid, damages, restitution, treble
     12   damages or three times consideration paid by consumers of Packaged Tuna,
     13   disgorgement, other monetary relief, and other equitable relief under various state
     14   antitrust, consumer protection and unfair trade practices laws, and state unjust
     15   enrichment laws, as alleged specifically herein, as well as costs of suit, including
     16   reasonable attorneys’ fees, for the injuries that Plaintiffs and all others similarly
     17   situated sustained as a result of Defendants’ violations of those laws.
     18         91.     This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337. The Court
     19   has jurisdiction over the state law claims under 28 U.S.C. § 1367 because those
     20   claims are so related to the federal claim brought by Plaintiffs at the time the
     21   matter was originally brought that they form part of the same case or controversy,
     22   and the Court may continue to exercise jurisdiction even if no federal claim
     23   remains. This Court also has subject matter jurisdiction over the state law claims
     24   under 28 U.S.C. § 1332 because the amount in controversy for each of the Classes
     25   exceeds $5,000,000, there are more than 100 members in each of the Classes, and
     26   there are members of some of the Classes who are citizens of different states than
     27   Defendants.
     28         92.     Venue is proper in this Judicial District because (1) Defendants COSI

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      1   and Bumble Bee each have their principal places of business within this District;
      2   (2) each Defendant transacts a substantial amount of business in this District, and
      3   (3) each Defendant and the conduct alleged has affected, and continues to affect, a
      4   substantial amount of trade and commerce in this District.
      5                           CLASS ACTION ALLEGATIONS
      6         93.     Plaintiffs as specifically identified herein also bring claims asserted in
      7   this action on behalf of themselves and as a class claims under Federal Rules of
      8   Civil Procedure, Rule 23(a) and (b)(3), seeking damages pursuant to various the
      9   state antitrust, unfair competition, and consumer protection laws of the states
     10   listed below on behalf of the following classes (the Cartwright Act Class and the
     11   State Classes, each of which is individually described and further defined):
     12
                      (a)   Cartwright Act class: All persons and entities who resided in one
     13
                            of the States described in paragraphs 94(b) to 94(gg), specifically
     14                     Arizona, Arkansas, California, the District of Columbia, Florida,
     15                     Guam, Hawaii, Iowa, Kansas, Maine, Massachusetts, Michigan,
                            Minnesota, Mississippi, Missouri, Nebraska, Nevada, New
     16                     Hampshire, New Mexico, New York, North Carolina, North
     17                     Dakota, Oregon, Rhode Island, South Carolina, South Dakota,
                            Tennessee, Utah, Vermont, Virginia, West Virginia, and
     18                     Wisconsin, who indirectly purchased Packaged Tuna for end
     19                     consumption and not for resale, produced by any Defendant or
                            any current or former subsidiary or affiliate thereof, or any co-
     20
                            conspirator, during the Class Period.
     21
     22               (b)   Arizona class: All persons and entities who resided in the State of
                            Arizona who indirectly purchased Packaged Tuna for end
     23                     consumption and not for resale, produced by any Defendant or
     24                     any current or former subsidiary or affiliate thereof, or any co-
                            conspirator, during the Class Period.
     25
     26               (c)   Arkansas class: All persons and entities who resided in the State
                            of Arkansas who indirectly purchased Packaged Tuna for end
     27
                            consumption and not for resale, produced by any Defendant or
     28

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      1                  any current or former subsidiary or affiliate thereof, or any co-
                         conspirator, during the Class Period.
      2
      3            (d)   California class: All persons and entities who resided in the State
                         of California who indirectly purchased Packaged Tuna for end
      4
                         consumption and not for resale, produced by any Defendant or
      5                  any current or former subsidiary or affiliate thereof, or any co-
      6                  conspirator, during the Class Period.

      7            (e)   District of Columbia class: All persons and entities who resided
      8                  in the District of Columbia who indirectly purchased Packaged
                         Tuna for end consumption and not for resale, produced by any
      9                  Defendant or any current or former subsidiary or affiliate thereof,
     10                  or any co-conspirator, during the Class Period.
     11
                   (f)   Florida class: All persons and entities who resided in the State of
     12                  Florida who indirectly purchased Packaged Tuna for end
     13                  consumption and not for resale, produced by any Defendant or
                         any current or former subsidiary or affiliate thereof, or any co-
     14                  conspirator, during the Class Period.
     15
                   (g)   Guam class: All persons and entities who resided in the Territory
     16
                         of Guam who indirectly purchased Packaged Tuna for end
     17                  consumption and not for resale, produced by any Defendant or
     18                  any current or former subsidiary or affiliate thereof, or any co-
                         conspirator, during the Class Period.
     19
     20            (h)   Hawaii class: All persons and entities who resided in the State of
                         Hawaii who indirectly purchased Packaged Tuna for end
     21                  consumption and not for resale, produced by any Defendant or
     22                  any current or former subsidiary or affiliate thereof, or any co-
     23                  conspirator, during the Class Period.

     24            (i)   Iowa class: All persons and entities who resided in the State of
     25                  Iowa who indirectly purchased Packaged Tuna for end
                         consumption and not for resale, produced by any Defendant or
     26                  any current or former subsidiary or affiliate thereof, or any co-
     27                  conspirator, during the Class Period, or from August 25, 2011 to
                         the present for antitrust claims.
     28

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      1
                   (j)   Kansas class: All persons and entities who resided in the State of
      2                  Kansas who indirectly purchased Packaged Tuna for end
      3                  consumption and not for resale, produced by any Defendant or
                         any current or former subsidiary or affiliate thereof, or any co-
      4
                         conspirator, from August 25, 2012 to the present.
      5
      6            (k)   Maine class: All persons and entities who resided in the State of
                         Maine who indirectly purchased Packaged Tuna for end
      7                  consumption and not for resale, produced by any Defendant or
      8                  any current or former subsidiary or affiliate thereof, or any co-
                         conspirator, from August 25, 2009 to the present for statutory
      9                  claims.
     10
                   (l)   Massachusetts class: All persons and entities who resided in the
     11
                         State of Massachusetts who indirectly purchased Packaged Tuna
     12                  for end consumption and not for resale, produced by any
     13                  Defendant or any current or former subsidiary or affiliate thereof,
                         or any co-conspirator, during the Class Period.
     14
     15            (m)   Michigan class: All persons and entities who resided in the State
                         of Michigan who indirectly purchased Packaged Tuna for end
     16
                         consumption and not for resale, produced by any Defendant or
     17                  any current or former subsidiary or affiliate thereof, or any co-
     18                  conspirator, during the Class Period.

     19            (n)   Minnesota class: All persons and entities who resided in the State
     20                  of Minnesota who indirectly purchased Packaged Tuna for end
                         consumption and not for resale, produced by any Defendant or
     21                  any current or former subsidiary or affiliate thereof, or any co-
     22                  conspirator, during the Class Period.
     23
                   (o)   Mississippi class: All persons and entities who resided in the
     24                  State of Mississippi who indirectly purchased Packaged Tuna for
     25                  end consumption and not for resale, produced by any Defendant
                         or any current or former subsidiary or affiliate thereof, or any co-
     26                  conspirator, during the Class Period.
     27
     28

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      1            (p)   Missouri class: All persons and entities who resided in the State
                         of Missouri who indirectly purchased Packaged Tuna for end
      2                  consumption and not for resale, produced by any Defendant or
      3                  any current or former subsidiary or affiliate thereof, or any co-
                         conspirator, during the Class Period.
      4
      5            (q)   Nebraska class: All persons and entities who resided in the State
      6                  of Nebraska who indirectly purchased Packaged Tuna for end
                         consumption and not for resale, produced by any Defendant or
      7                  any current or former subsidiary or affiliate thereof, or any co-
      8                  conspirator, during the Class Period.
      9            (r)   Nevada class: All persons and entities who resided in the State of
     10                  Nevada who indirectly purchased Packaged Tuna for end
                         consumption and not for resale, produced by any Defendant or
     11
                         any current or former subsidiary or affiliate thereof, or any co-
     12                  conspirator, during the Class Period.
     13
                   (s)   New Hampshire class: All persons and entities who resided in
     14                  the State of New Hampshire who indirectly purchased Packaged
     15                  Tuna for end consumption and not for resale, produced by any
                         Defendant or any current or former subsidiary or affiliate thereof,
     16
                         or any co-conspirator, during the Class Period.
     17
     18            (t)   New Mexico class: All persons and entities who resided in the
                         State of New Mexico who indirectly purchased Packaged Tuna
     19                  for end consumption and not for resale, produced by any
     20                  Defendant or any current or former subsidiary or affiliate thereof,
                         or any co-conspirator, during the Class Period.
     21
     22            (u)   New York class: All persons and entities who resided in the State
     23                  of New York who indirectly purchased Packaged Tuna for end
                         consumption and not for resale, produced by any Defendant or
     24                  any current or former subsidiary or affiliate thereof, during the
     25                  Class Period, or from August 25, 2012 to the present for consumer
                         protection claims.
     26
     27            (v)   North Carolina class: All persons and entities who resided in the
                         State of North Carolina who indirectly purchased Packaged Tuna
     28

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      1                   for end consumption and not for resale, produced by any
                          Defendant or any current or former subsidiary or affiliate thereof,
      2                   or any co-conspirator, during the Class Period.
      3
                   (w)    North Dakota class: All persons and entities who resided in the
      4
                          State of North Dakota who indirectly purchased Packaged Tuna
      5                   for end consumption and not for resale, produced by any
      6                   Defendant or any current or former subsidiary or affiliate thereof,
                          or any co-conspirator, during the Class Period.
      7
      8            (x)    Oregon class: All persons and entities who resided in the State of
                          Oregon who indirectly purchased Packaged Tuna for end
      9                   consumption and not for resale, produced by any Defendant or
     10                   any current or former subsidiary or affiliate thereof, or any co-
                          conspirator, during the Class Period.
     11
     12            (y)    Rhode Island class: All persons and entities who resided in the
     13                   State of Rhode Island who indirectly purchased Packaged Tuna
                          for end consumption and not for resale, produced by any
     14                   Defendant or any current or former subsidiary or affiliate thereof,
     15                   or any co-conspirator, between July 15, 2013 and the present.
     16
                   (z)    South Carolina class: All persons and entities who resided in the
     17                   State of South Carolina who indirectly purchased Packaged Tuna
     18                   for end consumption and not for resale, produced by any
                          Defendant or any current or former subsidiary or affiliate thereof,
     19                   or any co-conspirator, during the Class Period.
     20
                   (aa)   South Dakota class: All persons and entities who resided in the
     21                   State of South Dakota who indirectly purchased Packaged Tuna
     22                   for end consumption and not for resale, produced by any
     23                   Defendant or any current or former subsidiary or affiliate thereof,
                          or any co-conspirator, during the Class Period.
     24
     25            (bb) Tennessee class: All persons and entities who resided in the State
                        of Tennessee who indirectly purchased Packaged Tuna for end
     26                 consumption and not for resale, produced by any Defendant or
     27                 any current or former subsidiary or affiliate thereof, or any co-
                        conspirator, during the Class Period.
     28

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      1
                      (cc)   Utah class: All persons and entities who resided in the State of
      2                      Utah who indirectly purchased Packaged Tuna for end
      3                      consumption and not for resale, produced by any Defendant or
                             any current or former subsidiary or affiliate thereof, or any co-
      4
                             conspirator, during the Class Period.
      5
      6               (dd) Vermont class: All persons and entities who resided in the State
                           of Vermont who indirectly purchased Packaged Tuna for end
      7                    consumption and not for resale, produced by any Defendant or
      8                    any current or former subsidiary or affiliate thereof, or any co-
                           conspirator, during the Class Period.
      9
     10               (ee)   Virginia class: All persons and entities who resided in the State
                             of Virginia who indirectly purchased Packaged Tuna for end
     11
                             consumption and not for resale, produced by any Defendant or
     12                      any current or former subsidiary or affiliate thereof, or any co-
     13                      conspirator, during the Class Period.
     14               (ff)   West Virginia class: All persons and entities who resided in the
     15                      State of West Virginia who indirectly purchased Packaged Tuna
                             for end consumption and not for resale, produced by any
     16
                             Defendant or any current or former subsidiary or affiliate thereof,
     17                      or any co-conspirator, during the Class Period.
     18
                      (gg) Wisconsin class: All persons and entities who resided in the State
     19                    of Wisconsin who indirectly purchased Packaged Tuna for end
     20                    consumption and not for resale, produced by any Defendant or
                           any current or former subsidiary or affiliate thereof, or any co-
     21                    conspirator, during the Class Period.
     22         94.     The Cartwright Act Class and the State Classes are collectively
     23   referred to herein as the “Classes” unless otherwise indicated.
     24         95.     Excluded from each of the Classes are Defendants, their parent
     25   companies, subsidiaries and affiliates, any co-conspirators, federal governmental
     26   entities and instrumentalities of the federal government, states and their
     27   subdivisions, agencies and instrumentalities, all judges assigned to this matter, all
     28   jurors in this matter, and all persons and entities who only purchased Packaged

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      1   Tuna directly or for resale.
      2         96.         Each of the Classes is so numerous that joinder of all members would
      3   be impracticable. While Plaintiffs do not know the exact number of members of
      4   each of the Classes, Plaintiffs believe there are at least hundreds of thousands of
      5   members in each of the Classes.
      6         97.         Common questions of law and fact exist as to all members of each of
      7   the Classes. This is particularly true given the nature of Defendants’ conspiracy,
      8   which was generally applicable to all members of each of the Classes, thereby
      9   making appropriate relief with respect to each Class as a whole. Such questions of
     10   law and fact common to the Classes include, but are not limited to:
     11               (a)      Whether the Defendants and their co-conspirators engaged in a
     12                        combination and conspiracy to fix, raise, maintain or stabilize the
     13                        prices of Packaged Tuna sold in the United States and in each of
     14                        the States alleged herein;
     15               (b)      The identity of the participants of the alleged conspiracy;
     16               (c)      The duration of the alleged conspiracy and the acts carried out by
     17                        Defendants and their co-conspirators in furtherance of the
     18                        conspiracy;
     19               (d)      Whether Defendants’ alleged conduct violated various state
     20                        antitrust and restraint of trade laws;
     21               (e)      Whether Defendants’ alleged conduct violated various state
     22                        consumer protection and unfair competition laws;
     23               (f)      Whether the conduct of Defendants and co-conspirators, as alleged
     24                        in this Complaint, caused injury to the business or property of
     25                        Plaintiffs and the members of the Classes;
     26               (g)      The effect of Defendants’ alleged conduct on the prices of
     27                        Packaged Tuna sold in the United States during the Class Period;
     28                        and

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      1                (h)      The appropriate relief for the Classes, including injunctive and
      2                         equitable relief.
      3          98.         Each Plaintiff’s claims are typical of the claims of the members of the
      4   respective Classes each Plaintiff seeks to represent, and each Plaintiff will fairly
      5   and adequately protect the interests of the respective classes such Plaintiff seeks to
      6   represent. Each of the Plaintiffs and all members of the Classes that Plaintiffs
      7   seek to represent were similarly affected by Defendants’ wrongful conduct in that
      8   they paid artificially inflated prices for Packaged Tuna purchased indirectly from
      9   the Defendants and/or their co-conspirators.
     10          99.         Each Plaintiff’s claims arise out of the same common course of
     11   conduct giving rise to the claims of the other members of each of the Classes that
     12   each Plaintiff seeks to represent. Each Plaintiff’s interests are coincident with, and
     13   not antagonistic to, those of the other members of the respective Classes that
     14   plaintiff seeks to represent.             Plaintiffs are represented by counsel who are
     15   competent and experienced in the prosecution of antitrust and class action
     16   litigation.
     17          100. The questions of law and fact common to the members of each of the
     18   Classes predominate over any questions affecting only individual members,
     19   including legal and factual issues relating to liability and damages.
     20          101. Class action treatment is a superior method for the fair and efficient
     21   adjudication of the controversy, in that, among other things, such treatment will
     22   permit a large number of similarly situated persons to prosecute their common
     23   claims in a single forum simultaneously, efficiently and without the unnecessary
     24   duplication of evidence, effort and expense that numerous individual actions
     25   would engender. The benefits of proceeding through the class mechanism,
     26   including providing injured persons or entities with a method for obtaining redress
     27   for claims that it might not be practicable to pursue individually, substantially
     28   outweigh any difficulties that may arise in management of this class action.

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      1         102. The prosecution of separate actions by individual members of the
      2   Classes would create a risk of inconsistent or varying adjudications, establishing
      3   incompatible standards of conduct for Defendants.
      4                                RELEVANT MARKETS
      5         103. The relevant geographic market is the United States. Defendants
      6   operate Packaged Tuna in the United States and, collectively, control the U.S.
      7   market of Packaged Tuna. Collectively, Defendants account for approximately
      8   80% of Packaged Tuna sales in the United States.             Unlike Packaged Tuna
      9   manufacturers and sellers located outside of the United States, Defendants have
     10   U.S. facilities, relationships and distribution assets in the United States that enable
     11   Defendants to avoid foreign product import tariffs and to effectively constrain
     12   prices for Packaged Tuna packaged and sold in the United States.
     13         104. The relevant product market is Packaged Tuna.
     14         105. The market in the United States for Packaged Tuna is approximately
     15   $1.8 billion annually.    As shelf-stable food products, Packaged Tuna may be
     16   transported across state lines in the final packaging and without cold-chain or
     17   further processing.
     18         106. Packaged Tuna is sold nationwide to consumers in a few standard
     19   sizes and predominantly in standard grades. Each brand’s offerings compete with
     20   each other brand’s comparable offerings.
     21         107.    Packaged Tuna is sold as “white meat”, which consists of Albacore,
     22   and “light meat”, which is primarily Skipjack tuna. The market is dominated by a
     23   few common sizes of packages: cans in 5oz and 12oz size, sold by all Defendants,
     24   and pouches, sold by StarKist and Bumble Bee. The tuna in the cans or pouches
     25   falls into a few grades (chunk, solid, flake). Accordingly, product offerings are
     26   readily described by these brief categories – for example “5oz chunk light.”
     27                             INTERSTATE COMMERCE
     28         108. Defendants manufactured and/or sold Packaged Tuna in the United

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      1   States in a continuous and uninterrupted flow of interstate commerce, including
      2   through and into this judicial district.
      3          109. Defendants’ business activities substantially affected interstate
      4   commerce in the United States and caused antitrust injury throughout the United
      5   States.
      6          110. Defendants’ business activities also affected the intrastate (or intra-
      7   District, or intra-Territorial) commerce of every jurisdiction for which a claim is
      8   asserted herein, as further specifically alleged in Claims for Relief Two through
      9   Seventy-Seven herein where required. Packaged Tuna is a staple food. American
     10   consumers, on average, currently purchase more than two pounds of this product
     11   per capita annually, and thousands of consumers buy it each year in every single
     12   state, District and territory.
     13          111. Together, Defendants control approximately 80% of the United
     14   States Packaged Tuna market. StarKist controls approximately 40-44% of the
     15   market, Bumble Bee approximately 24-25% and Tri-Union approximately 15-17%.
     16                              PARENT ENTITY LIABILITY
     17   COSI And TUG Act As A Single Entity
     18          112. TUG, through its wholly-owned subsidiary Tri-Union, produces and
     19   sells Packaged Tuna throughout the United States (including this District), its
     20   territories and the District of Columbia. In recent years, 40% or more of its sales
     21   have originated in the United States, which is its largest market.
     22          113. TUG purposefully directs its activities to the United States by
     23   exporting Packaged Tuna, including canned tuna, from Thailand to this country.
     24   TUG further purposefully directs its activities to the United States through its
     25   method of conducting business. It currently has three strategic business units, one
     26   of which is the “Ambient Seafood” unit, which includes its global canned tuna
     27   business; Tri-Union is part of that business unit and is viewed by TUG as part of
     28   its footprint in the United States. Indeed, TUG has its own fishing fleet and is thus

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      1   vertically integrated with Tri-Union. TUG also purposefully directs its activities
      2   into the United States by operating Thai Union North America, Inc. (“TUNAI”) (a
      3   company formerly known as Thai Union International, Inc.), that was founded in
      4   1996. TUNAI is a wholly-owned instrumentality of TUG and has its address at
      5   9330 Scranton Road, Sorrento South Corporate Center, Suite 500, San Diego CA
      6   92121 (the same address as Tri-Union). TUNAI’s President is Thiraphong Chansiri
      7   (President and CEO of TUG). The Chansiri family is the largest single shareholder
      8   in TUG, owning 20.4% of its stock.2
      9         114. TUG directly participated in the conspiracy alleged herein and used its
     10   dominance and control over Tri-Union’s Packaged Tuna business to conspire with
     11   the other Defendants and their co-conspirators. Among the members of the Board
     12   of Directors of Tri-Union are Kraisorn Chansiri (Chairman of TUG), Cheng
     13   Niruttinanon (Executive Chairman of TUG),3 and the aforementioned Thiraphong
     14   Chansiri. Chan Tin King, a former Director of Tri-Union, now serves as Executive
     15   Director and Chief Financial Officer (“CFO”) of TUG. Shue Wing Chan (“Chan”),
     16   the President and CEO of Tri-Union since 2007, is a member of the Chansiri
     17   family, and is a member of TUG’s self-styled “Global Leadership Team.” Prior to
     18   joining Tri-Union, he served as the CFO of TUG.4
     19
          2
     20     TUG sponsors the issuance of American Depository receipts traded on NASDAQ
          that allow United States investors to trade its equities in the domestic securities
     21   market. In that connection, it regularly files reports with the United States
     22   Securities & Exchange Commission.
          3
     23     The Niruttinanon family is the third largest shareholder in TUG, owning 7.0% of
          its stock.
     24
          4
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      1
      2                                           . His dual role and his membership in the
      3   founding family made his participation inextricable from TUG.
      4         115. TUG exercises control and dominance over Tri-Union through these
      5   individuals.   And, according to his own LinkedIn webpage, David Roszmann
      6   (“Roszmann”), the former Chief Operating Officer (“COO”) of Tri-Union, who
      7   joined the company in March of 2013, served as the “only direct report to CEO
      8   [Chan] (relative of majority owning family of this foreign public company [TUG])
      9   with all functions direct-reporting to COO including sales, marketing,
     10   procurement, supply chain, operations, finance, HR. legal and IT.” Roszmann left
     11   Tri-Union in December of 2015, soon after Tri-Union’s attempt to acquire Bumble
     12   Bee was assailed by the DOJ, as further described below.
     13         116. TUG publicly acknowledges its dominance over Tri-Union. The
     14   following pertinent excerpt of an organizational chart that appears on TUG’s
     15   website demonstrates that TUG views Tri-Union as part of its overall “Global
     16   Tuna Business” and “US Ambient Operations” that are controlled directly by
     17   TUG’s Board of Directors and executives:
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     18         117. TUG and Tri-Union Seafoods LLC d/b/a Chicken of the Sea
     19   International (“Tri-Union” or “COSI”) acted as a single business enterprise and
     20   TUG’s control and dominance over COSI and the integration of their collective
     21   human and capital resources and operations were intended to and did achieve a
     22   common business purpose. Ultimately, COSI is but a mere shell and conduit for
     23   the affairs of TUG, which stripped it of assets. For the reasons that follow, it
     24   would be an unjust and inequitable result to permit TUG to escape liability for the
     25   conduct alleged herein.
     26         118. COSI earned profits in excess of what it would have earned in a
     27   competitive market. It transferred this ill-gotten gain to TUG by paying out the
     28   unlawfully-obtained profits and other conspiracy proceeds to TUG in the form of

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      1   dividends and other transfer payments.
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                                                               Accordingly, TUG knowingly
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          profited from COSI’s participation in the conspiracy and knowingly accepted the
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          proceeds of the conspiracy and has been unjustly enriched.
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     14
     15                                                          As a result of these facts,

     16   considered alone or in combination with one or more of the foregoing other facts,
     17   adherence to the fiction of the separate existence of TUG and COSI would sanction
     18   a fraud or promote an injustice, and an inequitable result or an injustice would
     19   occur if the corporate form were elevated over substance.
     20         119.
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      1
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      3                  COSI and TUG also engaged in joint marketing and branding of
      4   COSI.
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      8           121.
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     15           122. In further recognition of the fact that TUG and COSI were at all
     16   relevant times a single business enterprise,
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     25                  Further COSI, which has its corporate headquarters in San Diego,
     26   California,
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     15           126. Thus, TUG and Tri-Union operated as a single business enterprise and
     16   Tri-Union is the alter ego and agent of TUG. Moreover, TUG directly participated
     17   in the conspiracy described herein through personnel who had duties at TUG, such
     18   as Chan and Wipada Termlertmanuswong, both of whom were stationed in San
     19   Diego.     In addition, TUG, by its own acknowledgement, profited from the
     20   conspiracy.
     21           127.   TUG withdrew the substantial profits from the conspiracy, from
     22   COSI.
     23
     24           128. As a result of COSI’s transfers to TUG, TUG left COSI unable to
     25   satisfy a substantial judgment. For example, COSI’s stated equity as of December
     26   31, 2012 was just $62 million. Approximately $22 million of the equity was
     27   COSI’s plant facilities and equipment. In addition, in 2012 COSI had over $63
     28   million in “related party” payables. Given the breadth and scope of the alleged

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      1   conspiracy, an award of damages even before statutory trebling cannot reasonably
      2   be met by COSI alone. Because TUG reaped the rewards and COSI alone cannot
      3   make the victims whole, it would be inequitable to exclude the single business
      4   enterprise composed of TUG and COSI from joint and several liability.
      5   Dongwon And StarKist Act As A Single Entity
      6         129. Dongwon itself has repeatedly availed itself of the jurisdiction of
      7   United States federal courts.6
      8
          6
            Dongwon Indus. Co., Ltd. v. Yoshida, No. 90-cv-00282 (D. Alaska); Yu Sheng
      9
          Fishery Co. v. Dongwon Indus. Co., Ltd., No. 91-00018, 1991 WL 126138, at *1
     10   (D. Guam May 20, 1991) (denial of motion by Dongwon for vacatur of writ of
     11   maritime attachment, dismissal of in rem claims and release of security; court
          noted that “[t]here is no dispute of the fact that Dongwon has sufficient minimum
     12   contacts with Guam to subject it to general in personam jurisdiction and suit in this
     13   district”.); Matter of Yu Sheng Fishery Co., Ltd., 1993 A.M.C. 116 (D. Guam July
          12, 1991); Dongwon Indus. Co., Ltd. v. Ships Gear & Transit, Inc., No. 93-cv-
     14   01691 (S.D. Cal.) (suit alleging contract and tort claims against seller of a purse
     15   seine skiff); Perez v. Dongwon Indus. Co., No. 1:02-cv-00025 (D. Guam Aug. 9,
          2002) (admiralty suit against Dongwon that was settled); United States ex rel.
     16
          Moore & Co., P.A. v. Majestic Blue Fisheries, LLC, 69 F.Supp. 3d 416 (D. Del.
     17   2014), rev’d, 812 F.3d 294 (3d Cir. 2016) (“Moore”) (proceedings involving
     18   defendants’ (including Dongwon) motion to dismiss claims under the False Claims
          Act relating to the sinking a United States-flagged vessel operated by Dongwon);
     19   Hill v. Majestic Blue Fisheries, LLC, Civ. No. 11-00034, 2013 WL 1499155 (D.
     20   Guam April 12, 2013) (“Hill”) (denying Dongwon’s motion to dismiss for failure
          to state a claim) and 2015 WL 3961421 (D. Guam June 30, 2015) (involving
     21
          various motions dealing with pretrial settlement by Dongwon); Yang v. Majestic
     22   Blue Fisheries, LLC, Civ. No. 13-00015, 2015 WL 5001190 (D. Guam Jan. 14,
     23   2015), adopted in part and rejected in part, 2015 WL 5003606 (D. Guam Aug. 24,
          2015), recon. denied, 2016 WL 1411335 (D. Guam April 11, 2016) (all dealing
     24   with Dongwon’s participation in a scheme with relatives of corporate insiders to
     25   acquire two United States flagged vessels). The Hill, Yang and Moore cases are of
          significance here. The underlying facts are laid out in Majestic Blue, 2014 WL
     26   3728556, at *10-35 and the qui tam complaint filed in the Moore case in
     27   November of 2012. Dongwon owned the F/V Majestic Blue, a tuna fishing vessel.
     28   Jae-woong Kim, the brother of Dongwon Chairman Jae-chul Kim, was the General
          (continued…)

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      1         130. According to StarKist Company’s website:
      2                      Founded in 1969, Dongwon Group began as a
      3                fisheries business and branched out into various sectors
      4                including a strong food & beverage manufacturing arm,
      5                Dongwon F&B. Dongwon F&B now owns 75% of the
      6                canned tuna market share in Korea. Dongwon Industries
      7                is one of the world’s largest tuna catching companies
      8                with a fleet of 36 boats. Dongwon’s world class fish
      9                procurement    and    processing   capacity   builds   on
     10                StarKist’s national brand recognition and distribution
     11                networks in the United States to bring world-class
     12   ________________________
          (…continued)
     13   Manager of Dongwon’s office in Guam and had two daughters who were
     14   American citizens born on Guam. In 2008, those women became the figureheads
     15   for Majestic Blue Fisheries LLC (“MBFLLC”), a United States limited liability
          company. The F/V Majestic Blue was sold to that entity for $10. MBFLLC
     16   thereupon entered into maintenance and ship manning contracts with Dongwon
     17   whereby the latter essentially ran the vessel, which, because it was owned by
          American citizens, could fly the American flag. A series of American captains was
     18   hired to lead the vessel, but they were figureheads; largely Korean personnel
     19   selected by Dongwon really held the reins of control. The crew on the vessel
          engaged in repeated violations of, inter alia, MARPOL (the International
     20
          Convention on the Prevention of Pollution from Ships) and certain laws relating to
     21   fishing practices. In June of 2010, the vessel sank after a series of poor repairs by
     22   Dongwon. MBFLLC sued for a limitation of its liability. Chief Engineer Chang
          Cheol Yang and Captain David Hill both died in the incident and their next of kin
     23   sued both MBFLLC and Dongwon. Dismissal of the Moore case was recently
     24   reversed, and the findings of fact made by the Magistrate Judge in Majestic Blue
          are being appealed to the Ninth Circuit. Adam Baske, a tuna expert formerly with
     25
          the Pew Charitable Trusts, has, in an article on the F/V Majestic Blue, called
     26   Dongwon “one of the international bad boys in terms of illegal fishing activity.”
     27   https://medium.com/matter/mutiny-on-the-majestic-blue-
          80e3d2fbb345#.4wrwj94gy.
     28

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      1                seafood to consumers worldwide.
      2         131. Dongwon’s own website has this to say about its control over StarKist
      3   Company:
      4                      StarKist is the world's best tuna brand with 65
      5                years of history, and holds the No.1 position in the US
      6                tuna market. Like Dongwon Group in Korea, StarKist is
      7                an iconic tuna brand in the United States, and has
      8                been controlled by Dongwon Group since 2008,
      9                accompanying Dongwon Group on its journey to
     10                globalization. Dongwon Group, which has already
     11                become the dominant player in Korea’s tuna market, has
     12                focused on the steady growth of the world's tuna market
     13                and determined that tuna can be one of core resources
     14                that will lead future industries. Through the acquisition
     15                of   StarKist,   Dongwon     Group    has   secured    an
     16                opportunity to take off as the world's biggest tuna
     17                company, and will become de facto a globalized
     18                enterprise. (Emphases added).
     19         132. For the reasons that follow, it would be an unjust and inequitable
     20   result to permit Dongwon to escape liability for the conduct alleged herein.
     21         133. Before describing the interrelationship between StarKist Company
     22   and Dongwon Industries, it is first necessary to explain briefly the concept of the
     23   Korean chaebol, which is a recognized concept in the academic business literature
     24   focused on South Korean companies. See, e,g., the general discussions in David
     25   Hundt, Korea’s Developmental Alliance: State, Capital and the Politics of Rapid
     26   Development (2009); R. M. Steers, K.S. Yoo, & G. Ungson, The Chaebol: Korea’s
     27   New Industrial Might (1989).
     28

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      1         134. The term “chaebol” is made up of the words “chae” (wealth or
      2   property and “bol” (clan or group). Chaebols are closely-knit business groups in
      3   South Korea under the control of a single family or extended family, with key
      4   flagship firms which are used as the instruments of control of other firms within
      5   the group . They have four key features: (1) the governance structure of the group
      6   involves family or extended family control; (2) the formal organizational structure
      7   of the group involves a group headquarters, located in an actual or de facto holding
      8   company, sometimes known as a “flagship” company, which controls a network of
      9   subsidiaries, which fall under the control of the family, the group as a whole, and
     10   of flagship firms within the group; (3) the business structure of the firm
     11   encompasses a number of discrete products and services, some of which are wholly
     12   unrelated and others that are effectively vertically integrated; and (4) these groups
     13   are characterized by strong internal cultures of hierarchy, familism and loyalty,
     14   with family members of the founder or his cohorts also occupying key managerial
     15   positions within the group.
     16         135. The Dongwon family of companies fits this definition. The company
     17   started in 1969 and is dominated by Chairman Jae-chul Kim (“J.C. Kim”) and
     18   members of his family or extended family, as described in more detail below. The
     19   group headquarters is in Seoul, South Korea, where its holding company,
     20   Dongwon Enterprise, is located. Through its subsidiaries, it operates in a number
     21   of business sectors including, inter alia, marine products, other food products, feed
     22   products and pet food, packing materials, and aluminum foil products. As
     23   explained below, the Dongwon family of companies has an internal culture of
     24   hierarchy, familism and loyalty. Defendants Dongwon Industries and StarKist
     25   Company exhibit that culture with members of J.C. Kim’s family being put in key
     26   positions in both companies and executives at Dongwon Enterprise, Dongwon
     27   Industries and various other Dongwon subsidiaries being routinely seconded to
     28   StarKist Company to fill managerial roles. Dongwon Industries, run by J.C. Kim,

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      1   is the parent entity for StarKist Company.
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      7         136. Dongwon purposefully directs its activities in the United States
      8   through its controlled and wholly-owned subsidiary StarKist Company, through
      9   which it produces and sells Packaged Tuna throughout the United States (including
     10   in this District), its territories and the District of Columbia. Dongwon also has an
     11   ownership interest in other United States businesses. It has a 12.5% stake in Silver
     12   Bay Seafoods, LLC (a fishery located in Sitka, Alaska) and a 50% majority interest
     13   in D.W. Global, Inc. (a shipping and import/export company located in Commerce,
     14   California). According to its quarterly and annual reports, Dongwon typically
     15   derives more than 50% of its global revenue from the United States. Indeed,
     16   Dongwon has its own fishing fleet and is vertically integrated with StarKist.
     17   Dongwon also purposefully directs its activities to the United States by exporting
     18   Packaged Tuna to this country. Dongwon directly participated in the conspiracy
     19   alleged herein, as described herein, as well as using its control over StarKist’s
     20   Packaged Tuna business to conspire with the other Defendants and their co-
     21   conspirators.
     22         137. Dongwon dominates StarKist, and has done so since June 6, 2008
     23   when it contracted to purchase StarKist from Del Monte (a sale completed in
     24   October 2008).
     25         138. Once it acquired StarKist in June of 2008, Dongwon participated
     26   directly in the alleged conspiracy. For example, it permitted the collusive can
     27   resizing initiated by its predecessor to go forward and it supported and benefitted
     28

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      1   from the succession of collusive price increases that commenced in 2008 that are
      2   described herein.
      3          139. Ingu Park (“Park”), the Chairman of the Board of StarKist, served as
      4   its Acting President from November of 2010 to March of 2011, and also serves as
      5   CEO of Dongwon Precision Machinery Company. During the Class Period,
      6
          including in 2008, Park also served as Vice-Chairman of Dongwon Enterprise Co.,
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          Ltd.
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     23                                                                 s.
     24          141. Choe first took a title at StarKist in March of 2012, but formalities
     25   notwithstanding, he was closely involved in the management of StarKist. For
     26   example,
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      9         143. Choe maintained a Dongwon employee status with a Dongwon title
     10   and a Dongwon email address until March 26, 2012.           StarKist’s own website,
     11   however, describes the reality: that Choe (StarKist’s current CEO and President)
     12   joined StarKist in 2010. This is for practical purposes true, and it demonstrates the
     13   absence of meaningful distinction between StarKist and Dongwon management
     14   after Dongwon’s purchase of StarKist.
     15         144. Nam-Jung Kim (son of Dongwon Chairman Jae-chul Kim), who
     16   served as the COO of StarKist from 2012 until October of 2014, was Vice-
     17   President of Dongwon F&B and of Dongwon Enterprise Co. He now serves as a
     18   Director of both StarKist and Dongwon.7
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            According to one article, “Kim Nam-Jung is the younger son of Dongwon
     24   chairman Kim Jae-Chul, who founded the business in 1969 to fish for tuna and
          established his first overseas base in the Republic of Ghana in 1973…. In
     25
          preparation for succession, the founder has been transferring ownership of the
     26   private family holding company, Dongwon Enterprise Co., which owns stakes in
     27   various listed affiliates, to Nam-Jung. Jae-Chul holds a 24.5% stake and Nam-
          Jung, 68%.
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      5         145. Similarly, Hyung-Joo Kim, Chief Financial Officer (“CFO”) of
      6   Dongwon F&B, became the CFO of the StarKist in 2012. Likewise, Park serves as
      7   CEO of Dongwon Precision Machinery Company. Nam-Jung Kim, Hyung-Joo
      8   Kim, and Ingu Park all served as officers of StarKist during the period of the
      9   conspiratorial activities described herein, would have known of those activities,
     10   and would have relayed that information to executives at Dongwon, as reflected in
     11   Dongwon’s own statements described below.
     12         146. After the acquisition, American executives at StarKist began to
     13   leave—voluntarily and involuntarily.
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     22     Dongwon is no stranger to antitrust violations in the food industry. In June of
          2011, one of its subsidiaries, Dongwon Dairy Foods, was fined 1.31 billion Korean
     23   won by the Korean Fair Trade Commission (“KFTC”) for conspiring with three
     24   other firms to rig prices in the South Korean cheese market. According to the
          KFTC, employees of the Dongwon subsidiary were found to have participated in
     25
          “a covert organization established for the purpose of such price-fixing”; they had
     26   multiple meetings with competitors in 2007-08, in which they agreed to raise
     27   cheese                      prices                 by                     15-20%.
          http://www.koreaherald.com/view.php?ud=20110626000297.
     28

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     16         148. Dongwon also participated directly in managing other facets of
     17   StarKist’s operations,
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                                                                        StarKist became
     23
          Dongwon’s instrument—its marketing conduit for Dongwon’s tuna—under the
     24
          control of Dongwon (and Dongwon executives). And, as discussed below, given
     25
          Dongwon’s control and the unity of interests between StarKist and its parent in
     26
          carrying out the conspiracy alleged here, it would be unjust and lead to an
     27
          inequitable result to allow Dongwon to escape liability for StarKist’s acts.
     28

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      1   Dongwon purchased and controlled StarKist to its benefit in becoming a “de facto
      2   globalized enterprise” and extending its operations to the United States using an
      3   already well-known national brand.
      4         149. Due to the unlawful conduct alleged herein, StarKist earned profits in
      5   excess of what it would have earned in a competitive market. StarKist transferred
      6
          its ill-gotten gain obtained through the alleged conspiracy to Dongwon, by paying
      7
          out the unlawfully obtained profits and other conspiracy proceeds to Dongwon in
      8
          the form of dividends and other transfer payments.
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                                                                   Accordingly, Dongwon
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     14   knowingly profited from StarKist’s participation in the conspiracy and knowingly

     15   accepted the proceeds of the conspiracy and has been unjustly enriched. As a

     16   result of these facts, considered alone or in combination with one or more of the
     17   foregoing other facts, adherence to the fiction of the separate existence of
     18   Dongwon and StarKist would sanction a fraud or promote an injustice, and an
     19   inequitable result or an injustice would occur if the corporate form were elevated
     20   over substance.
     21         150. From July 2008 when Dongwon took the reins of StarKist, to October
     22   of 2014, StarKist had a total of five CEOs: Donald Binotto (“Binotto”), Ingu Park,
     23   In-Soo Cho, interim CEO Sam Hwi Lee, and current CEO Choe.
     24         151. As set forth herein, Dongwon participated in the conduct as alleged; in
     25   addition to its complete control and domination of StarKist, its disregard of
     26   corporate forms
     27                                                  e, and its descriptions of Dongwon
     28   personnel as working for Starkist, which was true in fact even when not

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      1   acknowledged in titles, demonstrates that StarKist is the agent, instrumentality and
      2   alter ego of Dongwon.
      3   Del Monte And StarKist Acted As Single Entities
      4         152. In its 2008 Form 10-K filed with the Securities and Exchange
      5   Commission (“SEC”) and in preceding Form 10-Ks, Del Monte referred to the
      6   “StarKist Seafood operating segment,” which indicates that StarKist did not
      7   function as an autonomous entity during the period of its ownership by Del Monte.
      8         153. Del Monte owned StarKist until October 2008, and remained involved
      9   in the operations by contract until September 2010. As set forth below, Del Monte
     10   participated directly in various acts in furtherance of the continuing conspiracy
     11   alleged herein. Certain individuals acting on behalf of Starkist that are mentioned
     12   herein came to StarKist from Del Monte. Examples are Melissa Murphy
     13   (“Murphy”), StarKist’s Senior Vice-President of Corporate Affairs and Human
     14   Resources,   who    served   as   Del    Monte’s   Vice-President    of   Corporate
     15   Communications from 2003 to 2008; Steve Hodge (“Hodge”), a former Senior
     16   Vice-President of Sales for StarKist from May of 2010 to December of 2013 who
     17   was employed by Del Monte as a Director of Field Sales for StarKist from 2008-
     18   10; and Joe Tuza (“Tuza”), who served as the Vice-President of Marketing for Del
     19   Monte before joining StarKist.
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     28         156. Defendants and their co-conspirators directly and through their

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      1   affiliates sold Packaged Tuna in the United States and in this district at artificially
      2   inflated prices during the Class Period.          Defendants are direct, horizontal
      3   competitors in the United States Packaged Tuna market.
      4                   ADDITIONAL FACTUAL ALLEGATIONS
      5          A.   Overview of the Packaged Tuna Industry.
      6          157. Packaged Tuna starts as raw fish that is processed, cooked and canned

      7   for flavor, safety, and to increase shelf life. Because the tuna are generally caught

      8   far out at sea, raw tuna is usually delivered to canneries or processing facilities in a

      9   frozen or refrigerated state. Upon delivery to a processing plant, an initial quality

     10   control inspection is performed.

     11          158. Tuna of acceptable quality is transferred to large ovens for

     12   “precooking.” Following pre-cooking and cleaning, tuna is transmitted into a

     13   filling machine which processes the tuna into cans or pouches in pre-set amounts.

     14   The containers are then closed and sealed in sealing machines.

     15          159. Each package has a code that identifies the plant, product, date, batch,

     16   and other identifying information. Filled and sealed packages are then cooked

     17   under pressure to make the products commercially sterile and so that they will have

     18   a long shelf life.

     19          160. Packaged Tuna is largely sold, in the original packaging, directly to

     20   wholesale distributors, who, in turn, re-sell, also in their original packaging, to

     21   grocery stores, restaurants, school districts and other outlets. Additionally,

     22   Packaged Tuna is sold both directly and indirectly, in their original packaging, to

     23   club warehouses, retail groceries, grocery cooperatives, mass merchandisers, and

     24   drug stores, among others, who resell Packaged Tuna to end-user consumers in

     25   their original packaging.

     26          161. Defendants all currently sell or during the class period sold Packaged

     27   Tuna in the United States.

     28          162. Defendants collectively dominate the United States’ highly-


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      1   concentrated Packaged Tuna industry and have done so for decades. StarKist,
      2   Bumble Bee, and COSI for about 80% of the tuna market, and the remaining share
      3   is divided among private label brands, typically associated with and distributed by
      4   a single retailer.
      5          163. Beginning in or about 2000, national demand for Packaged Tuna,
      6   began to decline for numerous reasons. Between 2000 and 2014, the average per
      7   person annual tuna consumption decreased by more than 31% from approximately
      8   3.5 pounds per person per year to 2.4 pounds per person per year
      9          164. In a competitive environment, a decline in demand for a given
     10   commodity product should (other factors being equal) lead to a decline in that
     11   product’s price. However, as Defendants control the market and have agreed to
     12   restrict capacity, allocate customers, and fix prices for Packaged Tuna, the prices
     13   were set at artificially high levels beginning not later than July 21, 2008. Further,
     14   while the raw material is the largest cost input, the price of canned tuna since 2007
     15   has outpaced the price of the major component fish, namely skipjack tuna, and
     16   significant oversupply and falling raw material prices during periods since the
     17   conspiracy began have not resulted in price reductions as would be expected in a
     18   competitive industry. Growth of prices that outstrips rises in raw product costs
     19   and/or persists when material costs fall, and in markets where demand is softening,
     20   suggests suspension of ordinary market functions.
     21          165. Prices for Packaged Tuna since at least July 1, 2004, were a direct
     22   result of Defendants’ conspiracy to diminish can size and collusively set and raise
     23   prices, to police discounts and refrain from offering products labeled to indicate
     24   sustainability features. As a result, Plaintiffs and the Classes paid artificially-
     25   inflated prices for Packaged Tuna purchased indirectly from Defendants.
     26          B.     Defendants Engaged in an Anticompetitive Conspiracy
     27          166. At least as early as July 1, 2004 Defendants COSI, Bumble Bee and
     28   StarKist participated in an anticompetitive horizontal cartel, perpetuated through


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      1   organizations the Defendants themselves created, and which conspiracy included
      2   communications in person and by telephone and email, and in in-person meetings
      3   at senior levels of the Defendant brands, and sharing sensitive business information
      4   directly and through intermediaries. Defendants (1) coordinated a reduction in
      5   tuna can sizes; (2) coordinated increases to list and net prices of Packaged Tuna;
      6   (3) shared information about and policed discounting on Packaged Tuna; and (4)
      7   collectively agreed to forbear from introducing products under brand names that
      8   were labeled FAD Free, indicating forbearance from a fishing method that has
      9   been criticized for its impact on the sustainability of global fisheries.       The
     10   Defendants’ horizontal collusion was intended to, and did, fix, raise, stabilize,
     11   and/or maintain the prices of Packaged Tuna sold to customers in the United
     12   States.
     13         167. The Defendants among others, in their present or past parent corporate
     14   forms, were founding members of the U.S. Tuna Foundation, which became The
     15   Tuna Council. In 2007, the Tuna Council merged with the National Fisheries
     16   Institute (“NFI”). The NFI was founded at least as early as 1945, and serves as the
     17   seafood industry’s primary trade group and lobby.
     18         168. The NFI includes several subgroups, including the Tuna Council,
     19   which consists of the Defendant brands. Additionally, in 2007 NFI members
     20   created the Better Seafood Board (“BSB”), an organization which, while
     21   “governed separately from NFI,” “provides the mechanism for [the] industry’s
     22   partners in the supply chain. . .to report suppliers committing economic fraud.”9
     23   BSB’s code of conduct includes requirements of “never mislabeling a fish” or
     24   “short-weighting product”.10 During the Class Period NFI and the BSB have served
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     26         See    http://www.aboutseafood.com/about/better-seafood-board-3/,         last
          accessed May 6, 2016.
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      1   as loci for collusive communication between Defendants and as a source of
      2   anticompetitive agreement.
      3         169. NFI had frequent meetings during the Relevant Period, including
      4   meetings during the times that the collusive agreement on FAD-free tuna was
      5   discussed. In fact,
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     10         170. Defendants formed another organization, the International Sustainable
     11   Seafood Foundation (“ISSF”), in 2009. The ISSF and/or its affiliated trade group
     12   ISSA also serve as an additional forum for in-person and telephonic meetings
     13   between the Defendants, who are direct horizontal competitors.
     14        C.     Defendants’ Collusive Price Increases During 2004-2006
     15        171. From 2001 and 2003, canned tuna prices declined, as did profit
     16   margins.
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     23         172. Accordingly,
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      7         173. During
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     12                                                                              These
     13   communications offered the three CEOs an opportunity to discuss increasing prices
     14   of Packaged Tuna in the United States.
     15         174. As a result of the discussions among the COSI, Bumble Bee and Del
     16   Monte/StarKist executives and employees
     17   Defendants made, a conscious commitment to an unlawful common scheme to
     18   increase prices of Packaged Tuna in the U.S. by coordinating price increases,
     19   secretly and collusively exchanging advanced pricing intentions and pricing
     20   announcements and explanations, and policing discounting.
     21         175.
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      4           176. The following day, on June 1, 2004, in accordance with their unlawful
      5   agreement, Del Monte announced a price increase of 10% on StarKist’s Packaged
      6   Tuna,                                               .
      7           177. To confirm its conformance with the price increase and so the other
      8   brands could conform their pricing
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      8         180. On June 11, 2004, COSI put out a net price increase on multiple
      9   Packaged Tuna on June 11, 2004, effective in July 2004. Within days thereafter,
     10   Bumble Bee increased Packaged Tuna prices as well, also effective in July 2004.
     11   All three brands immediately followed the net increase with a list price increase in
     12   late August or early September of 2004. By September 2, 2004, Bumble Bee,
     13   StarKist, and Chicken of the Sea had announced new, higher, collusive list prices
     14   on their chunk light products, $2.00 per case higher than previous pricing.
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     16                                                               . These price increases
     17   together established uniform pricing on both light meat and white meat tuna,
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     19                                                       .
     20         181.
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     22   By July 2004, COSI, Bumble Bee and Del Monte/StarKist had executed the first
     23   collusive price increase. In September, they executed the second.
     24         182. Between August 20, 2004 and August 30, 2004, Bumble Bee,
     25   StarKist, and COSI collusively raised prices on light meat tuna by an additional
     26   $2.00 per case.
     27         183. Defendants’ 2004 collusive price increases were intended to and did
     28   increase U.S. Packaged Tuna prices, and these prices remained at supracompetitive

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      1   levels throughout the Class Period.
      2         184. In or about January 2006, Defendants decided to execute another
      3   round of collusive price increases when rising albacore costs threatened to erode
      4   their supracompetitive profit margins. StarKist moved first, notifying the trade
      5   (that is, brokers and purchasers) on or about January 30, 2006 that it would
      6   increase prices on white meat (albacore) tuna products by about 6% effective May
      7   1, 2006. However, StarKist needed Bumble Bee and COSI to go along with the
      8   price increase for it to hold.
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      6         193. Consequently, on March 6, 2006, COSI announced a price increase of
      7   approximately 6% on white meat tuna products, which followed the prices
      8   announced by StarKist. For example, COSI raised prices on cases of solid white
      9   tuna in water to $58.08 and on 24-packs of solid white tuna in oil to $29.04, which
     10   exactly matched the prices announced by StarKist.
     11         194. Thereafter, Bumble Bee announced a price increase on white meat
     12   tuna products that matched the conspiratorial prices.        Bumble Bee made its
     13   announcement on April 17, 2006. Both the Bumble Bee and the COSI price
     14   increases went into effect in the first week of July 2006.
     15         195. As a result of the conspiracy, six ounce chunk light tuna (one of the
     16   most popular Packaged Tuna products, which had gone as low as $0.54 per can in
     17   the beginning of 2004, rose to $0.58 by late 2004 and $0.62 by August 2005. The
     18   2004 and 2006 increases set a template for exchange on non-public information
     19   and collusive, coordinated increases.
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                D.   Defendants’ Collusive Package Size Reduction and Price
     21              Increases in 2007-2008
     22         196. The conspiracy among Defendants and co-conspirators continued in
     23   2007 and 2008.
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      6   Collusive Alignment of Can Sizes in 2008
      7         198. Between roughly 2000 and 2007, leading tuna companies, including
      8   Defendants, followed each other in a series of gradual moves to change the size of
      9   the standard tuna can, first from seven ounces to six and a half ounces, then to six
     10   and one-eighth ounces, and then to six ounces. These changes occurred gradually
     11   over at least an eight-year period.
     12         199. In 2007, StarKist and its can maker, Impress, decided to abruptly
     13   change the size of its standard six-ounce tuna can to five ounces, marking a major
     14   departure from the gradual changes of the previous decade.
     15         200. Rather than keep this competitive information to itself,
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     27         201. Further, the downsizing necessarily involved a price change, and
     28   therefore virtually required cooperation on pricing to be adopted by all three

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      1   competitors. A size reduction with a proportional cost reduction would present
      2   consumers a lower out-of-pocket price for a smaller package at the same net price,
      3   likely effectively operating as a discount and undercutting the competitors for
      4   market share. If the three brands made the same size adjustment without also
      5   making the same pricing decision (an effective increase),
      6
      7         202. Months later, in August of 2008 when the move had been
      8   implemented, StarKist stated that it did this primarily for environmental reasons,
      9   including the purpose of “sav[ing] two million gallons of water a year, while only
     10   taking out two teaspoons of tuna from each can.”13 This was not actually StarKist’s
     11   motive.
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     27        See            http://www.mouseprint.org/2008/08/11/holy-mackerel-starkist-
          downsizes-tuna/, last accessed May 13, 2016.
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      9         206. Thai Union participated directly in, and approved of, the collusive
     10   decision to resize cans.
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     22         222. The new five ounce can was implemented in or about July 21, 2008,
     23   and StarKist made public statements about the new can size in August 2008. The
     24   pricing for all three brands reflected a 20% increase in the per-ounce price.
     25   Collusive List Price Increase in 2008
     26         223. After the can downsizing had been decided but before it had been
     27   fully implemented,
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     18              StarKist announced its price increase on June 17, 2008, effective July
     19   21, 2008. COSI and Bumble Bee announced their price increases between June
     20   27, 2008, and June 30, 2008, both effective October 2008.
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     14         E.    Collusive Conduct 2010 And Later
     15   Collusive Q3 2010 Net Price Increase
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     10         241. Defendants’ executives responsible for the May 2010 net price
     11   increases were well-acquainted with each other, because at least some had been
     12   employed by each other’s companies. For example, COSI’s, Clancy had been Vice
     13   President of Sales and Marketing at StarKist until 2002. Bumble Bee’s George
     14   was COSI’s Senior Vice President of Trade Marketing and Innovation at Chicken
     15   of the Sea from June 1979 until May 2006, when he became Vice President of
     16   Trade Marketing at Bumble Bee.
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     20         243. Net price increases were unusual in the industry. The net price is not
     21   the list price, but is a price provided to brokers, and not typically released directly
     22   to customers.
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     14         256.                                               each of the Defendants
     15   announced net price increases on chunk lite tuna products in May 2010, with the
     16   same effective date, August 1, 2010.      Their price increases were essentially
     17   identical on a per unit basis.
     18   Collusive Q2 and Q3 2011 Price Increase
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     28        Collusive Price Increase of 2012

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      1         265. In late 2011 and early 2012, Defendants began considering and
      2   discussing another coordinated list price increase for Q2 2012.
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     18         266. As a result of their collective decision, the three brands each
     19   announced new price lists to their customers within just a few days of one another.
     20   StarKist announced its price increases on January 13, effective March 26, 2012.
     21   Bumble Bee announced its increases on 17, 2012, effective on April 1, 2012.
     22   COSI announced its increases on January 18, 2012, effective on April 1, 2012.
     23   The price increases were substantially identical for the cartel participants’
     24   corresponding products.
     25         267. Defendants’ contemporaneous announcements of list price increases
     26   for Packaged Tuna occurred at a time when consumer demand continued to
     27   weaken in the U.S., a practice lacking any legitimate independent business reasons
     28   in an otherwise competitive market. In order to conceal their price agreement,

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      1   Defendants gave pretextual justifications in their price announcement letters to
      2   customers, pointing to the rising input costs for fish, packaging, and transportation.
      3         268. The series of price increases planned, executed and collusively set a
      4   benchmark which caused the prices to consumers to be artificially high long after
      5   the last overt acts of conspiracy.
      6   Collusive Monitoring of Promotions
      7         269. To preserve the prices that they had decided and implemented
      8   together, the Defendants engaged in monitoring of discounts and promotions.
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      6   Collusive Refusal to Offer FAD-Free Products
      7         272. During 2011 the industry experienced increasing pressure to provide
      8   consumers the option to purchase more sustainably fished product in their product
      9   lines. A particular focus was the use of FADs in conjunction with the purse-seine
     10   method of fishing. A FAD is a man-made device that floats on the ocean (typically
     11   using a buoy tethered to the ocean floor) used to attract schools of fish that orbit
     12   around the FAD.
     13         273. Much of the world’s tuna is caught by purse-seine netting, in which a
     14   large net is deployed under an entire school of fish and hoisted upwards. This
     15   technique is distinct from methods involving towed nets, or pole-and-line fishing,
     16   where fish are hooked. The most cost-effective method of catching skipjack tuna
     17   is to use a FAD to draw schools of tuna into a small area, and a purse-seine net to
     18   capture them. The practice has drawn criticism on environmental sustainability
     19   grounds.
     20         274. In the latter half of 2011, partially in response to efforts by
     21   environmental sustainability advocates, the Defendants began receiving inquiries
     22   about providing light tuna (largely skipjack) caught without the use of a FAD.
     23   Rather than respond to these inquiries as an opportunity for competitive
     24   differentiation, the Defendants decided to formulate a coordinated response.
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     12         278. On February 10, 2012, Safeway announced its decision to eliminate
     13   FAD-caught tuna in favor of tuna caught using “free-school purse-seine methods.”
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     11         282. Each brand had an individual interest in offering consumers FAD-
     12   Free tuna,
     13         283. When Bumble Bee introduced an entirely separate label that was
     14   FAD-Free (under the name Wild Selections) on or about April 26, 2013, (more
     15   than a year after the agreement),
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     20         284. The FAD-free agreement assisted Defendants in maintaining their
     21   price-fixing conspiracy, and in staving off inter-brand competition in offering
     22   FAD-free tuna to consumers as a more environmentally sustainable and desirable
     23   alternative.
     24   Defendants Have Additional Opportunities to Collude
     25         285. Defendants BumbleBee, StarKist, and COSI or their precedent
     26   corporate parents all helped found NFI’s Tuna Council and BSB, which became
     27   loci of a conspiracy among these competitors not to compete, and to share
     28   competitive information and coordinated business strategies. As explained on that

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      1   organization’s website: “The National Fisheries Institute’s Tuna Council represents
      2   the largest processors and household names for canned and pouch tuna in the U.S.
      3   including Bumble Bee®, Chicken of the Sea® and StarKist®. The Tuna Council
      4   speaks for the tuna industry on numerous issues including food safety, labeling,
      5   sustainability, nutrition education and product marketing.” NFI and specifically
      6   Tuna Council meetings were typically attended by the CEOs, and/or by other
      7   members of the senior management team. They met or spoke at least quarterly,
      8   providing a regular opportunity for the exchange of competitive information.
      9         286. The industry provides other opportunities for the Defendants to
     10   collude and exchange sensitive business information necessary to forming and
     11   monitoring a cartel.
     12         287. For example, all three Defendants participate in regional fisheries
     13   management organizations. These include the Mid-Atlantic Fisheries Council; and
     14   the Fishery Counsel of Canada. All three Defendants regularly send representatives
     15   to major trade conferences including the Infofish World Tuna Trade Conference
     16   and Exchange, an Asia-Pacific region conference sponsored each year by an
     17   intergovernmental arm of the United Nations and drawing key players in the
     18   industry. The conference is in its fourteenth year.
     19         288. The ISSF was founded in 2009. The ISSF states that its mission is to
     20   “to undertake science-based initiatives for the long-term conservation and
     21   sustainable use of tuna stocks, reducing by and promoting ecosystem health.”
     22         289. The ISSF Board of Directors includes individuals associated with the
     23   tuna industry, many of whom work or have worked for Defendants. For example,
     24   the current President of the ISSF is Susan Jackson (“Jackson”). Prior to joining
     25   ISSF, Jackson was the vice president for government/industry relations and
     26   seafood sourcing for Defendant Del Monte Foods, former parent of StarKist. The
     27   Board of Directors of the ISSF also currently includes John Connelly, who is the
     28   President of the NFI.

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      1         290. The ISSA is a tuna industry trade association. Full membership in the
      2   ISSA is limited to “processors,” “traders” and “marketers” in the tuna industry.
      3         291. All three Brand Defendants are founding members of the ISSF. Each
      4   of the three Brand Defendants has played, and/or continues to play an active role in
      5   the ISSF and the ISSA. Chris Lischewski, President and CEO of Bumble Bee, In-
      6   Soo Cho, former president and CEO of Starkist and Shue Wing Chan, of Thai
      7   Union, parent of COSI, have served as ISSA Board Members.
      8         292. The ISSF and the ISSA provided the three Brand Defendants
      9   numerous and ongoing opportunities to interact at meetings, conferences, and to
     10   participate in conference calls. ISSF bylaws provide for meetings of the ISSF
     11   Board of Directors be held three times each year.
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     19                        .
     20         294. Defendants also collaborated on projects at trade and other not-for-
     21   profit associations during the relevant period, such as the “Tuna the Wonderfish”
     22   campaign of 2011-2012.
     23         295. The “Tuna the Wonderfish” campaign was designed to combat
     24   declining sales of Packaged Tuna from early 2011 to early 2012. It was
     25   unsuccessful, but it gave Defendants ample opportunity to collude to raise and fix
     26   Packaged Tuna prices. This campaign was bankrolled by the Defendants and
     27   carried out under the auspices of the Tuna Council with the support of Thai
     28   processors. In it, the Defendants teamed up for marketing purposes.

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      5         296. Defendants Bumble Bee and COSI also cooperate on seafood
      6   processing and packaging through bilateral co-packing agreements. Bumble Bee
      7   co-packs for the West Coast of the United States for COSI in Bumble Bee’s Santa
      8   Fe Springs, California plant while COSI does the same for the East Coast in Lyons,
      9   Georgia.   TUG approved this arrangement.         Thus, even before the proposed
     10   merger, described below, of these two companies, they were cooperating closely.
     11   These interlocking relationships provided an excellent opportunity to collude on
     12   pricing. Collaborating at their U.S. processing facilities allowed each of these two
     13   Defendants an organic and in-house opportunity to monitor production, a key
     14   component of information exchange necessary to sustaining a long-term cartel.
     15         F.     The Packaged Tuna Market Is Conducive to Collusion
     16         297. The Packaged Tuna market is structured and characterized in such a
     17   way as to be highly conducive to conspiracy.
     18         298. Packaged Tuna is sold to wholesale and retail stores which in turn sell
     19   to customers such as the Plaintiffs. A very small percentage of sales are made
     20   directly to consumers. There are numerous barriers to entry into the Packaged Tuna
     21   market. Start-up costs are very high. Dongwon and TUG each are to some degree
     22   vertically integrated, Dongwon claiming at times to have the world’s largest
     23   fishing fleet. The cost of processing plants is high.      Merely modernizing the
     24   processing plant in American Samoa (owned by COSI at the start of the Class
     25   Period, purchased and refitted by a nonparty and reopened in 2015) cost $70
     26   million.   Access to manufacturing materials, distribution channels and raw
     27   materials are all highly restricted. Defendants are able to raise prices without fear
     28   of being undercut by new entrants into the market.

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      1         299. Additionally, StarKist, COSI and Bumble Bee, as brands, have all
      2   existed for a very long time. StarKist was founded in 1917. COSI was founded in
      3   1914 as the Van Camp Seafood Company, and was once a part of Ralston Purina.
      4   Bumble Bee actually predates the First World War and was previously part of
      5   Pillsbury and later ConAgra. StarKist, the most recent of the brand names to
      6   appear on American store shelves, began using that name in 1942, though the
      7   company itself predates even that. These three brands have had not decades but
      8   generations to build brand identities and relationships.       They are known by
      9   virtually every American consumer. Any company seeking to start anew faces
     10   difficulties in lack of background, industry ties, and brand awareness.
     11         300. Even an industry player with decades of experience faces formidable
     12   obstacles in establishing a consumer brand. Tri-Marine, a company that has sold
     13   fish to each brand for decades, now cans the Kirkland Signature brand for Costco,
     14   one of the more successful private labels. It now owns the packing plant in
     15   American Samoa previously operated by COSI. However, even with this massive
     16   investment and experience, Tri-Marine’s entry has been limited to private label
     17   production, where one of the largest retail outlets lends its muscle to bring the
     18   product to market. Tri-Marine has a brand of its own, Ocean Naturals, but Ocean
     19   Naturals has struggled to find shelf space and exists as a niche environmental
     20   sustainability product with small areas of shelf space at Walmart, and is otherwise
     21   dependent upon Amazon as a retail conduit.
     22         301. Purchasers routinely source their Packaged Tuna from one of the
     23   Defendants. As a result, Defendants dominate the United States Packaged Tuna
     24   market.
     25         302. As stated above, Defendants control roughly 80% of the tuna market
     26   share for the United States, so almost all wholesale or retail purchasers do business
     27   with Defendants. Defendants possess significant market power to raise prices for
     28   Packaged Tuna to supra-competitive price levels in the United States.

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      1             303. Packaged Tuna has a number of characteristics that combine to reduce
      2   customers’ willingness to purchase substitute products in the face of rising
      3   prices. Packaged Tuna are convenient high protein, low fat, shelf-stable food that
      4   has a particular taste and historical usage. Because of these characteristics, there
      5   are no reasonable substitutes for Packaged Tuna. Therefore, control of the
      6   Relevant Markets by a theoretical a hypothetical monopolist would allow that
      7   monopolist to profitably increase the prices to supra-competitive or monopoly
      8   levels.
      9             304. There are economic indications that support the conclusion that there
     10   was collusive pricing within the domestic Packaged Tuna industry. As noted
     11   above, consumption of Packaged Tuna, has declined over the past ten years in the
     12   United States. The annual consumption per person of canned tuna was 3.1 lbs. in
     13   2005, but fell to 2.3 lbs. in 2013. An article in the Washington Post graphically
     14   represented this decline by measuring United States annual per capita consumption
     15   from 1930 to 2010:
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                    305. But while Americans are buying less Packaged Tuna, they are paying
     25
          more for what they do buy. The same article presented this graph, illustrating the
     26
          increased prices paid for lower quantities of canned seafood (expanding the
     27
          analysis beyond tuna) by American purchasers:
     28

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     12         306. Given this decline in consumption of Packaged Tuna and other
     13   packaged seafood products, one would expect rational businesses to reduce the
     14   prices for packaged seafood products, but that did not happen. The following chart,
     15   taken from data available at the Bureau of Labor Statistics, depicts seasonally
     16   adjusted U.S. city average prices for shelf stable fish and seafood from January
     17   2005 through the first part of 2015, with the period 1982-84 used as a baseline.
     18         307. As shown below, the average U.S. price for Packaged Tuna increased
     19   dramatically from 2008 to the early part of 2015 – and did so even though annual
     20   consumer demand for the products in the United States was falling.
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                308. Changes in overall tuna catch do not explain the price increase.
     11
          Supply of tuna has expanded steadily worldwide since the early 1960s. The use of
     12
          purse-seine netting, in which a net is extended under an entire school and hauled
     13
          upwards, as described above, has increased the availability of skipjack tuna since
     14
          the 1970s, so that Skipjack has come to represent more than 70% of the
     15
          Defendants’ tuna products on U.S. store shelves. The global tuna catch, which was
     16
          less than a million metric tons per year in 1961, is now over 4.5 million tons
     17
          annually. Catch per vessel has roughly doubled since the mid-1980s, and the
     18
          global tuna fishing fleet is larger today than it was in the mid-1980s.          No
     19
          constriction in global tuna catch explains the rising prices charged by Defendants.
     20
                309. Nor do raw material costs adequately explain these price increases.
     21
          While the cost per metric ton of skipjack tuna rose in 2012 and early 2013, it
     22
          declined precipitously thereafter. According to the April 19, 2015 issue of Tuna
     23
          Market Intelligence, “[a]s recently as June last year, skipjack was selling at
     24
          US$1,800 in Bangkok. But the price has since plummeted to US$1,000 since the
     25
          beginning of the year, with industry officials anticipating further reductions in
     26
          price this year.” Tuna exporters in Ecuador noted in January of 2015 that the price
     27
          per metric ton had declined from $1,400 to $800. And the United Nations Food &
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      1   Agriculture Organization noted in its May 2015 “Food Outlook” biannual report
      2   that tuna prices had dropped considerably in 2014: “tuna prices declined
      3   significantly due to excess supply, with frozen skipjack prices hitting a 6-year
      4   low.” Despite these drastically declining raw material costs, Defendants did not
      5   decrease prices and try to obtain more market share.
      6         310. In fact, while there have been periodic increases in fish cost, from
      7   2000 to 2015, fish cost as a proportion of retail price of canned tuna has actually
      8   decreased. In 2000, the price of tuna accounted for 37% of the retail price of the
      9   canned product. By 2015, tuna price was only 31% of the canned tuna price.
     10         311. TUG’s Frozen Products’ Annual Report discusses this situation. In its
     11   2013 Annual Report, TUG Frozen Products stated that “our branded tuna business
     12   showed resilient growth from 2012 thanks to the price adjustments in Europe and
     13   more rational market competition in the US.” It stated in the same report that its
     14   future profit margins would depend upon “[r]easonable US canned tuna
     15   competition without unnecessary price.”
     16         312. In 2014, TUG attributed its own US profits to reduced price
     17   competition and competitors eschewing the quest for market share through
     18   discounting. It would have been against the individual self-interest of each
     19   Defendant to eschew increasing market share during this period by lowering
     20   prices.
     21         G.    The Department of Justice Investigates Defendants
     22         313. The San Francisco office of the Antitrust Division of the United States
     23   Department of Justice (“DOJ”) is currently investigating anticompetitive practices
     24   in the PSP industry. A grand jury has been convened, two individuals previously
     25   employed by Bumble Bee have entered guilty pleas, and on May 8, 2017, the
     26   investigation further resulted in the first corporate guilty plea. It was publicly
     27   reported that Bumble Bee would plead guilty to conspiring to restrain trade in
     28   connection with Packaged Tuna, and pay a fine.

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      4         314. The criminal investigation first surfaced on July 23, 2015, when TUG
      5   confirmed that “Tri-Union Seafoods LLC, operating in the United States under the
      6   brand Chicken of the Sea ha[d] received a subpoena requiring the production of
      7   relevant information to the DOJ” and that “Chicken of the Sea is cooperating fully
      8   with the investigation.”
      9         315. On July 17, 2015, TUG announced it suspended a planned public
     10   stock offering that it had planned to use to finance acquisition of Bumble Bee.
     11   TUG stated that it wanted “additional clarity” on the investigation before
     12   proceeding with the offering. Thai Union has notified the United States Securities
     13   and Exchange Commission (“SEC”) of the suspension. Thai Union has since also
     14   announced that the planned acquisition of Bumble Bee will not proceed given the
     15   merger investigation that is part of the DOJ investigation of anticompetitive
     16   practices in the PSP industry.
     17         316. The publication Global Competition Review has reported that it “is
     18   highly likely that something produced in the [Tri-Union and Bumble Bee] merger
     19   investigation sparked this investigation touching the industry as a whole rather than
     20   just the parties to the deal,” and “early information indicates the demand for
     21   information came from a separate section of the antitrust division, not one tasked
     22   with analyzing deals.”
     23         317. On July 23, 2015, Bumble Bee acknowledged receipt of a grand jury
     24   subpoena. Bumble Bee stated, “The Company did receive a grand jury subpoena
     25   relating to a US Department of Justice investigation into potential antitrust
     26   violations in the packaged seafood industry. The Company is cooperating fully
     27   with the investigation.”
     28         318. StarKist received a subpoena as well, but did not say so publicly.

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      1         319. The fact that these companies received subpoenas from a federal
      2   grand jury is alone significant, as is reflected in Chapter 3 of the 2014 edition of
      3   the      DOJ’s        Antitrust      Division       Manual,        available       at
      4   http://www.justice.gov/atr/public/divisionmanual/chapter3.pdf. Section F.1 of that
      5   chapter notes that “staff should consider carefully the likelihood that, if a grand
      6   jury investigation developed evidence confirming the alleged anticompetitive
      7   conduct, the Division would proceed with a criminal prosecution.” Id. at lll-82.
      8         320. Early in this litigation, the DOJ made a formal motion for intervention
      9   in this action, and the Government negotiated and filed a partial stay agreement
     10   that expressly provides for certain discovery while preventing discovery that would
     11   infringe upon the Grand Jury’s investigation; which was later modified to
     12   accommodate the timeline of the investigation. That investigation has now borne
     13   demonstrable fruit.
     14         321. On December 7, 2016, it filed a criminal information against
     15   Cameron, a Senior Vice-President of Sales for Bumble Bee, alleging a conspiracy
     16   to fix prices of PSPs. “Information” (Dec. 7, 2016) (ECF No. 1) in United States v.
     17   Cameron, No. 3:16-cr-00501-EMC (N.D. Cal.). Cameron pled guilty to the offense
     18   charged at a hearing on January 25, 2017.
     19         322. On December 21, 2016, the DOJ filed a criminal information against
     20   Ken Worsham, a Senior Vice-President of Trade Marketing for Bumble Bee, again
     21   alleging his participation in a conspiracy to fix the prices of PSPs. ”Information”
     22   (Dec. 21, 2016) (ECF No. 1) in United States v. Worsham, No. 3:16-cr-00535-
     23   EMC-1 (N.D. Cal.). Ken Worsham pled guilty to the charge against him on March
     24   15, 2017.
     25         323. Both plea agreements state that:
     26              the defendant participated in a conspiracy with other
                     persons and entities engaged in the manufacture and sale
     27              of packaged seafood, the primary purpose of which was
     28              to fix, raise and maintain the prices of packaged seafood


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      1               sold in the United States, In furtherance of the
                      conspiracy, the defendant engaged in conversations and
      2               discussions and attended meetings with representatives
      3               of other major packaged-seafood-producing firms.
                      During these conversations, discussions and meetings,
      4
                      agreements and mutual understandings were reached
      5               to fix, raise and maintain the prices of packaged
      6               seafood sold in the United States.
          Worsham Plea Agreement, ¶ 4(b); Cameron Plea Agreement, ¶ 4(b).
      7
                324. Pursuant to his guilty plea, Ken Worsham admitted to collusive
      8
          discussions with competitors about Defendants’ price increases. Ken Worsham
      9
          also stated that during his conversations, discussions, and meetings, “agreements
     10
          and mutual understandings were reached to fix, raise, and maintain the prices of
     11
          packaged seafood sold in the United States.”15 Ken Worsham and the government
     12
          agreed on his sentencing guidelines calculations “based on a total amount of
     13
          volume of commerce attributable to the defendant of over $300 million.”16 A
     14
          reasonable inference from this admission is that Ken Worsham, Bumble Bee,
     15
          StarKist and COSI reached and implemented illegal collusive agreements affecting
     16
          over $300 million worth of Bumble Bee’s sales of packaged seafood in U.S.
     17
          interstate commerce, in addition to the packaged seafood sales of StarKist and
     18
          COSI that the agreement affected.
     19
                325. The DOJ’s May 8, 2017 announcement of Bumble Bee’s guilty plea
     20
          and information filed in that docket accuses Bumble Bee of conspiring to fix the
     21
          prices of PSPs and notes that, inter alia, it (a) “engaged in conversations and
     22
          discussions and attended meetings with representatives of other major packaged-
     23
          seafood producing firms”; (b) “agreed and reached mutual understandings
     24
          15
     25     Plea Agreement ¶ 4 (b) United States v. Kenneth Worsham, No. 16 CR 535
     26   (N.D. Cal. Dec. 21, 2016) (ECF No. 14).
          16
     27     Id. ¶ 9. (emphasis added). Worsham admitted his employer’s sales of packaged
          seafood affecting U.S. customers totaled at least $300 million. Id. ¶ 4(a).
     28

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      1   during these conversation, discussions and meetings, to fix, raise and maintain
      2   the prices of packaged seafood sold in the United States”; and (c) “negotiated
      3   prices with customers and issued price announcements for packaged seafood in
      4   accordance with the agreements and mutual understandings reached.” United
      5   States v. Bumble Bee Foods, LLC, No. 17 -CR-249 (N.D. Cal.) “Information” ¶ 9
      6   (May 8, 2017) (ECF No. 1) (emphases added).
      7         326. With the filing of that information, the DOJ issued a press release,
      8   available at https://www.justice.gov/opa/pr/bumble-bee-agrees-plead-guilty-price-
      9   fixing. The press release stated (emphases added):
     10
                In addition to agreeing to plead guilty, Bumble Bee has agreed to pay a
     11         $25 million criminal fine, which will increase to a maximum criminal fine
     12         of $81.5 million, payable by a related entity, in the event of a sale of
                Bumble Bee subject to certain terms and conditions. Bumble Bee has also
     13
                agreed to cooperate with the Antitrust Division’s ongoing investigation.
     14         The plea agreement is subject to court approval.
     15
                 “Today’s charge is the third to be filed – and the first to be filed against a
     16         corporate defendant – in the Antitrust Division’s ongoing investigation
     17         into price fixing among some of the largest suppliers of packaged
                seafood,” said Acting Assistant Attorney General Andrew Finch of the
     18         Justice Department’s Antitrust Division. “The division, along with our law
     19         enforcement colleagues, will continue to hold these companies and their
                executives accountable for conduct that targeted a staple in American
     20
                households.”
     21
     22
                327. It has been publicly reported that another Defendant has applied for
     23
          and been accepted into the DOJ’s corporate leniency program under the Antitrust
     24
          Criminal Penalty Enhancement and Reform Act of 2004, Pub. L. No. 108-237,
     25
          §213(b), 118 Stat. 665, 666 (codified as amended at 15 U.S.C. § 1 note)
     26
          (“ACPERA”).                                                           the ACPERA
     27
          leniency program is specifically related to Defendants’ price-fixing activities and
     28

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      1   other anticompetitive conduct in violation of Section 1 of The Sherman Act in the
      2   United States Packaged Tuna market.              ACPERA protection requires that the
      3   amnesty applicant admit the commission of a criminal act. Therefore,
      4        Bumble Bee personnel admit committing a crime in connection with the
      5   antitrust investigation.
      6          H.        Plaintiffs Suffered Antitrust Injury
      7          328. Defendants’ anticompetitive conduct had the following effects, among
      8   others:
      9                    a. Price competition has been restrained or eliminated with respect to
     10                       Packaged Tuna sold in the United States;
     11                    b. The prices of Packaged Tuna sold in the United States have been
     12                       fixed, raised, maintained, or stabilized at artificially inflated levels;
     13                    c. Indirect purchasers of Packaged Tuna have been deprived of free
     14                       and open competition; and
     15                    d. Indirect purchasers of Packaged Tuna paid artificially inflated
     16                       prices.
     17          329. By reason of the alleged violations of the antitrust laws and other laws
     18   alleged herein, Plaintiffs and the members of the Classes have sustained injury to
     19   their businesses or property, having paid higher prices for Packaged Tuna than they
     20   would have paid in the absence of Defendants’ illegal conduct, and, as a result,
     21   have suffered damages in an amount presently undetermined. This is an antitrust
     22   injury of the type that the antitrust laws were meant to punish and prevent.
     23         FRAUDULENT CONCEALMENT AND THE TOLLING OF THE
     24                     STATUTE OF LIMITATIONS

     25               I.     TOLLING OF THE STATUTE OF LIMITATIONS
     26          330. Plaintiffs had neither actual nor constructive knowledge of the facts
     27   constituting its claim for relief.
     28          331. Plaintiffs and members of the Class did not discover, and could not

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      1   have discovered through the exercise of reasonable diligence, the existence of the
      2   conspiracy alleged herein until at least July of 2015. Indeed, the conspiracy was
      3   apparently only uncovered by DOJ in the process of reviewing internal company
      4   documents relating to the proposed merger between COSI and Bumble Bee.
      5         332. Defendants engaged in a secret conspiracy and did not reveal facts
      6   that would put Plaintiffs or the Class on inquiry notice that there was an agreement
      7   to fix prices for Packaged Tuna. By their very nature, price-fixing conspiracies are
      8   inherently self-concealing. Plaintiffs allege that Defendants agreed among
      9   themselves to conceal their unlawful conspiracy, including by agreeing not to
     10   discuss the conspiracy publicly and by other means of avoiding detection and
     11   maintaining secrecy, such as the use of nonpublic e-mails and private telephone
     12   calls, as described above. Accordingly, Plaintiffs could not have had either actual
     13   or constructive knowledge of the price fixing scheme until the public disclosure of
     14   the DOJ’s criminal investigation on July 23, 2015.
     15   2004-2006 Price Increases
     16         333. Defendants fraudulently concealed the 2004 and 2006 increases.
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     21   2008 Package Downsizing
     22         334. Defendants fraudulently concealed their 2007-08 package size
     23   reduction and list price increase agreements by several means.
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      1         335. Defendants also sometimes concealed their package downsizing
      2   conduct by using coded references to describe their co-conspirators. For example,
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     26         338. The guilty plea of Ken Worsham of Bumble Bee further raises the
     27   inference that the conspiracy was affirmatively concealed. Ken Worsham is the son
     28   of Bob Worsham, who was a consultant for StarKist and, as alleged above,

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      1                                                                                  The
      2   involvement of both father and son in the collusive activity allowed Defendants an
      3   avenue to pass competitive information in private with no need to present an
      4   explanation for why they should be meeting and communicating.
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      6                            .
      7         339. Defendants gave pretextual reasons for the package downsizing and
      8   price increase to conceal their unlawful conduct.
      9         340.
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     18         341. Similarly, a published article at the time of the announcement of the
     19   can resizing and price increase stated that “a customer service representative for
     20   StarKist . . . explained that tuna prices have reached an all-time high.” And in
     21   August 2008, StarKist added an environmental sustainability justification, by
     22   touting the can downsizing as “saving two million gallons of water.”
     23         342. When instituting the 2008 list price increase, StarKist stated in August
     24   that it was raising prices effective November 3, 2008 because of the “continued
     25   escalation of global Tuna fish prices.”
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      1                                               Internally, Bumble Bee stated that the
      2   environmental reasons for the can downsizing were pretextual and designed to
      3   mask what was in effect a disguised price increase.
      4   Later Coordinated Price Increases
      5         343. Defendants again used multiple means to conceal their 2008, 2010,
      6   2011, and 2012 agreements to increase prices,
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     10         344. Defendants sought to limit inculpatory written communications with
     11   one another. Thus, for example,
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     16         345. Similarly, in connection with the 2011-12 price increases, COSI,
     17   StarKist, and Bumble Bee interacted mostly through telephonic communications or
     18   face-to-face meetings.
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     21        e. By communicating with customers individually rather than releasing a
     22   public price announcement, Defendants sought to minimize any public discussion
     23   of the fact that multiple Packaged Tuna producers were increasing prices at the
     24   same time.
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      9         347. When Defendants met in person, they took steps to ensure that their
     10   meetings were secret.
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     12
     13         348. Further, all three Defendants attended NFI Tuna Council meetings
     14   several times a year in various locations around the world. These conferences
     15   provided Defendants with regular opportunities to arrange off-agenda meetings
     16   without raising suspicions.
     17
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     20                                                                                  By
     21   arranging their meetings to coincide with industry shows and conferences,
     22   Defendants attempted to reduce the chance that their presence in the same location
     23   would betray their illegal enterprise.
     24         349. As explained above, familial connections sometimes provided
     25   Defendants with seemingly innocuous channels for passing confidential
     26   information.
     27                                                      Additionally, Laurel Cameron
     28   neé Edwards, the wife of Bumble Bee Senior Vice President Scott Cameron, began

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      1   working at ISSF in early 2012. Prior to her employment at ISSF, she had worked
      2   as a Vice President of Sales with Scott Cameron at Bumble Bee.
      3
      4                       Given her role at ISSF, she was ideally positioned to facilitate
      5   communications between Defendants.
      6         350. Further, Defendants consistently gave pretextual public justifications
      7   to support their price increases.
      8         351. With respect to the 2010 net price increase,
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     13         352. With regard to the 2011 price increase,
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     27         353. Other examples of pretextual statements regarding price increases
     28   include:

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      1         354. A June 2011 letter from COSI attributing price increases to “persistent
      2   global inflationary trends” and “increased raw material costs and a weak U.S.
      3   dollar.”
      4         355. A July 2011 StarKist letter announcing prices increases for canned
      5   tuna that were attributed to “continuously rising fish costs.”
      6         356. A January 2012 COSI letter saying that “[h]igh fish prices have made
      7   it necessary to increase the list price of both light and white [tuna]. All indicators
      8   are that these higher raw material costs will not return to levels that were seen as
      9   recently as a year ago.”
     10         357. A January 17, 2012 list price announcement from Bumble Bee
     11   attributing increases to general inflationary trends in fish, transportation and
     12   packaging costs.
     13         358. A January 17, 2012 letter from Cameron of Bumble Bee to customers
     14   saying that “[o]ver the recent past, global inflation, economic uncertainty,
     15   transportation consolidation, fuel prices, and record high resource (fish) costs, have
     16   compounded to create unprecedented pricing volatility in our industry. As we
     17   forecast these factors moving into the first half of 2012, we see no relenting on
     18   these cost pressures. The factors that were outlined above will increase, which has
     19   led Bumble Bee Foods to announce list pricing actions on a number of canned and
     20   pouch tuna items (ranging from +4% to +9%), beginning in April, 2012.”
     21         359. A March 2012 letter from Cameron of Bumble Bee telling customers
     22   that “unforecasted elements,” some of which would occur in the latter part of 2012,
     23   necessitated canned tuna price increases.
     24         360. An August 2012 Intrafish article in which Senior Vice President
     25   David Melbourne of Bumble Bee says that “[t]he leading brands took pricing
     26   action due to escalating fish costs.”
     27         361. None of these communications ever mentioned Defendants’ collusion
     28   or the fact that, as DOJ’s Baer has stated, their industry was “not functioning

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      1   competitively.”
      2         362. Defendants actively sought to mislead their customers about the price-
      3   fixing scheme. Their various justifications for price increases did not disclose that
      4   they had agreed among themselves to fix, raise and/or stabilize the price of
      5   Packaged Tuna.     Defendants’ justifications for their price increases were also
      6   misleading, to the extent they were true even in part, because of their failure to
      7   disclose that the price increases in fact resulted from their illegal agreement and
      8   conspiracy.
      9         363. Defendants’ fraudulent concealment was even more effective against
     10   Plaintiffs because they were and are consumers. Indirect purchases, at retail prices,
     11   interposed an additional layer of opacity as to the prices charged by the Defendants
     12   and the timing of changes.
     13         364. Because Defendants’ agreement, understanding and conspiracy was
     14   kept secret, Plaintiffs and members of the Class were unaware of Defendants’
     15   unlawful conduct alleged herein and did not know that they were paying artificially
     16   high prices for Packaged Tuna during the Class Period.
     17         365. The guilty plea of Ken Worsham of Bumble Bee further raises the
     18   inference of using means of communication that affirmatively concealed the
     19   conspiracy from detection. Ken Worsham, as alleged supra, is the son of Bob
     20   Worsham, a longtime Del Monte employee and StarKist consultant.
     21                                                                                  . The
     22   involvement of both father and son in the collusion allowed Defendants an avenue
     23   to pass competitive information where personnel from competing companies could
     24   meet as frequently as necessary with no need to present an explanation.
     25         366. None of these communications ever mentioned Defendants’ collusion
     26   or the fact that, as DOJ’s Baer has stated, their industry was “not functioning
     27   competitively.”
     28         367. Defendants thus actively misled their customers about the price-fixing

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      1   scheme. Their various justifications for price increases did not disclose that they
      2   had agreed among themselves to fix, raise and/or stabilize the price of Packaged
      3   Tuna. Defendants’ justifications for their price increases were also misleading, to
      4   the extent they were true even in part, because of their failure to disclose that the
      5   price increases in fact resulted from their illegal agreement and conspiracy.
      6         368. Because Defendants’ agreement, understanding and conspiracy was
      7   kept secret, Plaintiffs and members of the Class were unaware of Defendants’
      8   unlawful conduct alleged herein and did not know that they were paying artificially
      9   high prices for Packaged Tuna during the Class Period.
     10   Defendants’ Conspiratorial Acts Overwhelmingly Took Place in California
     11         369. Defendants’ acts in furtherance of their conspiracy to raise the prices
     12   of Packaged Tuna overwhelmingly occurred in the State of California.
     13         370. As alleged above, Defendants COSI and Bumble Bee each maintain
     14   their principal places of business in San Diego, California. Defendants used and
     15   availed themselves of these and other California-based locales to engage in and
     16   implement their conspiracy.
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     18         374. Defendants’ acts of collusion in the State of California continued.
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     24         . As a result of these efforts, all three Defendants issued May 2010 price
     25   increase announcements for Packaged Tuna and other PSP products. Defendants’
     26   proposed Q3 2010 net price increases were all similar in magnitude, and had the
     27   same effective date of August 1, 2010.
     28         375. COSI executives in San Diego, California played a core role in

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      1   coordinating subsequent price increases for Packaged Tuna and other PSPs, as
      2   well.
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     11           376.
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     22           377. Defendants’ actions to collude on limiting promotional activity also
     23   had a California focus.
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     28           378. In sum, all aspects of Defendants’ collusive and conspiratorial acts, as

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      1   herein alleged, involved executive and management-level personnel employed by,
      2   among others, Defendants COSI and Bumble Bee at their principle places of
      3   business in San Diego, California.           Additionally, Defendants’ actions in
      4   furtherance of the alleged Packaged Tuna price-fixing conspiracy overwhelming
      5   occurred in California. Indeed, in allocutions made at the time they entered guilty
      6   pleas to criminal antitrust charges for engaging in conspiratorial conduct with other
      7   companies to fix the prices of PSPs in the United States, Bumble Bee executives
      8   Ken Worsham and Cameron quite candidly admitted that their wrongful and
      9   collusive actions in violation of the nation’s antitrust laws occurred largely, if not
     10   entirely, in California.17
     11          379. Because the conspiratorial conduct overwhelmingly took place in
     12   California, and the massive economic harm visited on consumers throughout the
     13   United States emanated from California through the conduct of predominantly
     14   California actors acting in California, therefore California has a superior interest in
     15   having its laws applied to all injured consumers which exceeds the interests of
     16   those states which while allowing recovery by their consumers have chosen a
     17   different or more limited procedural mechanism with respect to cases brought in
     18   their respective jurisdictions under their respective laws.
     19                                    CAUSES OF ACTION
     20                      VIOLATIONS OF STATE ANTITRUST LAW
     21          380. The following First through Twenty-Seventh Claims for Relief are
     22   pleaded under the antitrust laws of each State or jurisdiction identified below, on
     23   behalf of the indicated Class.
     24                                FIRST CLAIM FOR RELIEF
     25
     26   17
            See, e.g., Rprt’s Transc. Of Proceedings, January 25, 2017, U.S. v. Cameron,
     27   3:16-cr-00501-EMC, at pp.13-15; Rptr’s Transc. Of Proceedings, March 15, 2016,
          U.S. v. Worsham, 3:16-cr-00535-EMC, at page 13, lines 15-17.
     28

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     1                         Violation of Section 16720 of the
               California Business and Professions Code (“The Cartwright Act”)
     2
                                (By All Plaintiffs On Behalf of
     3                            The Cartwright Act Class)18
     4         381. Plaintiffs repeat and reassert each of the allegations contained in
     5   paragraphs 1 to 363 as if fully set forth herein.
     6         382. The violations of federal antitrust law set forth above also constitute
     7   violations of section 16720 of California Business and Professions Code.
     8         383. The states and jurisdictions included in the Cartwright Class (as
     9   defined in ¶ 94(a), supra) each allow indirect purchasers to recover on a similar
    10   theory applicable to the facts alleged in this Complaint, which overwhelmingly
    11   took place within the State of California.
    12         384. Because the conspiratorial conduct overwhelmingly took place in
    13   California, and the massive economic harm visited on consumers throughout the
    14   United States emanated from California through the conduct of predominantly
    15   California actors acting in California, therefore California has a superior interest in
    16   having its laws applied to all injured consumers which exceeds the interests of
    17   those states which while allowing recovery by their consumers have chosen a
    18   different or more limited procedural mechanism with respect to cases brought in
    19   their respective jurisdictions under their respective laws.
    20         385. During the Class Period, Defendants and their co-conspirators
    21   engaged in a continuing contract, combination or conspiracy in unreasonable
    22   restraint of trade and commerce and other anticompetitive conduct alleged above in
    23   violation of California Business and Professions Code section 16700, et seq.
    24         386. Defendants’ anticompetitive acts described above were knowing and
    25   willful and constitute violations or flagrant violations of California Business and
    26
    27
         18
           Plaintiffs reserve the right to seek amendment to apply the Cartwright Act to
         consumers in all US States and territories.
    28

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     1   Professions Code section 16700, et seq.
     2         387. As a direct and proximate result of Defendants’ unlawful conduct,
     3   Plaintiffs and members of the Cartwright Act Class have been injured in their
     4   business and property in that they paid more for Packaged Tuna than they
     5   otherwise would have paid in the absence of Defendants’ unlawful conduct. As a
     6   result of Defendants’ violation of section 16720 of California Business and
     7   Professions Code, Plaintiffs and members of the Cartwright Act Class seek treble
     8   damages and their cost of suit, including reasonable attorneys’ fees, pursuant to
     9   section 16750(a) of California Business and Professions Code.
    10                          SECOND CLAIM FOR RELIEF
    11                Violation of Arizona’s Uniform State Antitrust Act,
                                Ariz. Rev. Stat. § 44-1401, et seq.
    12
               (By Plaintiffs Ana Gabriela Felix Garcia, Tina Grant, Tya Hughes,
    13          John Pels, and Erica Rodriguez On Behalf of the Arizona Class)
    14         388. Plaintiffs Ana Gabriela Felix Garcia, Tina Grant, Tya Hughes, John
    15   Pels, and Erica Rodriguez, on behalf of themselves and the Arizona Class, repeat
    16   and reassert each of the allegations contained in paragraphs 1 to 363 as if fully set
    17   forth herein.
    18         389. By reason of the conduct alleged herein, Defendants have violated
    19   Arizona Rev. Stat. § 44-1401, et seq.
    20         390. Defendants entered into a contract, combination, or conspiracy
    21   between two or more persons in restraint of, or to monopolize, trade or commerce
    22   in the Packaged Tuna market, a substantial part of which occurred within Arizona.
    23         391. Defendant established, maintained, or used a monopoly, or attempted
    24   to establish a monopoly, of trade or commerce in the Relevant Markets, a
    25   substantial part of which occurred within Arizona, for the purpose of excluding
    26   competition or controlling, fixing, or maintaining prices in the Packaged Tuna
    27   Market.
    28         392. Defendants’ violations of Arizona law were flagrant.

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     1          393. Defendants’ unlawful conduct substantially affected Arizona’s trade
     2   and commerce.
     3          394. As a direct and proximate cause of Defendants’ unlawful conduct, the
     4   Plaintiffs and members of the Arizona Class have been injured in their business or
     5   property and are threatened with further injury.
     6          395. Defendants wrongfully concealed the facts alleged herein giving rise
     7   to their unlawful conduct preventing Arizona plaintiffs from reasonably
     8   discovering the claim during the limitations period. This cause of action did not
     9   accrue until July 23, 2015 when the plaintiffs knew or in the exercise of reasonable
    10   diligence should have known about the Defendants' unlawful conduct.
    11          396. By reason of the foregoing, Plaintiffs and members of the Arizona
    12   Class are entitled to seek all forms of relief available under Arizona Revised Stat. §
    13   44-1401, et seq.
    14                          THIRD CLAIM FOR RELIEF
                           Violation of California’s Cartwright Act,
    15                      Cal. Bus. & Prof. Code § 16700, et seq.
    16     (By Plaintiffs Mary Hudson, Tya Hughes, Amy Jackson, Michael Juetten,
               Rick Musgrave, and John Pels On Behalf of the California Class)
    17
                397. Plaintiffs Mary Hudson, Tya Hughes, Amy Jackson, Michael Juetten,
    18
         Rick Musgrave, and John Pels, for themselves and on behalf of the California
    19
         Class, repeat and reallege each of the allegations contained in paragraphs 1 to 363
    20
         as if fully set forth herein.
    21
                398. The California Business & Professions Code generally governs
    22
         conduct of corporate entities. The Cartwright Act, Cal. Bus. & Prof. Code §§
    23
         16700-16770, governs antitrust violations in California.
    24
                399. California policy is that “vigorous representation and protection of
    25
         consumer interests are essential to the fair and efficient functioning of a free
    26
         enterprise market economy,” including by fostering competition in the
    27
         marketplace. Cal. Bus. & Prof. Code § 301.
    28

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     1         400. Under the Cartwright Act, indirect purchasers have standing to
     2   maintain an action based on the facts alleged in this Complaint. Cal. Bus. & Prof.
     3   Code § 16750(a).
     4         401. A trust in California is any combination intended for various
     5   purposes, including but not limited to creating or carrying out restrictions in trade
     6   or commerce, limiting or reducing the production or increasing the price of
     7   merchandise, or preventing competition in the market for a commodity. Cal. Bus.
     8   & Prof. Code § 16720. Every trust in California is unlawful except as provided by
     9   the Code. Id. at § 16726.
    10         402. Plaintiffs Mary Hudson, Tya Hughes, Amy Jackson, Michael Juetten,
    11   John Pels, and Rick Musgrave purchased Packaged Tuna within the State of
    12   California during the Class Period. But for Defendants’ conduct set forth herein,
    13   the price per unit of Packaged Tuna would have been lower, in an amount to be
    14   determined at trial.
    15         403. Defendants enacted a combination of capital, skill or acts for the
    16   purpose of creating and carrying out restrictions in trade or commerce, in violation
    17   of Cal. Bus. & Prof. Code § 16700, et seq.
    18         404. Defendants wrongfully concealed the facts alleged herein giving rise
    19   to their unlawful conduct preventing California plaintiffs in the exercise of due
    20   diligence from uncovering the unlawful conduct.          The applicable statute of
    21   limitations is tolled until July 23, 2015 until the plaintiffs by the exercise of
    22   reasonable diligence should have discovered it.
    23         405. Plaintiffs and members of the Class were injured in their business or
    24   property, with respect to purchases of Packaged Tuna in California and are entitled
    25   to all forms of relief, including recovery of treble dages, interest, and injunctive
    26   relief, plus reasonable attorneys’ fees and costs.
    27                           FOURTH CLAIM FOR RELIEF
    28                  Violation of the District of Columbia Antitrust Act,


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     1                             D.C. Code § 28-4501, et seq.
                   (By Plaintiffs Ana Gabriela Felix Garcia, Kaitlyn Rooney,
     2
               and Andrew Gorman On Behalf of the District of Columbia Class)
     3
                406. Plaintiffs Ana Gabriela Felix Garcia, Kaitlyn Rooney, and Andrew
     4
         Gorman on behalf of themselves and on behalf of the District of Columbia Class,
     5
         repeat and reallege each of the allegations contained in paragraphs 1 to 363 as if
     6
         fully set forth herein.
     7
                407. The policy of District of Columbia Code, Title 28, Chapter 45
     8
         (Restraints of Trade) is to “promote the unhampered freedom of commerce and
     9
         industry throughout the District of Columbia by prohibiting restraints of trade and
    10
         monopolistic practices.”
    11
                408. Plaintiffs Ana Gabriela Felix Garcia, Kaitlyn Rooney, and Andrew
    12
         Gorman purchased Packaged Tuna within the District of Columbia during the
    13
         Class Period. But for Defendants’ conduct set forth herein, the price per unit of
    14
         Packaged Tuna would have been lower, in an amount to be determined at trial.
    15
                409. Under District of Columbia law, indirect purchasers have standing to
    16
         maintain an action under the antitrust provisions of the D.C. Code based on the
    17
         facts alleged in this Complaint, because “any indirect purchaser in the chain of
    18
         manufacture, production or distribution of goods…shall be deemed to be injured
    19
         within the meaning of this chapter.” D.C. Code 28-4509(a).
    20
                410. Defendants contracted, combined or conspired to act in restraint of
    21
         trade within the District of Columbia, and monopolized or attempted to
    22
         monopolize the market for Packaged Tuna within the District of Columbia, in
    23
         violation of D.C. Code § 28-4501, et seq.
    24
                411. Defendants wrongfully concealed the facts alleged herein giving rise
    25
         to the unlawful conduct by the affirmative actions described herein which were
    26
         designed to prevent the discovery of such unlawful conduct and the Plaintiffs in the
    27
         District of Columbia did not discover and could not discover the unlawful conduct
    28

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     1   prior to July 23, 2015.
     2         412. Plaintiff and members of the Class were injured with respect to
     3   purchases of Packaged Tuna in the District of Columbia and are entitled to all
     4   forms of relief, including actual damages, treble damages, and interest, reasonable
     5   attorneys’ fees and costs.
     6                            FIFTH CLAIM FOR RELIEF
     7                        Violation of the Guam Antitrust Law,
                              Guam Code Ann. tit. 9 § 69.10, et seq.
     8
                     (By Plaintiffs Amy Jackson and Joelyna A. San Agustin
     9                            On Behalf of the Guam Class)
    10         413. Plaintiffs Amy Jackson and Joelyna San Agustin, on behalf of
    11   themselves and the Guam Class, repeat and reassert each of the allegations
    12   contained in paragraphs 1 to 363 as if fully set forth herein.
    13         414. By reason of the conduct alleged herein, Defendants have violated
    14   Guam Code Ann. tit. 9 § 69.10, et seq.
    15         415. Plaintiffs Amy Jackson and Joelyna San Agustin purchased Packaged
    16   Tuna within the Territory of Guam during the Class Period. But for Defendants’
    17   conduct set forth herein, the price per unit of Packaged Tuna would have been
    18   lower, in an amount to be determined at trial.
    19         416. Defendants entered into a contract, combination, or conspiracy
    20   between two or more persons in restraint of, or to monopolize, trade or commerce
    21   in the Packaged Tuna market, a substantial part of which occurred within Guam.
    22         417. Defendant established, maintained, or used a monopoly, or attempted
    23   to establish a monopoly, of trade or commerce in the Relevant Markets, a
    24   substantial part of which occurred within Guam, for the purpose of excluding
    25   competition or controlling, fixing, or maintaining prices in the Packaged Tuna
    26   Market.
    27         418. Defendants’ conduct was an unfair method of competition, and an
    28   unfair or deceptive act or practice within the conduct of commerce within the

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     1   Territory of Guam.
     2          419. Defendants’ unlawful conduct substantially affected Guam’s trade and
     3   commerce.
     4          420. As a direct and proximate cause of Defendants’ unlawful conduct, the
     5   Plaintiffs and the members of the Guam Class have been injured in their business
     6   or property and are threatened with further injury.
     7          421. Defendants wrongfully concealed the facts alleged herein giving rise
     8   to the unlawful conduct. Having acted in secret, the statute of limitation for the
     9   Guam Plaintiffs’ claim did not begin running until July 23, 2015, when the
    10   Plaintiffs acting reasonably could have discovered Defendants’ unlawful conduct.
    11   Plaintiffs could not and should not have suspected Defendants’ wrongful conduct
    12   until July 23, 2015.
    13          422. By reason of the foregoing, the Plaintiffs and members of the Guam
    14   Class is entitled to seek all forms of relief, including treble damages and
    15   reasonable attorney’s fees and costs under Guam.
    16                             SIXTH CLAIM FOR RELIEF
    17                       Violation of the Hawaii Antitrust Statute,
                                   Haw. Rev. Stat. § 480-1, et seq.
    18               (By Plaintiff Gloria Emery on Behalf of the Hawaii Class)
    19          423. Plaintiff Gloria Emery, for herself and on behalf of the Hawaii Class,
    20   repeats and realleges each of the allegations contained in paragraphs 1 to 363 as if
    21   fully set forth herein.
    22          424. The Hawaii Antitrust Act prohibits “every contract, combination in
    23   the form of trust or otherwise, or conspiracy, in restraint of trade or commerce in
    24   the State,” including acts to (i) “fix, control, or maintain, the price of any
    25   commodity;” (ii) “limit, control, or discontinue, the production, manufacture, or
    26   sale of any commodity for the purpose or with the result of fixing, controlling or
    27   maintaining its price”; and (iii) “fix, control, or maintain, any standard of quality of
    28   any commodity for the purpose or with the result of fixing, controlling, or

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     1   maintaining its price.” Haw. Rev. Stat. § 480-4(a) and 4(b).
     2         425. Plaintiff Gloria Emery purchased Packaged Tuna within the State of
     3   Hawaii during the Class Period. But for Defendants’ conduct set forth herein, the
     4   price per unit of Packaged Tuna would have been lower, in an amount to be
     5   determined at trial.
     6         426. Defendants contracted, combined, or conspired to restrain the trade or
     7   commerce in the market for Packaged Tuna and their conduct substantially
     8   affected Hawaii commerce, in violation of Haw. Rev. Stat. §§ 480-1, et seq.
     9         427. Plaintiff and members of the Class were injured with respect to
    10   purchases of Packaged Tuna in that at least thousands of sales of Defendants’
    11   Packaged Tuna took place in Hawaii, purchased by Hawaii consumers at supra-
    12   competitive prices caused by Defendants’ conduct.
    13         428. Under Hawaii law, an indirect purchaser may bring an action under
    14   the Hawaii Antitrust Act based on the facts alleged in this Complaint.19
    15         429. Defendants’ continued violations of the law comprise a repeated
    16   pattern and course of conduct that provide an exception to the applicable statute of
    17   limitations. Defendants also affirmatively misled Plaintiff and members of the
    18   Hawaii class by wrongfully concealing the facts alleged herein giving rise to the
    19   unlawful conduct. Plaintiff had neither actual nor constructive knowledge of the
    20   facts giving rise to her claims until July 23, 2015, and exercised due diligence in
    21   attempting to discover such facts.
    22         430. By reason of the foregoing, Plaintiff and members of the Hawaii Class
    23   are entitled to all forms of relief available under Haw. Rev. Stat. §§ 480, et seq.,
    24   including treble damages, costs and disbursements, reasonable attorneys’ fees, and
    25   injunctive relief necessary to prevent and restrain violations thereof.
    26
    27   19
           In compliance with Haw. Rev. Stat. § 480-13.3, Plaintiff has contemporaneously
    28   served a copy of this Complaint on the Hawaii Attorney General.


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     1         431. Concurrent with the filing of this complaint, Plaintiff and her counsel
     2   have served required materials upon the Hawaii Attorney General pursuant to
     3   Haw. Rev. Stat. § 480-13.3.
     4                          SEVENTH CLAIM FOR RELIEF
     5                        Violation of the Illinois Antitrust Act,
                             740 Ill. Comp. Stat. Ann. 10/3(1), et seq.
     6
             (By Plaintiffs Sally Bredberg, Elizabeth Davis-Berg, and Amy Joseph)
     7
               432. Plaintiffs Sally Bredberg, Elizabeth Davis-Berg, and Amy Joseph
     8
         repeat each of the allegations contained in paragraphs 1 to 363 as if fully set forth
     9
         herein.
    10
               433. The Illinois Antitrust Act, 740 ILCS 10/1, et seq., aims “to promote
    11
         the unhampered growth of commerce and industry throughout the State by
    12
         prohibiting restraints of trade which are secured through monopolistic or oligarchic
    13
         practices and which act or tend to act to decrease competition between and among
    14
         persons engaged in commerce and trade . . . .” 740 Ill. Comp. Stat. 10/2.
    15
               434. Plaintiffs Sally Bredberg and Elizabeth Davis-Berg, and Amy Joseph
    16
         purchased Packaged Tuna within the State of Illinois during the Class Period. But
    17
         for Defendants’ conduct set forth herein, the price per unit of Packaged Tuna
    18
         would have been lower, in an amount to be determined at trial.
    19
               435. Under the Illinois Antitrust Act, indirect purchasers have standing to
    20
         maintain an action for damages based on the facts alleged in this Complaint. 740
    21
         Ill. Comp. Stat. 10/7(2).
    22
               436. Defendants made contracts or engaged in a combination or conspiracy
    23
         with each other, though they would have been competitors but for their prior
    24
         agreement, for the purpose of fixing, controlling or maintaining prices for
    25
         Packaged Tuna sold, and/or for allocating customers or markets for Packaged Tuna
    26
         within the intrastate commerce of Illinois.
    27
               437. Defendants further unreasonably restrained trade or commerce and
    28

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     1   established, maintained or attempted to acquire monopoly power over the market
     2   for Packaged Tuna in Illinois for the purpose of excluding competition, in violation
     3   of 740 Ill. Comp. Stat. 10/1, et seq.
     4         438. Defendants wrongfully concealed the facts alleged herein giving rise
     5   to the unlawful conduct by the affirmative acts described herein with the intent to
     6   deceive the Plaintiffs. Plaintiffs did not know and could not have known about
     7   Defendants' unlawful conduct until July 23, 2015.
     8         439. Plaintiffs were injured with respect to purchases of Packaged Tuna in
     9   Illinois and are entitled to all forms of relief, including actual damages, treble
    10   damages, reasonable attorneys’ fees and costs.
    11                           EIGHTH CLAIM FOR RELIEF
    12                        Violation of the Iowa Competition Law
                                      Iowa Code § 553.1, et seq.
    13
                         (By Plaintiffs Carla Lown and Jennifer A. Nelson
    14                             On Behalf of the Iowa Class)
    15         440. Plaintiffs Carla Lown and Jennifer A. Nelson, on behalf of themselves
    16   and the Iowa Class, repeat and reassert each of the allegations contained in
    17   paragraphs 1 to 363 as if fully set forth herein.
    18         441. The Iowa Competition Law aims to “prohibit[] restraint of economic
    19   activity and monopolistic practices.” Iowa Code § 553.2.
    20         442. Plaintiffs Carla Lown and Jennifer A. Nelson purchased Packaged
    21   Tuna within the State of Iowa during the Class Period. But for Defendants’
    22   conduct set forth herein, the price per unit of Packaged Tuna would have been
    23   lower, in an amount to be determined at trial.
    24         443. Defendants contracted, combined or conspired to restrain or
    25   monopolize trade in the market for Packaged Tuna, and attempted to establish or
    26   did in fact establish a monopoly for the purpose of excluding competition or
    27   controlling, fixing or maintaining prices for Packaged Tuna, in violation of Iowa
    28   Code § 553.1, et seq.

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     1         444. Defendants wrongfully concealed the facts alleged herein giving rise
     2   to the unlawful conduct.       Defendants’ unlawful conduct was not reasonably
     3   discovered until July 23, 2015.
     4         445. Plaintiffs and members of the Iowa Class were injured with respect to
     5   purchases of Packaged Tuna in Iowa, and are entitled to all forms of relief,
     6   including actual damages, exemplary damages for willful conduct, reasonable
     7   attorneys’ fees and costs, and injunctive relief.
     8
     9                            NINTH CLAIM FOR RELIEF
                          Violation of the Kansas Restraint of Trade Act
    10
                                  Kan. Stat. Ann. § 50-101, et seq.
    11                   (By Plaintiffs Brian Depperschmidt and Lisa Hall
    12                            On Behalf of the Kansas Class)
    13         446. Plaintiffs Brian Depperschmidt and Lisa Hall, on behalf of themselves
    14   and the Kansas Class, repeat and reassert each of the allegations contained in
    15   paragraphs 1 to 363 as if fully set forth herein.
    16         447. The Kansas Restraint of Trade Act aims to prohibit practices which,
    17   inter alia, “tend to prevent full and free competition in the importation,
    18   transportation or sale of articles imported into this state.” Kan. Stat. Ann. § 50-112.
    19         448. Plaintiffs Brian Depperschmidt and Lisa Hall purchased Packaged
    20   Tuna within the State of Kansas during the Class Period. But for Defendants’
    21   conduct set forth herein, the price per unit of Packaged Tuna would have been
    22   lower, in an amount to be determined at trial.
    23         449. Under the Kansas Restraint of Trade Act, indirect purchasers have
    24   standing to maintain an action based on the facts alleged in this Complaint. Kan.
    25   Stat. Ann § 50-161(b).
    26         450. Defendants combined capital, skill or acts for the purposes of creating
    27   restrictions in trade or commerce of Packaged Tuna, increasing the price of
    28   Packaged Tuna, preventing competition in the sale of Packaged Tuna, or binding

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     1   themselves not to sell Packaged Tuna, in a manner that established the price of
     2   Packaged Tuna and precluded free and unrestricted competition among themselves
     3   in the sale of Packaged Tuna, in violation of Kan. Stat. Ann. § 50-101, et seq.
     4             451. Plaintiffs and members of the Class were injured with respect to
     5   purchases of Packaged Tuna in Kansas and are entitled to all forms of relief,
     6   including actual damages, reasonable attorneys’ fees and costs, and injunctive
     7   relief.
     8                               TENTH CLAIM FOR RELIEF
     9                         Violation of the Maine’s Antitrust Statute,
                                Me. Rev. Stat. Ann. tit. 10 § 1101, et seq.
    10
                       (By Plaintiffs Greg Stearns and Thomas E. Willoughby III
    11                                On Behalf of the Maine Class)
    12             452. Plaintiffs Greg Stearns and Thomas E. Willoughby III, on behalf of
    13   themselves and the Maine Class, repeat and reassert each of the allegations
    14   contained in paragraphs 1 to 363 as if fully set forth herein.
    15             453. Part 3 of Title 10 the Maine Revised Statutes generally governs
    16   regulation of trade in Maine. Chapter 201 thereof governs monopolies and
    17   profiteering, generally prohibiting contracts in restraint of trade and conspiracies to
    18   monopolize trade. Me. Rev. Stat. Ann. Tit. 10, §§ 1101-02.
    19             454. Plaintiffs Greg Stearns and Thomas E. Willoughby III purchased
    20   Packaged Tuna within the State of Maine during the Class Period. But for
    21   Defendants’ conduct set forth herein, the price per unit of Packaged Tuna would
    22   have been lower, in an amount to be determined at trial.
    23             455. Under Maine law, indirect purchasers have standing to maintain an
    24   action based on the facts alleged in this Complaint. Me. Rev. Stat. Ann. Tit. 10, §
    25   1104(1).
    26             456. Defendants contracted, combined or conspired in restraint of trade or
    27   commerce of Packaged Tuna within the intrastate commerce of Maine, and
    28   monopolized or attempted to monopolize the trade or commerce of Packaged Tuna

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     1   within the intrastate commerce of Maine, in violation of Me. Rev. Stat. Ann. Tit.
     2   10, § 1101, et seq.
     3         457. Plaintiffs and members of the Class were injured with respect to
     4   purchases of Packaged Tuna in Maine and are entitled to all forms of relief,
     5   including actual damages, treble damages, reasonable attorneys’ and experts’ fees
     6   and costs.
     7
     8                         ELEVENTH CLAIM FOR RELIEF
                        Violation of the Michigan Antitrust Reform Act
     9
                               Mich. Comp. Laws § 445.771, et seq.
    10          (By Plaintiffs Louise Adams, Jessica Decker, and Barbara Olson
    11                          On Behalf of the Michigan Class)
    12         458. Plaintiffs Louise Adams, Jessica Decker, and Barbara Olson, on
    13   behalf of themselves and the Michigan Class, repeat and reassert each of the
    14   allegations contained in paragraphs 1 to 363 as if fully set forth herein.
    15         459. The Michigan Antitrust Reform Act aims “to prohibit contracts,
    16   combinations, and conspiracies in restraint of trade or commerce…to prohibit
    17   monopolies and attempts to monopolize trade or commerce…[and] to provide
    18   remedies, fines, and penalties for violations of this act.” Mich. Act 274 of 1984.
    19         460. Plaintiffs Louise Adams, Jessica Decker, and Barbara Olson
    20   purchased Packaged Tuna within the State of Michigan during the Class Period.
    21   But for Defendants’ conduct set forth herein, the price per unit of Packaged Tuna
    22   would have been lower, in an amount to be determined at trial.
    23         461. Under the Michigan Antitrust Reform Act, indirect purchasers have
    24   standing to maintain an action based on the facts alleged in this Complaint. Mich.
    25   Comp. Laws. § 452.778(2).
    26         462. Defendants contracted, combined or conspired to restrain or
    27   monopolize trade or commerce in the market for Packaged Tuna, in violation of
    28   Mich. Comp. Laws § 445.772, et seq.

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     1         463. Defendants wrongfully concealed the facts alleged herein giving rise
     2   to the unlawful conduct and through their affirmative arrangements and
     3   contrivances preventing discovery of such unlawful conduct until July 23, 2015.
     4         464. Plaintiffs and members of the Class were injured with respect to
     5   purchases of Packaged Tuna in Michigan and are entitled to all forms of relief,
     6   including actual damages, treble damages for flagrant violations, interest, costs,
     7   reasonable attorneys’ fees, and injunctive or other appropriate equitable relief.
     8                        TWELFTH CLAIM FOR RELIEF
     9                     Violation of the Minnesota Antitrust Law,
                                  Minn. Stat. § 325D.49, et seq.
    10
         (By Plaintiffs Laura Childs and Katherine Larson On Behalf of the Minnesota
    11                                       Class)
    12
               465. Plaintiffs Laura Childs and Katherine Larson, on behalf of themselves
    13
         and the Minnesota Class, repeat and reassert each of the allegations contained in
    14
         paragraphs 1 to 363 as if fully set forth herein.
    15
               466. The Minnesota Antitrust Law of 1971 aims to prohibit any contract,
    16
         combination or conspiracy when any part thereof was created, formed, or entered
    17
         into in Minnesota; any contract, combination or conspiracy, wherever created,
    18
         formed or entered into; any establishment, maintenance or use of monopoly power;
    19
         and any attempt to establish, maintain or use monopoly power, whenever any of
    20
         these affect Minnesota trade or commerce.
    21
               467. Plaintiffs Laura Childs and Katherine Larson purchased Packaged
    22
         Tuna within the State of Minnesota during the Class Period. But for Defendants’
    23
         conduct set forth herein, the price per unit of Packaged Tuna would have been
    24
         lower, in an amount to be determined at trial.
    25
               468. Under the Minnesota Antitrust Act of 1971, indirect purchasers have
    26
         standing to maintain an action based on the facts alleged in this Complaint. Minn.
    27
         Stat. § 325D.56.
    28

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     1          469. Defendants contracted, combined or conspired in unreasonable
     2   restraint of trade or commerce in the market for Packaged Tuna within the
     3   intrastate commerce of and outside of Minnesota; established, maintained, used or
     4   attempted to establish, maintain or use monopoly power over the trade or
     5   commerce in the market for Packaged Tuna within the intrastate commerce of and
     6   outside of Minnesota; and fixed prices and allocated markets for Packaged Tuna
     7   within the intrastate commerce of and outside of Minnesota, in violation of Minn.
     8   Stat. § 325D.49, et seq.
     9          470. Defendants wrongfully concealed the facts alleged herein giving rise
    10   to the unlawful conduct through the fraudulent and intentional acts described
    11   herein and Minnesota Plaintiffs could not have reasonable discovered the
    12   concealment of Defendants' unlawful conduct until July 23, 2015.
    13          471. Plaintiffs and members of the Class were injured with respect to
    14   purchases of Packaged Tuna in Minnesota and are entitled to all forms of relief,
    15   including actual damages, treble damages, costs and disbursements, reasonable
    16   attorneys’ fees, and injunctive relief necessary to prevent and restrain violations
    17   hereof.
    18                       THIRTEENTH CLAIM FOR RELIEF
    19                    Violation of the Mississippi Antitrust Statute,
                                Miss. Code Ann. § 75-21-1, et seq.
    20
               (By Plaintiff Christopher Todd On Behalf of the Mississippi Class)
    21
                472. Plaintiff Christopher Todd, on behalf of himself and the Mississippi
    22
         Class, repeats and reasserts each of the allegations contained in paragraphs 1 to
    23
         363 as if fully set forth herein.
    24
                473. Title 75 of the Mississippi Code regulates trade, commerce and
    25
         investments. Chapter 21 thereof generally prohibits trusts and combines in restraint
    26
         or hindrance of trade, with the aim that “trusts and combines may be suppressed,
    27
         and the benefits arising from competition in business [are] preserved” to
    28

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     1   Mississippians. Miss. Code Ann. § 75-21-39.
     2          474. Trusts are combinations, contracts, understandings or agreements,
     3   express or implied, when inimical to the public welfare and with the effect of, inter
     4   alia, restraining trade, increasing the price or output of a commodity, or hindering
     5   competition in the production or sale of a commodity. Miss. Code Ann. § 75-21-1.
     6          475. Plaintiff Christopher Todd purchased Packaged Tuna within the State
     7   of Mississippi during the Class Period. But for Defendants’ conduct set forth
     8   herein, the price per unit of Packaged Tuna would have been lower, in an amount
     9   to be determined at trial.
    10          476. Under Mississippi law, indirect purchasers have standing to maintain
    11   an action under the antitrust provisions of the Mississippi Code based on the facts
    12   alleged in this Complaint. Miss. Code Ann. § 75-21-9.
    13          477. Defendants combined, contracted, understood and agreed in the
    14   market for Packaged Tuna, in a manner inimical to public welfare, with the effect
    15   of restraining trade, increasing the price of Packaged Tuna and hindering
    16   competition in the sale of Packaged Tuna, in violation of Miss. Code Ann. § 75-21-
    17   1(a), et seq.
    18          478. Defendants monopolized or attempted to monopolize the production,
    19   control or sale of Packaged Tuna, in violation of Miss. Code Ann. § 75-21-3, et
    20   seq.
    21          479. Defendants’ Packaged Tuna products are sold in hundreds of grocery
    22   stores, markets, and warehouse clubs throughout the State of Mississippi. During
    23   the Class Period, Defendants’ illegal conduct substantially affected Mississippi
    24   commerce.
    25          480. Defendants wrongfully concealed the facts alleged herein giving rise
    26   to their unlawful conduct. As alleged herein, the Defendants actively concealed
    27   their unlawful conduct which prevented Mississippi Plaintiffs from reasonably
    28   discovering the claim during the limitations period. This cause of action did not

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     1   accrue until July 23, 2015 when the Plaintiffs knew, or in the exercise of
     2   reasonable diligence, should have known about the Defendants' unlawful conduct.
     3         481. Plaintiff and members of the Class were injured with respect to
     4   purchases of Packaged Tuna in Mississippi and are entitled to all forms of relief,
     5   including actual damages and a penalty of $500 per instance of injury.
     6                      FOURTEENTH CLAIM FOR RELIEF
     7                       Violation of the Nebraska Junkin Act,
                                 Neb. Rev. Stat. § 59-801, et seq.,
     8
            (By Plaintiffs Melissa Bowman and Barbara Buenning On Behalf of the
     9                                  Nebraska Class)
    10
               482. Plaintiff Melissa Bowman and Barbara Buenning, on behalf of
    11
         themselves and the Nebraska Class, repeat and reassert each of the allegations
    12
         contained in paragraphs 1 to 363 as if fully set forth herein.
    13
               483. Chapter 59 of the Nebraska Revised Statute generally governs
    14
         business and trade practices. Sections 801 through 831 thereof, known as the
    15
         Junkin Act, prohibit antitrust violations such as restraints of trade and
    16
         monopolization.
    17
               484. Plaintiffs Melissa Bowman and Barbara Buenning purchased
    18
         Packaged Tuna within the State of Nebraska during the Class Period. But for
    19
         Defendants’ conduct set forth herein, the price per unit of Packaged Tuna would
    20
         have been lower, in an amount to be determined at trial.
    21
               485. Under Nebraska law, indirect purchasers have standing to maintain an
    22
         action under the Junkin Act based on the facts alleged in this Complaint. Neb. Rev.
    23
         Stat. § 59-821.
    24
               486. Defendants contracted, combined or conspired in restraint of trade or
    25
         commerce of Packaged Tuna within the intrastate commerce of Nebraska, and
    26
         monopolized or attempted to monopolize the market for Packaged Tuna within the
    27
         intrastate commerce of Nebraska by possessing monopoly power in the market and
    28

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     1   willfully maintaining that power through agreements to fix prices, allocate markets
     2   and otherwise control trade, in violation of Neb. Rev. Stat. § 59-801, et seq.
     3         487. Defendants wrongfully concealed the facts alleged herein giving rise
     4   to their unlawful conduct.       As alleged herein, the Defendants affirmatively
     5   concealed their unlawful conduct which prevented Nebraska Plaintiffs from
     6   reasonably discovering the claim before the statute of limitations expired. As a
     7   result, Defendants” unlawful conduct was neither obvious nor discoverable during
     8   the limitations period. This cause of action did not accrue until July 23, 2015 when
     9   the Plaintiffs knew, or in the exercise of reasonable diligence, should have known
    10   about the Defendants’ unlawful conduct.
    11         488. Plaintiff and members of the Class were injured with respect to
    12   purchases of Packaged Tuna in Nebraska and are entitled to all forms of relief,
    13   including actual damages or liquidated damages in an amount which bears a
    14   reasonable relation to the actual damages which have been sustained, as well as
    15   reasonable attorneys’ fees, costs, and injunctive relief.
    16                         FIFTEENTH CLAIM FOR RELIEF
    17                 Violation of the Nevada Unfair Trade Practices Act,
                                Nev. Rev. Stat. § 598A.010, et seq.
    18
                           (By Plaintiffs Nay Alidad and Nancy Stiller
    19                           On Behalf of the Nevada Class)
    20
               489. Plaintiffs Nay Alidad and Nancy Stiller, on behalf of themselves and
    21
         the Nevada Class, repeat and reassert each of the allegations contained in
    22
         paragraphs 1 to 363 as if fully set forth herein.
    23
               490. The Nevada Unfair Trade Practice Act (“NUTPA”) states that “free,
    24
         open and competitive production and sale of commodities…is necessary to the
    25
         economic well-being of the citizens of the State of Nevada.” Nev. Rev. Stat. Ann.
    26
         § 598A.030(1).
    27
               491. The policy of NUTPA is to prohibit acts in restraint of trade or
    28

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     1   commerce, to preserve and protect the free, open and competitive market, and to
     2   penalize all persons engaged in anticompetitive practices. Nev. Rev. Stat. Ann. §
     3   598A.030(2). Such acts include, inter alia, price fixing, division of markets,
     4   allocation of customers, and monopolization of trade. Nev. Rev. Stat. Ann. §
     5   598A.060.
     6         492. Plaintiffs Nay Alidad and Nancy Stiller purchased Packaged Tuna
     7   within the State of Nevada during the Class Period. But for Defendants’ conduct
     8   set forth herein, the price per unit of Packaged Tuna would have been lower, in an
     9   amount to be determined at trial.
    10         493. Under Nevada law, indirect purchasers have standing to maintain an
    11   action under NUTPA based on the facts alleged in this Complaint. Nev. Rev. Stat.
    12   Ann. §598A.210(2).
    13         494. Defendants fixed prices by agreeing to establish prices for Packaged
    14   Tuna in Nevada, divided Nevada markets, allocated Nevada customers, and
    15   monopolized or attempted monopolize trade or commerce of Packaged Tuna
    16   within the intrastate commerce of Nevada, constituting a contract, combination or
    17   conspiracy in restraint of trade in violation of Nev. Rev. Stat. Ann. § 598A, et seq.
    18         495.   Plaintiffs and members of the Class were injured with respect to
    19   purchases of Packaged Tuna in Nevada in that at least thousands of sales of
    20   Defendants’ Packaged Tuna took place in Nevada, purchased by Nevada
    21   consumers at supra-competitive prices caused by Defendants’ conduct.
    22         496. Defendants wrongfully concealed the facts alleged herein giving rise
    23   to their unlawful conduct. Until July 23, 2015, the Nevada Plaintiffs did not
    24   discover and could not have discovered by the exercise of reasonable diligence
    25   Defendants’ unlawful conduct.       Accordingly, Plaintiffs and members of the
    26   Nevada Class are entitled to all forms of relief, including actual damages, treble
    27   damages, reasonable attorneys’ fees, costs, and injunctive relief.
    28         497. In accordance with the requirements of § 598A.210(3), simultaneous

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     1   notice of this action was mailed to the Nevada Attorney General by Plaintiffs Nay
     2   Alidad and Nancy Stiller.
     3                        SIXTEENTH CLAIM FOR RELIEF
     4                  Violation of New Hampshire’s Antitrust Statute,
                           N.H. Rev. Stat. Ann. tit. XXXI, § 356, et seq.
     5
                      (By Plaintiffs Jessica Bartling, Jody Cooper, and Rob Skaff,
     6                          On Behalf of the New Hampshire Class)
     7
               498. Plaintiffs Jessica Bartling, Jody Cooper, and Rob Skaff, on behalf of
     8
         themselves and the New Hampshire Class, repeats and reasserts each of the
     9
         allegations contained in paragraphs 1 to 363 as if fully set forth herein
    10
               499. Title XXXI of the New Hampshire Statutes generally governs trade
    11
         and commerce. Chapter 356 thereof governs combinations and monopolies and
    12
         prohibits restraints of trade. N.H. Rev. Stat. Ann. §§ 356:2, 3.
    13
               500. Plaintiffs Jessica Bartling, Jody Cooper, and Rob Skaff purchased
    14
         Packaged Tuna within the State of New Hampshire during the Class Period. But
    15
         for Defendants’ conduct set forth herein, the price per unit of Packaged Tuna
    16
         would have been lower, in an amount to be determined at trial.
    17
               501. Under New Hampshire law, indirect purchasers have standing to
    18
         maintain an action based on the facts alleged in this Complaint. N.H. Rev. Stat.
    19
         Ann. § 356:11(II).
    20
               502. Defendants fixed, controlled or maintained prices for Packaged Tuna,
    21
         allocated customers or markets for Packaged Tuna, and established, maintained or
    22
         used monopoly power, or attempted to, constituting a contract, combination or
    23
         conspiracy in restraint of trade in violation of N.H. Rev. Stat. Ann. § 356:1, et seq.
    24
               503. Defendants fraudulently concealed the essential facts alleged here
    25
         giving rise to their unlawful conduct.       Until July 23, 2015, New Hampshire
    26
         Plaintiffs did not discover and could not have discovered in the exercise of
    27
         reasonable diligence either Defendants' unlawful conduct or the facts giving rise to
    28

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     1   such conduct.
     2          504. Plaintiffs and members of the Class were injured with respect to
     3   purchases of Packaged Tuna in New Hampshire and are entitled to all forms of
     4   relief, including actual damages sustained, treble damages for willful or flagrant
     5   violations, reasonable attorneys’ fees, costs, and injunctive relief.
     6                      SEVENTEENTH CLAIM FOR RELIEF
     7                     Violation of the New Mexico Antitrust Act,
                                N.M. Stat. Ann. §§ 57-1-1, et seq.
     8
          (By Plaintiffs Kathy Gore and Laura Montoya On Behalf of the New Mexico
     9                                        Class)
    10          505. Plaintiffs Kathy Gore and Laura Montoya, on behalf of themselves
    11   and the New Mexico Class, repeat and reassert each of the allegations contained in
    12   paragraphs 1 to 363 as if fully set forth herein.
    13          506. The New Mexico Antitrust Act aims to prohibit restraints of trade and
    14   monopolistic practices. N.M. Stat. Ann. 57-1-15.
    15          507. Plaintiffs Kathy Gore and Laura Montoya purchased Packaged Tuna
    16   within the State of New Mexico during the Class Period. But for Defendants’
    17   conduct set forth herein, the price per unit of Packaged Tuna would have been
    18   lower, in an amount to be determined at trial.
    19          508. Under New Mexico law, indirect purchasers have standing to maintain
    20   an action based on the facts alleged in this Complaint. N.M. Stat. Ann. § 57-1-3.
    21          509. Defendants      contracted,    agreed,   combined     or    conspired,   and
    22   monopolized or attempted to monopolize trade for Packaged Tuna within the
    23   intrastate commerce of New Mexico, in violation of N.M. Stat. Ann. § 57-1-1, et
    24   seq.
    25          510. Defendants knew that their conduct was unlawful and wrongfully
    26   concealed the facts alleged here giving rise to their unlawful conduct. Until July
    27   23, 2015, New Mexico Plaintiffs did not know and could not have known in the
    28   exercise of reasonable diligence either Defendants’ unlawful conduct or the facts

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     1   giving rise to such conduct.
     2          511. Plaintiffs and members of the Class were injured with respect to
     3   purchases of Packaged Tuna in New Mexico and are entitled to all forms of relief,
     4   including actual damages, treble damages, reasonable attorneys’ fees, costs, and
     5   injunctive relief.
     6                          EIGHTEENTH CLAIM FOR RELIEF
     7             Violation of Section 340 of the New York General Business Law
                         (By Plaintiffs Michael Buff, Jennifer A. Nelson, and
     8
                           Nigel Warren On Behalf of the New York Class)
     9
                512. Plaintiffs Michael Buff, Jennifer A. Nelson, and Nigel Warren, on
    10
         behalf of themselves and the New York Class, repeat and reassert each of the
    11
         allegations contained in paragraphs 1 to 363 as if fully set forth herein
    12
                513. Article 22 of the New York General Business Law general prohibits
    13
         monopolies and contracts or agreements in restraint of trade, with the policy of
    14
         encouraging competition or the free exercise of any activity in the conduct of any
    15
         business, trade or commerce in New York. N.Y. Gen. Bus. Law § 340(1).
    16
                514. Plaintiffs Michael Buff, Jennifer A. Nelson, and Nigel Warren
    17
         purchased Packaged Tuna within the State of New York during the Class Period.
    18
         But for Defendants’ conduct set forth herein, the price per unit of Packaged Tuna
    19
         would have been lower, in an amount to be determined at trial.
    20
                515. Under New York law, indirect purchasers have standing to maintain
    21
         an action based on the facts alleged in this Complaint. N.Y. Gen. Bus. Law §
    22
         340(6).
    23
                516. Defendants established or maintained a monopoly within the intrastate
    24
         commerce of New York for the trade or commerce of Packaged Tuna and
    25
         restrained competition in the free exercise of the conduct of the business of
    26
         Packaged Tuna within the intrastate commerce of New York, in violation of N.Y.
    27
         Gen. Bus. Law § 340, et seq.
    28

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     1         517. Defendants wrongfully concealed the facts alleged here giving rise to
     2   their unlawful conduct and the New York Plaintiffs remained ignorant of such
     3   unlawful conduct until July 23, 2015.         Until July 23, 2015, the New York
     4   Plaintiffs did not know, and could not have known, in the exercise of reasonable
     5   diligence about Defendants’ wrongful conduct.
     6         518. Plaintiffs and members of the Class were injured with respect to
     7   purchases of Packaged Tuna in New York and are entitled to all forms of relief,
     8   including actual damages, treble damages, costs not exceeding $10,000, and
     9   reasonable attorneys’ fees.
    10                        NINETEENTH CLAIM FOR RELIEF
    11                 Violation of the North Carolina General Statutes,
                                  N.C. Gen. Stat. § 75-1, et seq.
    12
                (By Plaintiffs Corey Norris, Audra Rickman, and Amber Sartori
    13                       On Behalf of the North Carolina Class)
    14         519. Plaintiffs Corey Norris, Audra Rickman, and Amber Sartori, on behalf
    15   of themselves and the North Carolina Class, repeat and reassert each of the
    16   allegations contained in paragraphs 1 to 363 as if fully set forth herein.
    17         520. Defendants entered into a contract or combination in the form of trust
    18   or otherwise, or conspiracy in restraint of trade or commerce in the Packaged Tuna
    19   Market, a substantial part of which occurred within North Carolina.
    20         521. Defendants established, maintained, or used a monopoly, or attempted
    21   to establish a monopoly, of trade or commerce in the Packaged Tuna Market, for
    22   the purpose of affecting competition or controlling, fixing, or maintaining prices, a
    23   substantial part of which occurred within North Carolina.
    24         522. Defendants’ unlawful conduct substantially affected North Carolina’s
    25   trade and commerce.
    26         523. As a direct and proximate cause of Defendants’ unlawful conduct,
    27   Plaintiffs and the members of the North Carolina Class have been injured in their
    28   business or property and are threatened with further injury.

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     1         524. Defendants wrongfully concealed the facts alleged herein giving rise
     2   to their unlawful conduct. Until July 23, 2015, the North Carolina Plaintiffs did
     3   not know and could not have learned or discovered by the exercise of due care
     4   about Defendants’ unlawful conduct.
     5         525. By reason of the foregoing, Plaintiffs and members of the North
     6   Carolina Class are entitled to seek all forms of relief available, including treble
     7   damages, under N.C. Gen. Stat. § 75-1, et seq.
     8                        TWENTIETH CLAIM FOR RELIEF
     9             Violation of the North Dakota Uniform State Antitrust Act,
                                 N.D. Cent. Code § 51-08.1, et seq.
    10
                      (By Plaintiffs Tya Hughes and Bonnie Vander Laan
    11                        On Behalf of the North Dakota Class)
    12         526. Plaintiffs Tya Hughes and Bonnie Vander Laan, on behalf of
    13   themselves and the North Dakota Class, repeat and reassert each of the allegations
    14   contained in paragraphs 1 to 363 as if fully set forth herein.
    15         527. The North Dakota Uniform State Antitrust Act generally prohibits
    16   restraints on or monopolization of trade. N.D. Cent. Code § 51-08.1, et seq.
    17         528. Plaintiffs Tya Hughes and Bonnie Vander Laan purchased Packaged
    18   Tuna within the State of North Dakota during the Class Period. But for
    19   Defendants’ conduct set forth herein, the price per unit of Packaged Tuna would
    20   have been lower, in an amount to be determined at trial.
    21         529. Under the North Dakota Uniform State Antitrust Act, indirect
    22   purchasers have standing to maintain an action based on the facts alleged in this
    23   Complaint. N.D. Cent. Code § 51-08.1-08.
    24         530. Defendants contracted, combined or conspired in restraint of, or to
    25   monopolize trade or commerce in the market for Packaged Tuna, and established,
    26   maintained, or used a monopoly, or attempted to do so, for the purposes of
    27   excluding competition or controlling, fixing or maintaining prices for Packaged
    28   Tuna, in violation of N.D. Cent. Code §§ 51-08.1-02, 03.

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     1         531. Defendants wrongfully concealed the facts alleged herein giving rise
     2   to their unlawful conduct. Until July 23, 2015, North Dakota Plaintiffs did not
     3   discover and could not have discovered by exercise of reasonable diligence
     4   Defendants’ unlawful conduct. Until July 23, 2015, North Dakota Plaintiffs had
     5   neither actual nor constructive notice of the facts alleged herein giving rise to
     6   Defendants’ unlawful conduct.
     7         532. Plaintiffs and members of the Class were injured with respect to
     8   purchases in North Dakota and are entitled to all forms of relief, including actual
     9   damages, treble damages for flagrant violations, costs, reasonable attorneys’ fees,
    10   and injunctive or other equitable relief.
    11                      TWENTY-FIRST CLAIM FOR RELIEF
    12                        Violation of the Oregon Antitrust Law,
                                  Or. Rev. Stat. § 646.705, et seq.
    13
                         (By Plaintiffs Danielle Johnson and Liza Milliner
    14                            On Behalf of the Oregon Class)
    15         533. Plaintiffs Danielle Johnson and Liza Milliner, on behalf of themselves
    16   and the Oregon Class, repeat and reassert each of the allegations contained in
    17   paragraphs 1 to 363 as if fully set forth herein.
    18         534. Chapter 646 of the Oregon Revised Statutes generally governs
    19   business and trade practices within Oregon. Sections 705 through 899 thereof
    20   govern antitrust violations, with the policy to “encourage free and open
    21   competition in the interest of the general welfare and economy of the state.” Or.
    22   Rev. Stat. § 646.715.
    23         535. Plaintiffs Danielle Johnson and Liza Milliner purchased Packaged
    24   Tuna within the State of Oregon during the Class Period. But for Defendants’
    25   conduct set forth herein, the price per unit of Packaged Tuna would have been
    26   lower, in an amount to be determined at trial.
    27         536. Under Oregon law, indirect purchasers have standing under the
    28   antitrust provisions of the Oregon Revised Statutes to maintain an action based on

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     1   the facts alleged in this Complaint. Or. Rev. Stat. § 646.780(1)(a).
     2          537. Defendants contracted, combined, or conspired in restraint of trade or
     3   commerce of Packaged Tuna, and monopolized or attempted to monopolize the
     4   trade or commerce of Packaged Tuna, in violation of Or. Rev. Stat. § 646.705, et
     5   seq.
     6          538. Defendants wrongfully concealed the facts alleged herein giving rise
     7   to their unlawful conduct. Until July 23, 2015, Oregon Plaintiffs did not discover
     8   and could not have discovered with reasonable diligence either the facts alleged or
     9   Defendants’ unlawful conduct.
    10          539. Plaintiffs and members of the Class were injured with respect to
    11   purchases of Packaged Tuna within the intrastate commerce of Oregon, or
    12   alternatively to interstate commerce involving actual or threatened injury to
    13   persons located in Oregon, and are entitled to all forms of relief, including actual
    14   damages, treble damages, reasonable attorneys’ fees, expert witness fees and
    15   investigative costs, and injunctive relief.
    16                    TWENTY-SECOND CLAIM FOR RELIEF
    17                    Violation of the Rhode Island Antitrust Act
                                R.I. Gen. Laws § 6-36-1, et seq.
    18
           (By Plaintiff Katherine McMahon and Elizabeth Perron On Behalf of the
    19                                Rhode Island Class)
    20          540. Plaintiffs Katherine McMahon and Elizabeth Perron, on behalf of
    21   themselves and the Rhode Island Class, repeat and reassert each of the allegations
    22   contained in paragraphs 1 to 363 as if fully set forth herein.
    23          541. The Rhode Island Antitrust Act aims to promote the unhampered
    24   growth of commerce and industry throughout Rhode Island by prohibiting
    25   unreasonable restraints of trade and monopolistic practices that hamper, prevent or
    26   decrease competition. R.I. Gen. Laws § 6-36-2(a)(2).
    27          542. Plaintiffs Katherine McMahon and Elizabeth Perron purchased
    28   Packaged Tuna within the State of Rhode Island during the Class Period. But for

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     1   Defendants’ conduct set forth herein, the price per unit of Packaged Tuna would
     2   have been lower, in an amount to be determined at trial.
     3          543. Under the Rhode Island Antitrust Act, as of July 15, 2013, indirect
     4   purchasers have standing to maintain an action based on the facts alleged in this
     5   Complaint. R.I. Gen. Laws § 6-36-11(a). In Rhode Island, the claims of the
     6   Plaintiff and the Class alleged herein run from July 15, 2013, through the date that
     7   the effects of Defendants’ anticompetitive conduct cease.
     8          544. Defendants contracted, combined and conspired in restraint of trade of
     9   Packaged Tuna within the intrastate commerce of Rhode Island, and established,
    10   maintained or used, or attempted to establish, maintain or use, a monopoly in the
    11   trade of Packaged Tuna for the purpose of excluding competition or controlling,
    12   fixing or maintaining prices within the intrastate commerce of Rhode Island, in
    13   violation of R.I. Gen. Laws § 6-36-1, et seq.
    14          545. Defendants wrongfully concealed the facts alleged herein giving rise
    15   to their unlawful conduct. Until July 23, 2015, Rhode Island Plaintiffs could not,
    16   in the exercise of reasonable diligence, have discovered the alleged facts or
    17   Defendants’ wrongful conduct.
    18          546. Plaintiff and members of the Class were injured with respect to
    19   purchases of Packaged Tuna in Rhode Island and are entitled to all forms of relief,
    20   including actual damages, treble damages, reasonable costs, reasonable attorneys’
    21   fees, and injunctive relief.
    22                      TWENTY-THIRD CLAIM FOR RELIEF
    23                   Violation of the South Dakota Antitrust Statute,
                               S.D. Codified Laws § 37-1-3.1, et seq.
    24
              (By Plaintiff Casey Christensen On Behalf of the South Dakota Class)
    25
                547. Plaintiff Casey Christensen, on behalf of herself and the South Dakota
    26
         Class, repeats and reasserts each of the allegations contained in paragraphs 1 to
    27
         363 as if fully set forth herein.
    28

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     1          548. Chapter 37-1 of the South Dakota Codified Laws prohibits restraint of
     2   trade, monopolies and discriminatory trade practices. S.D. Codified Laws §§ 37-1-
     3   3.1, 3.2.
     4          549. Plaintiff Casey Christensen purchased Packaged Tuna within the State
     5   of South Dakota during the Class Period. But for Defendants’ conduct set forth
     6   herein, the price per unit of Packaged Tuna would have been lower, in an amount
     7   to be determined at trial.
     8          550. Under South Dakota law, indirect purchasers have standing under the
     9   antitrust provisions of the South Dakota Codified Laws to maintain an action based
    10   on the facts alleged in this Complaint. S.D. Codified Laws § 37-1-33.
    11          551. Defendants contracted, combined or conspired in restraint of trade or
    12   commerce of Packaged Tuna within the intrastate commerce of South Dakota, and
    13   monopolized or attempted to monopolize trade or commerce of Packaged Tuna
    14   within the intrastate commerce of South Dakota, in violation of S.D. Codified
    15   Laws § 37-1, et seq.
    16          552. Defendants acted affirmatively to wrongfully conceal facts alleged
    17   herein giving rise to their unlawful conduct. Until July 23, 2015, South Dakota
    18   Plaintiffs had no actual or constructive notice of these concealed facts and did not
    19   discover and could not have discovered with reasonable diligence Defendants’
    20   unlawful conduct.
    21          553. Plaintiff and members of the Class were injured with respect to
    22   purchases of Packaged Tuna in South Dakota and are entitled to all forms of relief,
    23   including actual damages, treble damages, taxable costs, reasonable attorneys’
    24   fees, and injunctive or other equitable relief.
    25                     TWENTY-FOURTH CLAIM FOR RELIEF
    26                    Violation of the Tennessee Trade Practices Act,
                                Tenn. Code Ann. § 47-25-101, et seq.
    27               (By Plaintiffs Kirsten Peck, John Peychal, and John Trent
    28                            On Behalf of the Tennessee Class)

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     1         554. Plaintiffs Kirsten Peck, John Peychal, and John Trent, for themselves
     2   and on behalf of the Tennessee Class, repeat and realleged each of the allegations
     3   contained in paragraphs 1 to 363 as if fully set forth herein.
     4         555. The Tennessee Trade Practices Act (“TTPA”) prohibits all
     5   arrangements, contracts, agreements, trusts, or combinations that tend to advance,
     6   reduce, or control the price or the cost of products to producers or consumers. The
     7   TTPA prohibits arrangements that decrease competition or affect the prices of
     8   goods even if those goods arrived in Tennessee through interstate commerce.
     9         556. Plaintiffs Kirsten Peck, John Peychal, and John Trent purchased
    10   Packaged Tuna within the State of Tennessee during the Class Period. But for
    11   Defendants’ conduct set forth herein, the price per unit of Packaged Tuna would
    12   have been lower, in an amount to be determined at trial.
    13         557. Defendants contracted, combined, or conspired to retrain the trade or
    14   commerce in the market for Packaged Tuna and their conduct substantially
    15   affected commerce within the State of Tennessee, in violation of Tenn. Code Ann.
    16   §§ 47-25-101, et seq.
    17         558. Plaintiffs and members of the Class were injured with respect to
    18   purchases of Packaged Tuna in that at least thousands of sales of Defendants’
    19   Packaged Tuna took place in Tennessee, purchased by Tennessee consumers at
    20   supra-competitive prices caused by Defendants’ conduct.
    21         559. Under Tennessee law, indirect purchaser may bring an action under
    22   the TTPA based on the facts alleged in this Complaint.
    23         560. Defendants wrongfully and affirmatively concealed the facts alleged
    24   herein giving rise to their unlawful conduct. Despite exercising due diligence,
    25   Plaintiffs did not have information sufficient to alert a reasonable person of the
    26   need to investigate the injury, and were not able to discover evidence of their
    27   claims of Defendants’ unlawful conduct until July 23, 2015.
    28         561. By reason of the foregoing, Plaintiffs and members of the Class are

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     1   entitled to all forms of relief available under Tenn. Code Ann. §§ 47-25-101, et
     2   seq, including the full consideration or sum paid for the Packaged Tuna, costs and
     3   disbursements, reasonable attorneys’ fees, and injunctive relief necessary to
     4   prevent and restrain violations thereof.
     5                      TWENTY-FIFTH CLAIM FOR RELIEF
     6                         Violation of the Utah Antitrust Act,
                               Utah Code Ann. §§ 76-10-911, et seq.
     7
            (By Plaintiffs Vivek Dravid and Tina Grant On Behalf of the Utah Class)
     8
                562. Plaintiffs Vivek Dravid and Tina Grant, on behalf of themselves and
     9
         the Utah Class, repeat and reassert each of the allegations contained in paragraphs
    10
         1 to 363 as if fully set forth herein.
    11
                563. The Utah Antitrust Act aims to “encourage free and open competition
    12
         in the interest of the general welfare and economy of this state by prohibiting
    13
         monopolistic and unfair trade practices, combinations and conspiracies in restraint
    14
         of trade or commerce . . . .” Utah Code Ann. § 76-10-3102.
    15
                564. Plaintiffs Vivek Dravid and Tina Grant purchased Packaged Tuna
    16
         within the State of Utah during the Class Period. But for Defendants’ conduct set
    17
         forth herein, the price per unit of Packaged Tuna would have been lower, in an
    18
         amount to be determined at trial.
    19
                565. Under the Utah Antitrust Act, indirect purchasers who are either Utah
    20
         residents or Utah citizens have standing to maintain an action based on the facts
    21
         alleged in this Complaint. Utah Code Ann. § 76-10-3109(1)(a).
    22
                566. Defendants contracted, combined or conspired in restraint of trade or
    23
         commerce of Packaged Tuna, and monopolized or attempted to monopolize trade
    24
         or commerce of Packaged Tuna, in violation of Utah Code Ann. § 76-10-3101, et
    25
         seq.
    26
                567. Defendants wrongfully concealed the facts alleged herein giving rise
    27
         to their unlawful conduct. Until July 23, 2015, Utah Plaintiffs did not discover and
    28

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     1   could not have reasonably discovered their claim.
     2         568. Plaintiffs and members of the Class who are either Utah residents or
     3   Utah citizens were injured with respect to purchases of Packaged Tuna in Utah and
     4   are entitled to all forms of relief, including actual damages, treble damages, costs
     5   of suit, reasonable attorneys’ fees, and injunctive relief.
     6                      TWENTY-SIXTH CLAIM FOR RELIEF
     7                     Violation of the West Virginia Antitrust Act,
                                   W. Va. Code § 47-18-1, et seq.
     8
                          (By Plaintiffs Diana Mey and Jade Canterbury
     9                        On Behalf of the West Virginia Class)
    10
               569. Plaintiffs Diana Mey and Jade Canterbury, on behalf of themselves
    11
         and the West Virginia Class, repeat and reassert each of the allegations contained
    12
         in paragraphs 1 to 363 as if fully set forth herein.
    13
               570. The violations of federal antitrust law set forth above also constitute
    14
         violations of section 47-18-1 of the West Virginia Code.
    15
               571. During the Class Period, Defendants and their co-conspirators
    16
         engaged in a continuing contract, combination or conspiracy in unreasonable
    17
         restraint of trade and commerce and other anticompetitive conduct alleged above in
    18
         violation of W. Va. Code § 47-18-1, et seq.
    19
               572. Defendants’ anticompetitive acts described above were knowing,
    20
         willful and constitute violations or flagrant violations of the West Virginia
    21
         Antitrust Act.
    22
               573. Defendants wrongfully concealed the facts alleged herein giving rise
    23
         to their unlawful conduct. Until July 23, 2015, West Virginia Plaintiffs did not
    24
         discover and could not in the exercise of reasonable diligence have discovered the
    25
         alleged concealed facts or Defendants’ wrongful conduct.
    26
               574. As a direct and proximate result of Defendants’ unlawful conduct,
    27
         Plaintiffs and members of the West Virginia Class have been injured in their
    28

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     1   business and property in that they paid more for Packaged Tuna than they
     2   otherwise would have paid in the absence of Defendants’ unlawful conduct. As a
     3   result of Defendants’ violation of Section 47-18-3 of the West Virginia Antitrust
     4   Act, Plaintiff and members of the West Virginia Class seek treble damages and
     5   their cost of suit, including reasonable attorneys’ fees, pursuant to section 47-18-9
     6   of the West Virginia Code.
     7                    TWENTY-SEVENTH CLAIM FOR RELIEF
     8                       Violation of the Wisconsin Antitrust Act,
                                 Wis. Stat. Ann. § 133.01(1), et seq.
     9
                  (By Plaintiffs Michael Juetten, Kathy Lingnofski, Julie Wiese,
    10               and Daniel Zwirlein On Behalf of the Wisconsin Class)
    11
               575. Plaintiffs Michael Juetten, Kathy Lingnofski, Julie Wiese, and Daniel
    12
         Zwirlein, on behalf of themselves and the Wisconsin Class, repeat and reassert
    13
         each of the allegations contained in paragraphs 1 to 363 as if fully set forth herein.
    14
               576. Chapter 133 of the Wisconsin Statutes governs trust and monopolies,
    15
         with the intent “to safeguard the public against the creation or perpetuation of
    16
         monopolies and to foster and encourage competition by prohibiting unfair and
    17
         discriminatory business practices which destroy or hamper competition.” Wis. Stat.
    18
         § 133.01.
    19
               577. Plaintiffs Michael Juetten, Kathy Lingnofski, Julie Wiese, and Daniel
    20
         Zwirlein purchased Packaged Tuna within the State of Wisconsin during the Class
    21
         Period. But for Defendants’ conduct set forth herein, the price per unit of Packaged
    22
         Tuna would have been lower, in an amount to be determined at trial.
    23
               578. Under Wisconsin law, indirect purchasers have standing under the
    24
         antitrust provisions of the Wisconsin Statutes to maintain an action based on the
    25
         facts alleged in this Complaint. Wis. Stat. 133.18(a).
    26
               579. Defendants contracted, combined or conspired in restraint of trade or
    27
         commerce of Packaged Tuna, and monopolized or attempted to monopolize the
    28

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     1   trade or commerce of Packaged Tuna, with the intention of injuring or destroying
     2   competition therein, in violation of Wis. Stat. § 133.01, et seq.
     3         580. Plaintiffs and members of the Class were injured with respect to
     4   purchases of Packaged Tuna in Wisconsin in that the actions alleged herein
     5   substantially affected the people of Wisconsin, with at least thousands of
     6   consumers in Wisconsin paying substantially higher prices for Defendants’
     7   Packaged Tuna in Wisconsin.
     8         581. Defendants wrongfully concealed the facts alleged herein giving rise
     9   to their unlawful conduct. Until July 23, 2015, Wisconsin Plaintiffs did not
    10   discover and could not in the exercise of reasonable diligence have discovered
    11   their injury or that Defendants’ unlawful conduct likely caused such injury.
    12         582. Accordingly, Plaintiffs and members of the Class are entitled to all
    13   forms of relief, including actual damages, treble damages, costs and reasonable
    14   attorneys’ fees, and injunctive relief.
    15         583. Defendants’ and their co-conspirators’ anticompetitive activities have
    16   directly, foreseeably and proximately caused injury to Plaintiffs and members of
    17   the Classes in the United States. Their injuries consist of: (1) being denied the
    18   opportunity to purchase lower-priced Packaged Tuna from Defendants, and (2)
    19   paying higher prices for Defendants’ Packaged Tuna than they would have in the
    20   absence of Defendants’ conduct. These injuries are of the type of the laws of the
    21   above States were designed to prevent, and flow from that which makes
    22   Defendants’ conduct unlawful.
    23         584. Defendants are jointly and severally liable for all damages suffered by
    24   Plaintiffs and Class members.
    25           VIOLATIONS OF STATE CONSUMER PROTECTION LAW
    26                                 (Against All Defendants)
    27         585. The following Twenty-eighth through Fifty-first Claims for Relief are
    28   pleaded under the consumer protection or similar laws of each State or jurisdiction

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     1   identified below, on behalf of the indicated Class.
     2                     TWENTY-EIGHTH CLAIM FOR RELIEF
     3             Violation of the Arkansas Deceptive Trade Practices Act,
                                Ark. Code Ann. § 4-88-101, et seq.
     4
              (By Plaintiffs Kim Craig, Kathleen Garner, and Joseph A. Langston
     5                          On Behalf of the Arkansas Class)
     6         586. Plaintiffs Kim Craig, Kathleen Garner, and Joseph A. Langston, on
     7   behalf of themselves and the Arkansas Class, repeat and reassert each of the
     8   allegations contained in paragraphs 1 to 363 as if fully set forth herein.
     9         587. By reason of the conduct alleged herein, Defendants have violated
    10   Ark. Code Ann. § 4-88-101, et seq.
    11         588. Defendants entered into a contract, combination, or conspiracy
    12   between two or more persons in restraint of, or to monopolize, trade or commerce
    13   in the Packaged Tuna market, a substantial part of which occurred within
    14   Arkansas.
    15         589. Defendants established, maintained, or used a monopoly, or attempted
    16   to establish a monopoly, of trade or commerce in the Relevant Markets, a
    17   substantial part of which occurred within Arkansas, for the purpose of excluding
    18   competition or controlling, fixing, or maintaining prices in the Packaged Tuna
    19   Market.
    20         590. Defendants’ conduct was unfair, unconscionable, or deceptive within
    21   the conduct of commerce within the State of Arkansas.
    22         591. Defendants’ conduct misled consumers, withheld material facts, and
    23   resulted in material misrepresentations to Plaintiff and members of the Class.
    24         592. Defendants’ unlawful conduct substantially affected Arkansas’s trade
    25   and commerce.
    26         593. Defendants’ conduct was willful.
    27         594. As a direct and proximate cause of Defendants’ unlawful conduct, the
    28   Plaintiffs and the members of the Arkansas Class have been injured in their

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     1   business or property and are threatened with further injury.
     2          595. Defendants wrongfully concealed the facts alleged herein giving rise
     3   to their unlawful conduct.         Until July 23, 2015, Arkansas Plaintiffs did not
     4   discover, and could not in the exercise of reasonable diligence have discovered,
     5   their injury or that Defendants’ unlawful conduct likely caused such injury.
     6          596. By reason of the foregoing, Plaintiffs and members of the Arkansas
     7   Class are entitled to seek all forms of relief, including actual damages plus
     8   reasonable attorney’s fees under Ark. Code Ann. § 4-88-113.
     9                     TWENTY-NINTH CLAIM FOR RELIEF
    10                 Violations of California’s Unfair Competition Law
                      Cal. Bus. & Prof. Code § 17200, et seq. (the “UCL”)
    11
           (By Plaintiffs Mary Hudson, Tya Hughes, Amy Jackson, Michael Juetten,
    12         Rick Musgrave, and John Pels On Behalf of the California Class)
    13
                597. Plaintiffs Mary Hudson, Tya Hughes, Amy Jackson, Michael Juetten,
    14
         Rick Musgrave, and John Pels, for themselves and on behalf of the California
    15
         Class, repeat and reallege each of the allegations contained in paragraphs 1 to 363
    16
         as if fully set forth herein.
    17
                598. The violations of federal antitrust law set forth above also constitute
    18
         violations of section 17200, et seq. of California Business and Professions Code.
    19
                599. Defendants          have   engaged   in   unfair   competition or   unfair,
    20
         unconscionable, deceptive or fraudulent acts or practices in violation of the UCL
    21
         by engaging in the acts and practices specified above.
    22
                600. This claim is instituted pursuant to sections 17203 and 17204 of
    23
         California Business and Professions Code, to obtain restitution from these
    24
         Defendants for acts, as alleged herein, that violated the UCL.
    25
                601. The Defendants’ conduct as alleged herein violated the UCL. The
    26
         acts, omissions, misrepresentations, practices and non-disclosures of Defendants,
    27
         as alleged herein, constituted a common, continuous, and continuing course of
    28

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     1   conduct of unfair competition by means of unfair, unlawful, and/or fraudulent
     2   business acts or practices within the meaning of the UCL, including, but not
     3   limited to, the following: (1) the violations of Section 1 of the Sherman Act, as set
     4   forth above; and (2) the violations of section 16720, et seq., of California Business
     5   and Professions Code, set forth above.
     6         602. Defendants’ acts, omissions, misrepresentations, practices, and non-
     7   disclosures, as described above, whether or not in violation of section 16720, et
     8   seq., of California Business and Professions Code, and whether or not concerted or
     9   independent acts, are otherwise unfair, unconscionable, unlawful or fraudulent.
    10         603. Defendants wrongfully concealed the facts alleged herein giving rise
    11   to their unlawful conduct preventing California Plaintiffs in the exercise of due
    12   diligence from uncovering the unlawful conduct.           The applicable statute of
    13   limitations is tolled until July 23, 2015 until the Plaintiffs, by the exercise of
    14   reasonable diligence, should have discovered it.
    15         604. Plaintiffs and members of the California Class are entitled to full
    16   restitution and/or disgorgement of all revenues, earnings, profits, compensation,
    17   and benefits that may have been obtained by Defendants as a result of such
    18   business acts or practices.
    19         605. The illegal conduct alleged herein is continuing and there is no
    20   indication that Defendants will not continue such activity into the future.
    21         606. The unlawful and unfair business practices of Defendants, and each of
    22   them, as described above, have caused and continue to cause Plaintiffs and the
    23   members of the California Class to pay supra-competitive and artificially-inflated
    24   prices for Packaged Tuna sold in the State of California. Plaintiffs and the
    25   members of the California Class suffered injury in fact and lost money or property
    26   as a result of such unfair competition.
    27         607. As alleged in this Complaint, Defendants and their co-conspirators
    28   have been unjustly enriched as a result of their wrongful conduct and by

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     1   Defendants’ unfair competition. Plaintiffs and the members of the California Class
     2   are accordingly entitled to equitable relief including restitution and/or
     3   disgorgement of all revenues, earnings, profits, compensation, and benefits that
     4   may have been obtained by Defendants as a result of such business practices,
     5   pursuant to California Business and Professions Code sections 17203 and 17204.
     6                        THIRTIETH CLAIM FOR RELIEF
     7    Violation of the District of Columbia Consumer Protection Procedures Act,
                                   D.C. Code § 28-3901, et seq.
     8
                   (By Plaintiffs Ana Gabriela Felix Garcia, Kaitlyn Rooney,
     9        and Andrew Gorman On Behalf of the District of Columbia Class)
    10         608. Plaintiffs Ana Gabriela Felix Garcia, Kaitlyn Rooney, and Andrew
    11   Gorman, on behalf of themselves and the District of Columbia Class, repeat and
    12   reassert each of the allegations contained in paragraphs 1 to 363 as if fully set forth
    13   herein.
    14         609. Plaintiffs Ana Gabriela Felix Garcia, Kaitlyn Rooney, and Andrew
    15   Gorman and members of the District of Columbia Class purchased Packaged Tuna
    16   for personal, family, or household purposes.
    17         610. By reason of the conduct alleged herein, Defendants have violated
    18   D.C. Code § 28-3901, et seq.
    19         611. Defendants are “merchants” within the meaning of D.C. Code § 28-
    20   3901(a)(3).
    21         612. Defendants entered into a contract, combination, or conspiracy
    22   between two or more persons in restraint of, or to monopolize, trade or commerce
    23   in the Packaged Tuna market, a substantial part of which occurred within the
    24   District of Columbia.
    25         613. Defendants established, maintained, or used a monopoly, or attempted
    26   to establish a monopoly, of trade or commerce in the Relevant Markets, a
    27   substantial part of which occurred within the District of Columbia, for the purpose
    28   of excluding competition or controlling, fixing, or maintaining prices in the

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     1   Packaged Tuna Market.
     2         614. Defendants’ conduct was an unfair method of competition, and an
     3   unfair or deceptive act or practice within the conduct of commerce within the
     4   District of Columbia.
     5         615. Defendants’ unlawful conduct substantially affected the District of
     6   Columbia’s trade and commerce.
     7         616. As a direct and proximate cause of Defendants’ unlawful conduct, the
     8   Plaintiffs and members of the District of Columbia Class have been injured in their
     9   business or property and are threatened with further injury.
    10         617. Defendants wrongfully concealed the facts alleged herein giving rise
    11   to the unlawful conduct by the affirmative actions described herein which were
    12   designed to prevent the discovery of such unlawful conduct and the Plaintiffs in the
    13   District of Columbia did not discover and could not discover the unlawful conduct
    14   prior to July 23, 2015.
    15         618. By reason of the foregoing, the Plaintiffs and members of the District
    16   of Columbia Class are entitled to seek all forms of relief, including treble damages
    17   or $1500 per violation (whichever is greater) plus punitive damages, reasonable
    18   attorney’s fees and costs under D.C. Code § 28-3901, et seq.
    19                             THIRTY-FIRST CLAIM FOR RELIEF
    20               Violation of the Florida Deceptive and Unfair Trade Practices Act,
                                         Fla. Stat. § 501.201(2), et seq.
    21
                   (By Plaintiffs Barbara Blumstein, Edgardo Gutierrez, Zenda Johnston,
    22                        and Valerie Peters On Behalf of the Florida Class)
    23
               619. Plaintiffs Barbara Blumstein, Edgardo Gutierrez, Zenda Johnston, and
    24
         Valerie Peters, for themselves and on behalf of the Florida Class, repeat and
    25
         reallege each of the allegations contained in paragraphs 1 to 363 as if fully set forth
    26
         herein.
    27
               620. The Florida Deceptive & Unfair Trade Practices Act, Florida Stat. §§
    28

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     1   501.201, et seq. (the “FDUTPA”), generally prohibits “unfair methods of
     2   competition, unconscionable acts or practices, and unfair or deceptive acts or
     3   practices in the conduct of any trade or commerce,” including practices in restraint
     4   of trade. Florida Stat. § 501.204(1).
     5         621. The primary policy of the FDUTPA is “[t]o protect the consuming
     6   public and legitimate business enterprises from those who engage in unfair
     7   methods of competition, or unconscionable, deceptive, or unfair acts or practices in
     8   the conduct of any trade or commerce.” Florida Stat. § 501.202(2).
     9         622. A claim for damages under the FDUTPA has three elements: (1) a
    10   prohibited practice; (2) causation; and (3) actual damages.
    11         623. Under Florida law, indirect purchasers have standing to maintain an
    12   action under the FDUTPA based on the facts alleged in this Complaint. Fla. Stat. §
    13   501.211(a) (“…anyone aggrieved by a violation of this [statute] may bring an
    14   action…”).
    15         624. Plaintiffs Barbara Blumstein, Edgardo Gutierrez, Zenda Johnston, and
    16   Valerie Peters purchased Packaged Tuna within the State of Florida during the
    17   Class Period. But for Defendants’ conduct set forth herein, the price per unit of
    18   Packaged Tuna would have been lower, in an amount to be determined at trial.
    19         625. Defendants entered into a contract, combination or conspiracy
    20   between two or more persons in restraint of, or to monopolize, trade or commerce
    21   in the Packaged Tuna market, a substantial part of which occurred within Florida.
    22         626. Defendants established, maintained or used a monopoly, or attempted
    23   to establish a monopoly, of trade or commerce in the market for Packaged Tuna,
    24   for the purpose of excluding competition or controlling, fixing or maintaining
    25   prices in Florida at a level higher than the competitive market level, beginning at
    26   least as early as 2000 and continuing through the date of this filing.
    27         627. Accordingly, Defendants’ conduct was an unfair method of
    28   competition, and an unfair or deceptive act or practice within the conduct of

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     1   commerce within the State of Florida.
     2          628. Defendants’ unlawful conduct substantially affected Florida’s trade
     3   and commerce.
     4          629. As a direct and proximate cause of Defendants’ unlawful conduct,
     5   Plaintiffs and the members of the Florida Class have been injured in their business
     6   or property by virtue of overcharges for Packaged Tuna and are threatened with
     7   further injury.
     8          630. Defendants wrongfully concealed the facts alleged herein giving rise
     9   to their unlawful conduct. As alleged herein, until July 23, 2015, Defendants were
    10   both successful in the concealment of their unlawful conduct and used fraudulent
    11   means to achieve such concealment such that the Florida Plaintiffs could not
    12   reasonably discover the claim under the circumstances to protect their interests
    13   during the limitations period. As a result, this cause of action did not accrue until
    14   July 23, 2015.
    15          631. By reason of the foregoing, Plaintiffs and the members of the Florida
    16   Class are entitled to seek all forms of relief, including injunctive relief pursuant to
    17   Florida Stat. §501.208 and declaratory judgment, actual damages, reasonable
    18   attorneys’ fees and costs pursuant to Florida Stat. § 501.211.
    19
                            THIRTY-SECOND CLAIM FOR RELIEF
    20
                      Violation of Hawaii Unfair and Deceptive Trade Practices Act
    21                                   Haw. Rev. Stat. § 480-2
    22                 (By Plaintiff Gloria Emery On Behalf of the Hawaii Class)
    23
                632. Plaintiff Gloria Emery, for herself and on behalf of the Hawaii Class,
    24
         repeats and realleges each of the allegations contained in paragraphs 1 to 363 as if
    25
         fully set forth herein.
    26
                633. Plaintiff Gloria Emery and members of the Hawaii Class purchased
    27
         Packaged Tuna for personal, family, or household purposes.
    28

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     1            634. By reason of the conduct alleged herein, Defendants have violated in
     2   violation of Haw. Rev. Stat. § 480-2.
     3            635. Defendants have engaged in “unfair competition or unfair or
     4   deceptive acts or practices” within the meaning of Haw. Rev. Stat. § 480-2, with
     5   the intent to injure competitors and consumers through supra-competitive profits.
     6            636. During the Class Period, Defendants’ unlawful conduct substantially
     7   affected Hawaii commerce and consumers.
     8            637. Defendants fraudulently concealed their price-fixing conspiracy and
     9   withheld material facts regarding the true cause of price increases. Defendants’
    10   conduct had the capacity to deceive consumers and misled consumers into
    11   believing that increased prices were caused by non-conspiratorial circumstances.
    12            638. Defendants’ unlawful conduct substantially affected Hawaii’s trade
    13   and commerce.
    14            639. As a direct and proximate cause of Defendants’ unlawful conduct,
    15   Plaintiff and members of the Hawaii Class have been injured and are threatened
    16   with further injury.
    17            640. Defendants’ continued violations of the law comprise a repeated
    18   pattern and course of conduct that provide an exception to the applicable statute of
    19   limitations.     Defendants also affirmatively misled Plaintiff by wrongfully
    20   concealing the facts alleged herein giving rise to the unlawful conduct. Plaintiff
    21   had neither actual nor constructive knowledge of the facts giving rise to her claims
    22   until July 23, 2015, and exercised due diligence in attempting to discover such
    23   facts.
    24            641. By reason of the foregoing, Plaintiff and members of the Hawaii Class
    25   are entitled to seek all forms of relief available under Haw. Rev. Stat. §§ 480, et
    26   seq.
    27            642. Concurrent with the filing of this complaint, Plaintiff and her counsel
    28   have served required materials upon the Hawaii Attorney General pursuant to

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     1   H.R.S. § 480-13.3.
     2                      THIRTY-THIRD CLAIM FOR RELIEF
                   Violation of the Massachusetts Consumer Protection Act,
     3
                               Mass. Gen. Laws ch. 93A § 1, et seq.
     4         (By Plaintiffs Scott Caldwell, Sundé Daniels, and Elizabeth Perron
     5                        On Behalf of the Massachusetts Class)
     6         643. Plaintiffs Scott Caldwell, Sundé Daniels, and Elizabeth Perron, on
     7   behalf of themselves and the Massachusetts Class, repeat and reassert each of the
     8   allegations contained in paragraphs 1 to 363 as if fully set forth herein.
     9         644. By reason of the conduct alleged herein, Defendants have violated the
    10   Massachusetts Consumer Protection Act, Mass. Gen. Laws ch. 93A § 2, et seq.
    11         645. Plaintiffs Scott Caldwell, Sundé Daniels, and Elizabeth Perron
    12   purchased Packaged Tuna within the State of Massachusetts during the Class
    13   Period. But for Defendants’ conduct set forth herein, the price per unit of Packaged
    14   Tuna would have been lower, in an amount to be determined at trial.
    15         646. Defendants entered into a contract, combination, or conspiracy
    16   between two or more persons in restraint of, or to monopolize, trade or commerce
    17   in the Packaged Tuna market, a substantial part of which occurred within
    18   Massachusetts.
    19         647. Defendant established, maintained, or used a monopoly, or attempted
    20   to establish a monopoly, of trade or commerce in the market for Packaged Tuna, a
    21   substantial part of which occurred within Massachusetts, for the purpose of
    22   excluding competition or controlling, fixing, or maintaining prices in the Packaged
    23   Tuna market.
    24         648. Defendants’ conduct was an unfair method of competition, and an
    25   unfair or deceptive act or practice within the conduct of commerce within the State
    26   of Massachusetts.
    27         649. Defendants’ unlawful conduct substantially affected Massachusetts’
    28   trade and commerce.

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     1         650. As a direct and proximate cause of Defendants’ unlawful conduct, the
     2   Plaintiffs and the members of the Massachusetts Class have been injured in their
     3   business or property and are threatened with further injury.
     4         651. By reason of the foregoing, the Plaintiffs and the Massachusetts Class
     5   are entitled to seek all forms of relief, including up to treble damages and
     6   reasonable attorney’s fees and costs under Mass. Gen. Laws ch. 93A § 9.
     7         652. Pursuant to Mass. Gen. Laws ch. 93A § 9, Plaintiff Caldwell mailed to
     8   all Defendants on August 31, 2015, via certified mail, return receipt requested,
     9   Demand for Payment Letters which explained the unfair acts, the injury suffered,
    10   and requested relief from the Defendants. Plaintiff Caldwell has received a
    11   response to these letters from Defendant StarKist, but was unable to come to any
    12   agreement with StarKist. Plaintiff Caldwell has received no response from the
    13   other Defendants.
    14         653. Defendants wrongfully concealed the facts alleged herein giving rise
    15   to their unlawful conduct. Until July 23, 2015, Defendants concealed the existence
    16   of their unlawful conduct through the affirmative actions alleged herein with an
    17   intent to deceive the Massachusetts Plaintiffs and Class as to the nature of their
    18   actions. Plaintiffs did not know and reasonably could not have known the facts
    19   alleged giving rise to Defendants’ unlawful conduct. As a result, this cause of
    20   action did not accrue until July 23, 2015.
    21         654. Pursuant to Mass. Gen. Laws ch. 93A § 9, Plaintiff Daniels mailed to
    22   all Defendants on September 3, 2015, and again on October 2, 2015, via certified
    23   mail, return receipt requested, Demand for Payment Letters which explained the
    24   unfair acts, the injury suffered, and requested relief from the Defendants. Plaintiff
    25   Daniels has received a response to these letters from Defendant StarKist, but was
    26   unable to come to any agreement with StarKist. Plaintiff Daniels has received no
    27   response from the other Defendants.
    28                     THIRTY-FOURTH CLAIM FOR RELIEF


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     1                Violation of the Michigan Consumer Protection Act
                            Mich. Comp. Laws Ann. § 445.901, et seq.
     2
                (By Plaintiffs Louise Adams, Jessica Decker, and Barbara Olson
     3                          On Behalf of the Michigan Class)
     4         655. Plaintiffs Louise Adams, Jessica Decker, and Barbara Olson, on
     5   behalf of themselves and the Michigan Class, repeat and reassert each of the
     6   allegations contained in paragraphs 1 to 363 as if fully set forth herein.
     7         656. By reason of the conduct alleged herein, Defendants have violated
     8   Mich. Comp. Laws Ann. § 445.901, et seq.
     9         657. Defendants have entered into a contract, combination, or conspiracy
    10   between two or more persons in restraint of, or to monopolize, trade or commerce
    11   in the Packaged Tuna Market, a substantial part of which occurred within
    12   Michigan.
    13         658. Defendants established, maintained, or used a monopoly, or attempted
    14   to establish a monopoly, of trade or commerce in the Packaged Market, for the
    15   purpose of excluding or limiting competition or controlling or maintaining prices, a
    16   substantial part of which occurred within Michigan.
    17         659. Defendants’ conduct was conducted with the intent to deceive
    18   Michigan consumers regarding the nature of Defendants’ actions within the stream
    19   of Michigan commerce.
    20         660. Defendants’ conduct was unfair, unconscionable, or deceptive within
    21   the conduct of commerce within the State of Michigan.
    22         661. Defendants’ conduct misled consumers, withheld material facts, and
    23   took advantage of Plaintiffs and Class members’ inability to protect themselves.
    24         662. Defendants’ unlawful conduct substantially affected Michigan’s trade
    25   and commerce.
    26         663. As a direct and proximate cause of Defendants’ unlawful conduct, the
    27   Plaintiffs and members of the Michigan Class have been injured in their business
    28   or property and are threatened with further injury.

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     1         664. Defendants wrongfully concealed the facts alleged herein giving rise
     2   to the unlawful conduct and through their affirmative arrangements and
     3   contrivances preventing discovery of such unlawful conduct until July 23, 2015.
     4         665. By reason of the foregoing, the Plaintiffs and the Michigan Class are
     5   entitled to seek all forms of relief available under Mich. Comp. Laws Ann. §
     6   445.911.
     7                        THIRTY-FIFTH CLAIM FOR RELIEF
                          Violation of the Minnesota Consumer Fraud Act,
     8
                                    Minn. Stat. § 325F.68, et seq.
     9                   (By Plaintiffs Laura Childs and Katherine Larson
    10                            On Behalf of the Minnesota Class)
    11         666. Plaintiffs Laura Childs and Katherine Larson, on behalf of themselves
    12   and the Minnesota Class, repeat and reassert each of the allegations contained in
    13   paragraphs 1 to 363 as if fully set forth herein.
    14         667. By reason of the conduct alleged herein, Defendants have violated
    15   Minn. Stat. § 325F.68, et seq.
    16         668. Defendants engaged in a deceptive trade practice with the intent to
    17   injure competitors and consumers through supra-competitive profits.
    18         669. Defendants established, maintained, or used a monopoly, or attempted
    19   to establish a monopoly, of trade or commerce in the Packaged Tuna Market, a
    20   substantial part of which occurred within Minnesota, for the purpose of controlling,
    21   fixing, or maintaining prices in the Packaged Seafood Market.
    22         670. Defendants’ conduct was unfair, unconscionable, or deceptive within
    23   the conduct of commerce within the State of Minnesota.
    24         671. Defendants’ conduct, specifically in the form of fraudulent
    25   concealment of their horizontal agreement, created a fraudulent or deceptive act or
    26   practice committed by a supplier in connection with a consumer transaction.
    27         672. Defendants’ unlawful conduct substantially affected Minnesota’s
    28   trade and commerce.

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     1         673. Defendants’ conduct was willful.
     2         674. As a direct and proximate cause of Defendants’ unlawful conduct, the
     3   Plaintiffs and the members of the Minnesota Class have been injured in their
     4   business or property and are threatened with further injury.
     5         675. Defendants wrongfully concealed the facts alleged herein giving rise
     6   to the unlawful conduct through the fraudulent and intentional acts described
     7   herein and Minnesota Plaintiffs could not have reasonable discovered the
     8   concealment of Defendants' unlawful conduct until July 23, 2015.
     9         676. By reason of the foregoing, the Plaintiffs and the members of the
    10   Minnesota Class are entitled to seek all forms of relief, including damages,
    11   reasonable attorneys’ fees and costs under Minn. Stat. § 325F.68, et seq. and
    12   applicable case law.
    13                       THIRTY-SIXTH CLAIM FOR RELIEF
    14               Violation of the Missouri Merchandising Practices Act,
                                  Mo. Ann. Stat. § 407.010, et seq.
    15
                  (By Plaintiffs John Frick, Steven Kratky, Amber Sartori, and
    16               Rebecca Lee Simoens On Behalf of the Missouri Class)
    17
               677. Plaintiffs John Frick, Steven Kratky, Amber Sartori, and Rebecca Lee
    18
         Simoens on behalf of themselves and the Missouri Class, repeat and reassert each
    19
         of the allegations contained in paragraphs 1 to 363 as if fully set forth herein.
    20
               678. Plaintiffs and members of the Missouri Class purchased Packaged
    21
         Tuna during the Class Period for personal, family, or household purposes.
    22
               679. By reason of the conduct alleged herein, Defendants have violated
    23
         Missouri’s Merchandising Practices Act (the “MMPA”), specifically Mo. Rev.
    24
         Stat. § 407.020, which prohibits “the act, use or employment by any person of any
    25
         deception, fraud, false pretense, false promise, misrepresentation, unfair practice or
    26
         the concealment, suppression, or omission of any material fact in connection with
    27
         the sale or advertisement of any merchandise in trade or commerce . . . .”
    28

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     1         680.     Defendants have entered into a contract, combination, or conspiracy
     2   between two or more persons in restraint of, or to monopolize, trade or commerce
     3   in the Packaged Tuna Market, a part of which occurred within Missouri.
     4         681. Defendants established, maintained, or used a monopoly, or attempted
     5   to establish a monopoly, of trade or commerce in the Packaged Tuna Market, for
     6   the purpose of excluding or limiting competition or controlling or maintaining
     7   prices, a part of which occurred within Missouri.
     8         682. Defendants engaged in a deceptive trade practice with the intent to
     9   injure competitors and consumers through supra-competitive profits.
    10         683. Defendants concealed, suppressed, and omitted to disclose material
    11   facts to Plaintiff and the members of the Missouri Class concerning Defendants’
    12   unlawful activities. The concealed, suppressed, and omitted facts would have been
    13   important to Plaintiffs and the members of the Missouri Class as they relate to the
    14   cost of Packaged Tuna they purchased.
    15         684. Defendants misrepresented the real cause of prices increases and/or
    16   the absence of price reductions in Packaged Tuna by making public statements that
    17   were not in accord with the facts.
    18         685. Defendants’ statements and conduct concerning the price of Packaged
    19   Tuna were deceptive as they had the tendency or capacity to mislead Plaintiff and
    20   the members of the Missouri Class to believe that they were purchasing Packaged
    21   Tuna at prices established by a free and fair market.
    22         686. Defendants’ unlawful conduct substantially affected Missouri
    23   commerce.
    24         687. As a direct and proximate cause of Defendants’ unlawful conduct,
    25   Plaintiffs and members of the Missouri Class suffered ascertainable loss of money
    26   or property.
    27         688. Defendants wrongfully concealed the facts alleged herein giving rise
    28   to their unlawful conduct. As alleged herein, until July 23, 2015, Defendants

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     1   affirmatively and successfully concealed their unlawful conduct which prevented
     2   the Missouri Plaintiffs and the Class from discovering Defendants’ unlawful
     3   conduct.    As a result of this fraudulent concealment, this cause of action did not
     4   accrue until July 23, 2015.
     5         689. Accordingly, Plaintiffs and members of the Missouri Class seek all
     6   relief available under the MMPA, specifically Mo. Rev. Stat. § 407.020, as further
     7   interpreted by Title 15 of the Missouri Code of State Regulations, 15 CSR 60-
     8   7.010, et seq., 15 CSR 60-8.010, et seq., and 15 CSR 60-9.010, et seq., and Mo.
     9   Rev. Stat. § 407.025 which provides for the relief sought in this count.
    10                     THIRTY-SEVENTH CLAIM FOR RELIEF
                       Violation of the Nebraska Consumer Protection Act,
    11                            Neb. Rev. Stat. § 59-1602, et seq.
    12                (By Plaintiffs Melissa Bowman and Barbara Buenning
    13                           On Behalf of the Nebraska Class)
    14         690. Plaintiffs Melissa Bowman and Barbara Buenning, on behalf of
    15   themselves and the Nebraska Class, repeat and reassert each of the allegations
    16   contained in paragraphs 1 to 363 as if fully set forth herein.
    17         691. By reason of the conduct alleged herein, Defendants have violated
    18   Neb. Rev. Stat. § 59-1602, et seq.
    19         692. Defendants have entered into a contract, combination, or conspiracy
    20   between two or more persons in restraint of, or to monopolize, trade or commerce
    21   in the Packaged Tuna Market, a substantial part of which occurred within
    22   Nebraska.
    23         693. Defendants established, maintained, or used a monopoly, or attempted
    24   to establish a monopoly, of trade or commerce in the Packaged Tuna Market, for
    25   the purpose of excluding or limiting competition or controlling or maintaining
    26   prices, a substantial part of which occurred within Nebraska.
    27         694. Defendants’ conduct was conducted with the intent to deceive
    28   Nebraska consumers regarding the nature of Defendants’ actions within the stream

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     1   of Nebraska commerce.
     2           695. Defendants’ conduct was unfair, unconscionable, or deceptive within
     3   the conduct of commerce within the State of Nebraska.
     4           696. Defendants’ conduct misled consumers, withheld material facts, and
     5   had a direct or indirect impact upon Plaintiffs and Class members’ ability to protect
     6   themselves.
     7           697. Defendants’ unlawful conduct substantially affected Nebraska’s trade
     8   and commerce.
     9           698. As a direct and proximate cause of Defendants’ unlawful conduct, the
    10   Plaintiff and the members of the Nebraska Class have been injured in their
    11   business or property and are threatened with further injury.
    12           699. Defendants wrongfully concealed the facts alleged herein giving rise
    13   to their unlawful conduct.      As alleged herein, the Defendants affirmatively
    14   concealed their unlawful conduct which prevented Nebraska Plaintiffs from
    15   reasonably discovering the claim before the statute of limitations expired. As a
    16   result, Defendants” unlawful conduct was neither obvious nor discoverable during
    17   the limitations period. This cause of action did not accrue until July 23, 2015 when
    18   the Plaintiffs knew, or in the exercise of reasonable diligence, should have known
    19   about the Defendants’ unlawful conduct.
    20           700. By reason of the foregoing, Plaintiff and members of the Nebraska
    21   Class are entitled to seek all forms of relief available under Neb. Rev. Stat. § 59-
    22   1614.
    23                       THIRTY-EIGHTH CLAIM FOR RELIEF
                       Violation of the Nevada Deceptive Trade Practices Act,
    24
                                  Nev. Rev. Stat. § 598.0903, et seq.
    25                       (By Plaintiffs Nay Alidad and Nancy Stiller
    26                             On Behalf of the Nevada Class)
    27           701. Plaintiffs Nay Alidad and Nancy Stiller, on behalf of themselves and
    28   the Nevada Class, repeat and reassert each of the allegations contained in

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     1   paragraphs 1 to 363 as if fully set forth herein.
     2         702. By reason of the conduct alleged herein, Defendants have violated
     3   Nev. Rev. Stat. § 598.0903, et seq.
     4         703. Defendants engaged in a deceptive trade practice with the intent to
     5   injure competitors and to substantially lessen competition.
     6         704. Defendants established, maintained, or used a monopoly, or attempted
     7   to establish a monopoly, of trade or commerce in the Packaged Tuna Market, a
     8   substantial part of which occurred within Nevada, for the purpose of excluding
     9   competition or controlling, fixing, or maintaining prices in the Packaged Tuna
    10   Market.
    11         705. Defendants’ conduct was unfair, unconscionable, or deceptive within
    12   the conduct of commerce within the State of Nevada.
    13         706. Defendants’ conduct amounted to a fraudulent act or practice
    14   committed by a supplier in connection with a consumer transaction.
    15         707. Defendants’ unlawful conduct substantially affected Nevada’s trade
    16   and commerce.
    17         708. Defendants’ conduct was willful.
    18         709. As a direct and proximate cause of Defendants’ unlawful conduct, the
    19   members of the Nevada Class have been injured in their business or property and
    20   are threatened with further injury.
    21         710. Defendants wrongfully concealed the facts alleged herein giving rise
    22   to their unlawful conduct. Until July 23, 2015, the Nevada Plaintiffs did not
    23   discover and could not have discovered by the exercise of reasonable diligence
    24   Defendants' unlawful conduct.
    25         711. By reason of the foregoing, the Nevada Class is entitled to seek all
    26   forms of relief, including damages, reasonable attorneys’ fees and costs, and a civil
    27   penalty of up to $5,000 per violation under Nev. Rev. Stat. § 598.0993.
    28   //

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     1   //
     2   //
     3   //
     4                      THIRTY-NINTH CLAIM FOR RELIEF
     5             Violation of the New Hampshire Consumer Protection Act,
                         N.H. Rev. Stat. Ann. tit. XXXI, § 358-A, et seq.,
     6
                   (By Plaintiffs Jessica Bartling, Jody Cooper, and Rob Skaff
     7                      On Behalf of the New Hampshire Class)
     8         712. Plaintiffs Jessica Bartling, Jody Cooper, and Rob Skaff, on behalf of
     9   themselves and the New Hampshire Class, repeat and reassert each of the
    10   allegations contained in paragraphs 1 to 363 as if fully set forth herein.
    11         713. By reason of the conduct alleged herein, Defendants have violated
    12   N.H. Rev. Stat. Ann. tit. XXXI, § 358-A, et seq.
    13         714. Defendants have entered into a contract, combination, or conspiracy
    14   between two or more persons in restraint of, or to monopolize, trade or commerce
    15   in the Packaged Tuna Market, a substantial part of which occurred within New
    16   Hampshire.
    17         715. Defendants established, maintained, or used a monopoly, or attempted
    18   to establish a monopoly, of trade or commerce in the Packaged Tuna Market, for
    19   the purpose of excluding or limiting competition or controlling or maintaining
    20   prices, a substantial part of which occurred within New Hampshire.
    21         716. Defendants’ conduct was conducted with the intent to deceive New
    22   Hampshire consumers regarding the nature of Defendants’ actions within the
    23   stream of New Hampshire commerce.
    24         717. Defendants’ conduct was unfair or deceptive within the conduct of
    25   commerce within the State of New Hampshire.
    26         718. Defendants’ conduct was willful and knowing.
    27         719. Defendants’ conduct misled consumers, withheld material facts, and
    28   had a direct or indirect impact upon Plaintiff and Class members’ ability to protect

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     1   themselves.
     2         720. Defendants’       unlawful     conduct    substantially   affected   New
     3   Hampshire’s trade and commerce.
     4         721. As a direct and proximate cause of Defendants’ unlawful conduct, the
     5   Plaintiffs and the members of the New Hampshire Class have been injured in their
     6   business or property and are threatened with further injury.
     7         722. Defendants fraudulently concealed the essential facts alleged here
     8   giving rise to their unlawful conduct.       Until July 23, 2015, New Hampshire
     9   Plaintiffs did not discover and could not have discovered in the exercise of
    10   reasonable diligence either Defendants' unlawful conduct or the facts giving rise to
    11   such conduct.
    12         723. By reason of the foregoing, the Plaintiffs and the members of the New
    13   Hampshire Class are entitled to seek all forms of relief available under N.H. Rev.
    14   Stat. Ann. tit. XXXI, §§ 358-A:10 and 358-A:10-a.
    15                           FORTIETH CLAIM FOR RELIEF
                          Violation of the New Mexico Unfair Practices Act,
    16                            N.M. Stat. Ann. §§ 57-12-3, et seq.
    17                     (By Plaintiffs Kathy Gore and Laura Montoya
    18                           On Behalf of the New Mexico Class)
    19         724. Plaintiffs Kathy Gore and Laura Montoya, by themselves and on
    20   behalf of the New Mexico Class, repeat and reassert each of the allegations
    21   contained in paragraphs 1 to 363 as if fully set forth herein.
    22         725. By reason of the conduct alleged herein, Defendants have violated
    23   N.M. Stat. Ann. §§ 57-12-3, et seq.
    24         726. Defendants entered into a contract, combination, or conspiracy
    25   between two or more persons in restraint of, or to monopolize, trade or commerce
    26   in the Packaged Tuna market, a substantial part of which occurred within New
    27   Mexico.
    28         727. Defendants established, maintained, or used a monopoly, or attempted

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     1   to establish a monopoly, of trade or commerce in the Relevant Markets, a
     2   substantial part of which occurred within New Mexico, for the purpose of
     3   excluding competition or controlling, fixing, or maintaining prices in the Packaged
     4   Tuna Market.
     5         728. Defendants’ conduct was unfair, unconscionable, or deceptive within
     6   the conduct of commerce within the State of New Mexico.
     7         729. Defendants’ conduct misled consumers, withheld material facts, and
     8   resulted in material misrepresentations to Plaintiff and members of the Class.
     9         730. Defendants’ unlawful conduct substantially affected New Mexico’s
    10   trade and commerce.
    11         731. Defendants’ conduct constituted “unconscionable trade practices” in
    12   that such conduct, inter alia, resulted in a gross disparity between the value
    13   received by the New Mexico class members and the price paid by them for
    14   Packaged Tuna as set forth in N.M. Stat. Ann. § 57-12-2E.
    15         732. Defendants’ conduct was willful.
    16         733. As a direct and proximate cause of Defendants’ unlawful conduct, the
    17   Plaintiffs and the members of the New Mexico Class have been injured in their
    18   business or property and are threatened with further injury.
    19         734. Defendants knew that their conduct was unlawful and wrongfully
    20   concealed the facts alleged here giving rise to their unlawful conduct. Until July
    21   23, 2015, New Mexico Plaintiffs did not know and could not have known in the
    22   exercise of reasonable diligence either Defendants’ unlawful conduct or the facts
    23   giving rise to such conduct.
    24         735. By reason of the foregoing, Plaintiffs and members of the New
    25   Mexico Class are entitled to seek all forms of relief, including actual damages or
    26   up to $300 per violation, whichever is greater, plus reasonable attorney’s fees
    27   under N.M. Stat. Ann. §§ 57-12-10.
    28   //

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     1                       FORTY-FIRST CLAIM FOR RELIEF
           Violation of the North Carolina Unfair Trade and Business Practices Act,
     2
                                N.C. Gen. Stat. § 75-1.1, et seq.
     3         (By Plaintiffs Corey Norris, Audra Rickman, and Amber Sartori
     4                       On Behalf of the North Carolina Class)
     5         736. Plaintiffs Corey Norris, Audra Rickman, and Amber Sartori, on behalf
     6   of themselves and the North Carolina Class, repeat and reassert each of the
     7   allegations contained in paragraphs 1 to 363 as if fully set forth herein.
     8         737. By reason of the conduct alleged herein, Defendants have violated
     9   N.C. Gen. Stat. § 75-1.1, et seq.
    10         738. Defendants entered into a contract, combination, or conspiracy in
    11   restraint of, or to monopolize, trade or commerce in the Packaged Tuna Market, a
    12   substantial part of which occurred within North Carolina.
    13         739. Defendants’ conduct was unfair, unconscionable, or deceptive within
    14   the conduct of commerce within the State of North Carolina.
    15         740. Defendants’ trade practices are and have been immoral, unethical,
    16   unscrupulous, and substantially injurious to consumers.
    17         741. Defendants’ conduct misled consumers, withheld material facts, and
    18   resulted in material misrepresentations to Plaintiff and members of the Class.
    19         742. Defendants’ unlawful conduct substantially affected North Carolina’s
    20   trade and commerce.
    21         743. Defendants’ conduct constitutes consumer-oriented deceptive acts or
    22   practices within the meaning of North Carolina law, which resulted in consumer
    23   injury and broad adverse impact on the public at large, and harmed the public
    24   interest of North Carolina consumers in an honest marketplace in which economic
    25   activity is conducted in a competitive manner.
    26         744. As a direct and proximate cause of Defendants’ unlawful conduct, the
    27   Plaintiffs and the members of the North Carolina Class have been injured in their
    28   business or property and are threatened with further injury.

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     1         745. Defendants wrongfully concealed the facts alleged herein giving rise
     2   to their unlawful conduct. Until July 23, 2015, the North Carolina Plaintiffs did
     3   not know and could not have learned or discovered by the exercise of due care
     4   about Defendants’ unlawful conduct.
     5         746. By reason of the foregoing, the Plaintiffs and the members of the
     6   North Carolina Class are entitled to seek all forms of relief, including treble
     7   damages under N.C. Gen. Stat. § 75-16.
     8                     FORTY-SECOND CLAIM FOR RELIEF
     9             Violation of the North Dakota Unfair Trade Practices Law,
                                  N.D. Cent. Code § 51-10, et seq.
    10
                      (By Plaintiffs Tya Hughes and Bonnie Vander Laan
    11                        On Behalf of the North Dakota Class)
    12         747. Plaintiffs Tya Hughes and Bonnie Vander Laan, on behalf of
    13   themselves and the North Dakota Class, repeat and reassert each of the allegations
    14   contained in paragraphs 1 to 363 as if fully set forth herein.
    15         748. By reason of the conduct alleged herein, Defendants have violated
    16   N.D. Cent. Code § 51-10-01, et seq.
    17         749. Defendants engaged in a deceptive trade practice with the intent to
    18   injure competitors and consumers through supra-competitive profits.
    19         750. Defendants established, maintained, or used a monopoly, or attempted
    20   to establish a monopoly, of trade or commerce in the Packaged Tuna Market, a
    21   substantial part of which occurred within North Dakota, for the purpose of
    22   controlling, fixing, or maintaining prices in the Packaged Tuna Market.
    23         751. Defendants’ conduct was unfair, unconscionable, or deceptive within
    24   the conduct of commerce within the State of North Dakota.
    25         752. Defendants’ conduct amounted to a fraudulent or deceptive act or
    26   practice committed by a supplier in connection with a consumer transaction.
    27         753. Defendants’ unlawful conduct substantially affected North Dakota’s
    28   trade and commerce.

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     1         754. Defendants’ conduct was willful.
     2         755. Defendants wrongfully concealed the facts alleged herein giving rise
     3   to their unlawful conduct. Until July 23, 2015, North Dakota Plaintiffs did not
     4   discover and could not have discovered by exercise of reasonable diligence
     5   Defendants’ unlawful conduct. Until July 23, 2015, North Dakota Plaintiffs had
     6   neither actual nor constructive notice of the facts alleged herein giving rise to
     7   Defendants’ unlawful conduct.
     8         756. As a direct and proximate cause of Defendants’ unlawful conduct, the
     9   Plaintiff and the members of the North Dakota Class have been injured in their
    10   business or property and are threatened with further injury.
    11         757. By reason of the foregoing, the Plaintiffs and the members of the
    12   North Dakota Class are entitled to seek all forms of relief, including damages and
    13   injunctive relief under N.D. Cent. Code § 51-10-06.
    14                       FORTY-THIRD CLAIM FOR RELIEF
    15                Violation of the Oregon Unlawful Trade Practices Act,
                                  Or. Rev. Stat. § 646.605, et seq.
    16
                        (By Plaintiffs Danielle Johnson and Liza Milliner
    17                            On Behalf of the Oregon Class)
    18         758. Plaintiffs Danielle Johnson and Liza Milliner, on behalf of themselves
    19   and the Oregon Class, repeat and reassert each of the allegations contained in
    20   paragraphs 1 to 363 as if fully set forth herein.
    21         759. By reason of the conduct alleged herein, Defendants have violated Or.
    22   Rev. Stat. § 646.608, et seq.
    23         760. Defendants have entered into a contract, combination, or conspiracy
    24   between two or more persons in restraint of, or to monopolize, trade or commerce
    25   in the Packaged Tuna Market, a substantial part of which occurred within Oregon.
    26         761. Defendants established, maintained, or used a monopoly, or attempted
    27   to establish a monopoly, of trade or commerce in the Packaged Tuna Market, for
    28   the purpose of excluding or limiting competition or controlling or maintaining

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     1   prices, a substantial part of which occurred within Oregon.
     2         762. Defendants’ conduct was conducted with the intent to deceive Oregon
     3   consumers regarding the nature of Defendants’ actions within the stream of Oregon
     4   commerce.
     5         763. Defendants’ conduct was unfair or deceptive within the conduct of
     6   commerce within the State of Oregon.
     7         764. Defendants’ conduct misled consumers, withheld material facts, and
     8   had a direct or indirect impact upon Plaintiff and class members’ ability to protect
     9   themselves.
    10         765. Defendants’ unlawful conduct substantially affected Oregon’s trade
    11   and commerce.
    12         766. As a direct and proximate cause of Defendants’ unlawful conduct, the
    13   Plaintiffs and the members of the Oregon Class have been injured in their business
    14   or property and are threatened with further injury.
    15         767. By reason of the foregoing, the Plaintiffs and the members of the
    16   Oregon Class are entitled to seek all forms of relief available under Or. Rev. Stat. §
    17   646.638.
    18         768. Defendants wrongfully concealed the facts alleged herein giving rise
    19   to their unlawful conduct. Until July 23, 2015, Oregon Plaintiffs did not discover
    20   and could not have discovered with reasonable diligence either the facts alleged or
    21   Defendants’ unlawful conduct.
    22         769. Pursuant to section 646.638 of the Oregon Unlawful Trade Practices
    23   Act, contemporaneously with the filing of this action, a copy of this Complaint is
    24   being served upon the Attorney General of Oregon.
    25                      FORTY-FOURTH CLAIM FOR RELIEF
    26               Violation of Rhode Island Deceptive Trade Practices Act,
                                  R.I. Gen Laws § 6-13.1-1, et seq.
    27
                     (By Plaintiffs Katherine McMahon and Elizabeth Perron
    28                         On Behalf of the Rhode Island Class)

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     1         770. Plaintiffs Katherine McMahon and Elizabeth Perron, on behalf of
     2   themselves and the Rhode Island Class, repeat and reassert each of the allegations
     3   contained in paragraphs 1 to 363 as if fully set forth herein.
     4         771. By reason of the conduct alleged herein, Defendants have violated
     5   R.I. Gen Laws § 6-13.1-1, et seq.
     6         772. Defendants engaged in an unfair or deceptive act or practice with the
     7   intent to injure competitors and consumers through supra-competitive profits.
     8         773. Defendants established, maintained, or used a monopoly, or attempted
     9   to establish a monopoly, of trade or commerce in the Packaged Tuna Market, a
    10   substantial part of which occurred within Rhode Island, for the purpose of
    11   controlling, fixing, or maintaining prices in the Packaged Tuna Market.
    12         774. Defendants’ conduct was unfair or deceptive within the conduct of
    13   commerce within the State of Rhode Island.
    14         775. Defendants’ conduct amounted to an unfair or deceptive act or
    15   practice committed by a supplier in connection with a consumer transaction.
    16         776. Defendants’ unlawful conduct substantially affected Rhode Island’s
    17   trade and commerce.
    18         777. Defendants’ conduct was willful.
    19         778. Defendants deliberately failed to disclose material facts to Plaintiffs
    20   and members of the Rhode Island Class concerning Defendants’ unlawful
    21   activities, including the horizontal conspiracy and artificially-inflated prices for
    22   Packaged Tuna.
    23         779. Defendants’ deception, including its affirmative misrepresentations
    24   and/or omissions concerning the price of Packaged Tuna, constitutes information
    25   necessary to Plaintiffs and members of the Rhode Island Class relating to the cost
    26   of Packaged Tuna purchased.
    27         780. Plaintiffs and members of the Rhode Island class purchased goods,
    28   namely Packaged Tuna, primarily for personal, family, or household purposes.

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     1          781. As a direct and proximate cause of Defendants’ unlawful conduct, the
     2   Plaintiffs and the members of the Rhode Island Class have been injured in their
     3   business or property and are threatened with further injury.
     4          782. Defendants wrongfully concealed the facts alleged herein giving rise
     5   to their unlawful conduct. Until July 23, 2015, Rhode Island Plaintiffs could not,
     6   in the exercise of reasonable diligence, have discovered the alleged facts or
     7   Defendants’ wrongful conduct.
     8          783. By reason of the foregoing, Plaintiffs and the members of the Rhode
     9   Island Class are entitled to seek all forms of relief, including actual damages or
    10   $200 per violation, whichever is greater, and injunctive relief and punitive
    11   damages under R.I. Gen Laws § 6-13.1-5.2.
    12                       FORTY-FIFTH CLAIM FOR RELIEF
    13            Violation of the South Carolina Unfair Trade Practices Act,
                                 S.C. Code Ann. § 39-5-10 et seq.
    14         (By Plaintiff Gay Birnbaum on Behalf of the South Carolina Class)
    15          784. Plaintiff Gay Birnbaum, on behalf of herself and the South Carolina
    16   Class, repeats and reasserts each of the allegations contained in paragraphs 1 to
    17   363 as if fully set forth herein.
    18          785. Section 39-5-10 of the South Caroline Code prohibits “unfair methods
    19   of competition and unfair or deceptive acts or practices in the conduct of any trade
    20   or commerce.”
    21          786. Plaintiff Gay Birnbaum purchased Packaged Tuna from Defendants
    22   within the State of South Carolina during the Class Period.
    23          787. Defendants engaged in an unfair or deceptive act or practice with the
    24   intent to injure competitors and consumers through supra-competitive profits.
    25          788. Defendants established, maintained, or used a monopoly, or attempted
    26   to establish a monopoly, of trade or commerce in the Packaged Tuna Market, a
    27   substantial part of which occurred within South Carolina, for the purpose of
    28   controlling, fixing, or maintaining prices in the Packaged Tuna Market.

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     1         789. Defendants’ conduct was unfair or deceptive within the conduct of
     2   commerce within the State of South Carolina.
     3         790. Defendants’ unlawful conduct substantially affected South Carolina’s
     4   trade and commerce.
     5         791. Defendants’ conduct was willful.
     6         792. Defendants deliberately failed to disclose material facts to Plaintiff
     7   and members of the South Carolina Class concerning Defendants’ unlawful
     8   activities, including the horizontal conspiracy and artificially-inflated prices for
     9   Packaged Tuna. Defendants’ wrongful concealment of the facts alleged herein
    10   giving rise to the unlawful conduct meant that such facts were not and could not
    11   have been reasonably discovered by the diligence of Plaintiffs until July 23, 2015.
    12         793. Defendants’ deception, including its affirmative misrepresentations
    13   and/or omissions concerning the price of Packaged Tuna, constitutes information
    14   necessary to Plaintiff and members of the South Carolina Class relating to the cost
    15   of Packaged Tuna purchased.
    16         794. As a direct and proximate cause of Defendants’ unlawful conduct, the
    17   Plaintiffs and the members of the South Carolina Class have been ascertainably
    18   injured in their business or property and are threatened with further injury.
    19         795. By reason of the foregoing, Plaintiff and the members of the South
    20   Carolina Class are entitled to seek all forms of relief, including treble damages or
    21   and reasonable attorneys’ fees and costs under S.C. Code Ann. § 39-5-140
    22         796. Pursuant to S.C. Code Ann. § 39-5-140(b), a copy of this complaint is
    23   being mailed to the South Carolina Attorney General in conjunction with its filing.
    24                       FORTY-SIXTH CLAIM FOR RELIEF
    25              Violation of the South Dakota Deceptive Trade Practices
               and Consumer Protection Law, S.D. Codified Laws § 37-24, et seq.
    26
              (By Plaintiff Casey Christensen On Behalf of the South Dakota Class)
    27
               797. Plaintiff Casey Christensen, on behalf of herself and the South Dakota
    28

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     1   Class, repeats and reasserts each of the allegations contained in paragraphs 1 to
     2   363 as if fully set forth herein.
     3          798. By reason of the conduct alleged herein, Defendants have violated
     4   S.D. Codified Laws § 37-24-6.
     5          799. Defendants engaged in a deceptive trade practice with the intent to
     6   injure competitors and consumers through supra-competitive profits.
     7          800. Defendants established, maintained, or used a monopoly, or attempted
     8   to establish a monopoly, of trade or commerce in the Packaged Tuna Market, a
     9   substantial part of which occurred within South Dakota, for the purpose of
    10   controlling, fixing, or maintaining prices in the Packaged Tuna Market.
    11          801. Defendants’ conduct was unfair, unconscionable, or deceptive within
    12   the conduct of commerce within the State of South Dakota.
    13          802. Defendants’ conduct amounted to a fraudulent or deceptive act or
    14   practice committed by a supplier in connection with a consumer transaction.
    15          803. Defendants’ unlawful conduct substantially affected South Dakota’s
    16   trade and commerce.
    17          804. Defendants’ conduct was willful.
    18          805. As a direct and proximate cause of Defendants’ unlawful conduct, the
    19   Plaintiff and the members of the South Dakota Class have been injured in their
    20   business or property and are threatened with further injury.
    21          806. Defendants acted affirmatively to wrongfully conceal facts alleged
    22   herein giving rise to their unlawful conduct. Until July 23, 2015, South Dakota
    23   Plaintiffs had no actual or constructive notice of these concealed facts and did not
    24   discover and could not have discovered with reasonable diligence Defendants’
    25   unlawful conduct.
    26          807. By reason of the foregoing, Plaintiff and the members of the South
    27   Dakota Class are entitled to seek all forms of relief, including actual damages and
    28   injunctive relief under S.D. Codified Laws § 37-24-31.

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     1
     2                     FORTY-SEVENTH CLAIM FOR RELIEF
                       Violation of the Utah Consumer Sales Practices Act,
     3                          Utah Code Ann. §§ 13-11-1, et seq.
     4      (By Plaintiffs Vivek Dravid and Tina Grant On Behalf of the Utah Class)
     5          808. Plaintiffs Vivek Dravid and Tina Grant, on behalf of themselves and
     6   the Utah Class, repeat and reassert each of the allegations contained in paragraphs
     7   1 to 363 as if fully set forth herein.
     8          809. By reason of the conduct alleged herein, Defendants have violated
     9   Utah Code Ann. §§ 13-11-1, et seq.
    10          810. Defendants entered into a contract, combination, or conspiracy
    11   between two or more persons in restraint of, or to monopolize, trade or commerce
    12   in the Packaged Tuna market, a substantial part of which occurred within Utah.
    13          811. Defendants are suppliers within the meaning of Utah Code Ann. §§
    14   13-11-3.
    15          812. Defendants established, maintained, or used a monopoly, or attempted
    16   to establish a monopoly, of trade or commerce in the Relevant Markets, a
    17   substantial part of which occurred within Utah, for the purpose of excluding
    18   competition or controlling, fixing, or maintaining prices in the Packaged Tuna
    19   Market.
    20          813. Defendants’ conduct was unfair, unconscionable, or deceptive within
    21   the conduct of commerce within the State of Utah.
    22          814. Defendants’ conduct and/or practices were unconscionable and were
    23   undertaken in connection with consumer transactions.
    24          815. Defendants knew or had reason to know that their conduct was
    25   unconscionable.
    26          816. Defendants’ conduct misled consumers, withheld material facts, and
    27   resulted in material misrepresentations to Plaintiff and members of the Class.
    28          817. Defendants’ unlawful conduct substantially affected Utah’s trade and

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     1   commerce.
     2          818. As a direct and proximate cause of Defendants’ unlawful conduct, the
     3   Plaintiffs and the members of the Utah Class have been injured in their business or
     4   property and are threatened with further injury.
     5          819. Defendants wrongfully concealed the facts alleged herein giving rise
     6   to the their unlawful conduct. Until July 23, 2015, Utah Plaintiffs did not discover
     7   and could not have reasonably discovered their claim.
     8          820. By reason of the foregoing, the Plaintiffs and the members of the Utah
     9   Class is entitled to seek all forms of relief, including declaratory judgment,
    10   injunctive relief, and ancillary relief, pursuant to Utah Code Ann. §§ 13-11-19(5)
    11   and 13-11-20.
    12                      FORTY-EIGHTH CLAIM FOR RELIEF
                            Violation of the Utah Unfair Practices Act,
    13
                                 Utah Code All. §§ 13-5-1, et seq.
    14      (By Plaintiffs Vivek Dravid and Tina Grant On Behalf of the Utah Class)
    15          821. Plaintiffs Vivek Dravid and Tina Grant, on behalf of themselves and
    16   the Utah Class, repeat and reassert each of the allegations contained in paragraphs
    17   1 to 363 as if fully set forth herein.
    18          822. By reason of the conduct alleged herein, Defendants have violated
    19   Utah Code Ann. §§ 13-5-1, et seq.
    20          823. Defendants entered into a contract, combination, or conspiracy
    21   between two or more persons in restraint of, or to monopolize, trade or commerce
    22   in the Packaged Tuna market, a substantial part of which occurred within Utah.
    23          824. Defendants established, maintained, or used a monopoly, or attempted
    24   to establish a monopoly, of trade or commerce in the Relevant Markets, a
    25   substantial part of which occurred within Utah, for the purpose of excluding
    26   competition or controlling, fixing, or maintaining prices in the Packaged Tuna
    27   Market.
    28          825. Defendants’ conduct caused or was intended to cause unfair methods

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     1   of competition within the State of Utah.
     2         826. Defendants’ unlawful conduct substantially affected Utah’s trade and
     3   commerce.
     4         827. As a direct and proximate cause of Defendants’ unlawful conduct, the
     5   Plaintiffs and the members of the Utah Class have been injured in their business or
     6   property and are threatened with further injury.
     7         828. Defendants wrongfully concealed the facts alleged herein giving rise
     8   to the their unlawful conduct. Until July 23, 2015, Utah Plaintiffs did not discover
     9   and could not have reasonably discovered their claim.
    10         829. By reason of the foregoing, the Plaintiffs and the members of the Utah
    11   Class is entitled to seek all forms of relief, including actual damages or $2000 per
    12   Utah Class member, whichever is greater, plus reasonable attorney’s fees under
    13   Utah Code Ann. §§ 13-5-14, et seq.
    14                       FORTY-NINTH CLAIM FOR RELIEF
    15                   Violation of the Vermont Consumer Fraud Act,
                                Vt. Stat. Ann. tit. 9, §§ 2453, et seq.
    16
                      (By Plaintiffs Stephanie Gipson and Jennifer A. Nelson
    17                           On Behalf of the Vermont Class)
    18         830. Plaintiffs Stephanie Gipson and Jennifer A. Nelson, on behalf of
    19   themselves and the Vermont Class, repeat and reassert each of the allegations
    20   contained in paragraphs 1 to 363 as if fully set forth herein.
    21         831. Title 9 of the Vermont Statutes generally governs commerce and trade
    22   in Vermont. Chapter 63 thereof governs consumer protection and prohibits, inter
    23   alia, unfair methods competition, unfair and deceptive acts and practices, and
    24   antitrust violations such as restraints of trade and monopolization. Vt. Stat. Ann.
    25   Tit. 9 § 2453(a).
    26         832. One such unfair method of competition is through collusion, defined
    27   as agreeing, contracting, combining or conspiring to engage in price fixing, market
    28   division and/or allocation of goods, constituting unfair competition in the

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     1   commerce of Packaged Tuna. Vt. Stat. Ann. Tit. 9, § 2451a(h).
     2          833. Plaintiffs Stephanie Gipson and Jennifer A. Nelson purchased
     3   Packaged Tuna within the State of Vermont during the Class Period. But for
     4   Defendants’ conduct set forth herein, the price per unit of Packaged Tuna would
     5   have been lower, in an amount to be determined at trial.
     6          834. Under Vermont law, indirect purchasers have standing under the
     7   antitrust provisions of the Vermont Statutes to maintain an action based on the
     8   facts alleged in this Complaint. Vt. Stat. Ann. Tit. 9, § 2465(b).
     9          835. Defendants competed unfairly and colluded by meeting to fix prices,
    10   divide markets, and otherwise restrain trade as set forth herein, in violation of Vt.
    11   Stat. Ann. Tit. 9, § 2453, et seq.
    12          836. Defendants wrongfully concealed the facts alleged herein giving rise
    13   to their unlawful conduct. As a result, the objective facts necessary to put the
    14   Vermont Plaintiffs and the Class on notice of such facts was not available until
    15   July 23, 2015. As a result, the period prior to the discovery of this unlawful
    16   conduct should be excluded in determining the time limited for the commencement
    17   of this action.
    18          837. Plaintiffs and members of the Class were injured with respect to
    19   purchases of Packaged Tuna in Vermont and are entitled to all forms of relief,
    20   including actual damages, treble damages, and reasonable attorneys’ fees.
    21                         FIFTIETH CLAIM FOR RELIEF
    22                 Violation of the Virginia Consumer Protection Act,
                                Va. Code Ann. § 59.1-196, et seq.
    23
           (By Plaintiffs Andrew Gorman, Marissa Jacobus, and Elizabeth Twitchell
    24                          On Behalf of the Virginia Class)
    25          838. Plaintiff Andrew Gorman, Marissa Jacobus, and Elizabeth Twitchell,
    26   on behalf of themselves and the Virginia Class, repeat and reassert each of the
    27   allegations contained in paragraphs 1 to 363 as if fully set forth herein.
    28          839. By reason of the conduct alleged herein, Defendants have violated Va.

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     1   Code Ann. § 59.1-196, et seq.
     2         840. Defendants entered into a contract, combination, or conspiracy
     3   between two or more persons in restraint of, or to monopolize, trade or commerce
     4   in the Packaged Tuna market, a substantial part of which occurred within Virginia.
     5         841. Defendants established, maintained, or used a monopoly, or attempted
     6   to establish a monopoly, of trade or commerce in the Packaged Tuna Market, a
     7   substantial part of which occurred within Virginia, for the purpose of excluding
     8   competition or controlling, fixing, or maintaining prices in the Packaged Tuna
     9   Market.
    10         842. Defendants’ conduct was unfair, unconscionable, or deceptive within
    11   the conduct of commerce within the State of Virginia.
    12         843. Defendants’ conduct amounted to a fraudulent act or practice
    13   committed by a supplier in connection with a consumer transaction.
    14         844. Defendants’ unlawful conduct substantially affected Virginia’s trade
    15   and commerce.
    16         845. Defendants’ conduct was willful.
    17         846. As a direct and proximate cause of Defendants’ unlawful conduct, the
    18   Plaintiffs and the members of the Virginia Class have been injured in their business
    19   or property and are threatened with further injury.
    20         847. Defendants wrongfully concealed the facts alleged herein giving rise
    21   to their unlawful conduct. Until July 23, 2015, Defendants concealed the existence
    22   of their unlawful conduct through their affirmative acts of misrepresentation with
    23   the intent to debar and deter the Virginia Plaintiffs and Class from discovering the
    24   facts alleged giving rise to Defendants’ unlawful conduct. The unlawful nature of
    25   Defendants’ conduct is of character which involved moral turpitude. As a result,
    26   the time of Defendants’ obstruction should not be counted as any part of the period
    27   within which the action must brought.
    28         848. By reason of the foregoing, the Plaintiff and the members of the

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     1   Virginia Class is entitled to seek all forms of relief, including treble damages or
     2   $1000 per violation, whichever is greater, plus reasonable attorneys’ fees and costs
     3   under Va. Code Ann. § 59.1-204(A), et seq.
     4                        FIFTY-FIRST CLAIM FOR RELIEF
              Violation of the West Virginia Consumer Credit and Protection Act,
     5                          W. Va. Code § 46A-6-101, et seq.
     6                   (By Plaintiffs Diana Mey and Jade Canterbury
     7                        On Behalf of the West Virginia Class)
     8         849. Plaintiffs Diana Mey and Jade Canterbury, on behalf of themselves
     9   and the West Virginia Class, repeat and reassert each of the allegations contained
    10   in paragraphs 1 to 363 as if fully set forth herein.
    11         850. The violations of federal antitrust law set forth above also constitute
    12   violations of Sections 46A-6-101, et seq. of the West Virginia Code.
    13         851. During the Class Period, Defendants and their co-conspirators
    14   engaged in a continuing contract, combination or conspiracy in unreasonable
    15   restraint of trade and commerce and other anticompetitive conduct alleged above in
    16   violation of W. Va. Code § 46A-6-101, et seq.
    17         852. Defendants’ anticompetitive acts described above were knowing,
    18   willful and constitute violations or flagrant violations of the West Virginia
    19   Antitrust Act and the West Virginia Consumer Credit and Protection Act.
    20         853. As a direct and proximate result of Defendants’ unlawful conduct,
    21   Plaintiff and members of the West Virginia Class have been injured in their
    22   business and property in that they paid more for Packaged Tuna than they
    23   otherwise would have paid in the absence of Defendants’ unlawful conduct. As a
    24   result of Defendants’ violation of Sections 46A-6-104 of the West Virginia
    25   Consumer Credit and Protection Act, Plaintiffs and members of the West Virginia
    26   Class seek actual damages or $200 per violation, whichever is greater, pursuant to
    27   Section 46A-6-106 of the West Virginia Code.
    28         854. Pursuant to Section 46A-6-106(c) of the West Virginia Code, Plaintiff

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     1   Jade Canterbury provided notice to Defendants in the manner specified under the
     2   Code on September 25, 2015, which was twenty (20) days or more prior to the
     3   addition of this claim. Plaintiff has not received an offer to cure as of the date of
     4   this filing.
     5          855. Defendants wrongfully concealed the facts alleged herein giving rise
     6   to their unlawful conduct. Until July 23, 2015, West Virginia Plaintiffs did not
     7   discover and could not in the exercise of reasonable diligence have discovered the
     8   alleged concealed facts or Defendants’ wrongful conduct.
     9                               UNJUST ENRICHMENT
    10          856. The following Fifty-second through Seventy-seventh Claims for
    11   Relief are pleaded in the alternative to each of the other claims in this Complaint
    12   save the Sherman Act claim and the Cartwright Act claim.
    13
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     1                          FIFTY-SECOND CLAIM FOR RELIEF
                  (By Plaintiffs Ana Gabriela Felix Garcia, Tina Grant, Tya Hughes,
     2
                   John Pels, and Erica Rodriguez On Behalf of the Arizona Class)
     3
                  857. Plaintiffs Ana Gabriela Felix Garcia, Tina Grant, Tya Hughes, John
     4
         Pels, and Erica Rodriguez, on behalf of themselves and the Arizona Class, repeat
     5
         and reassert each of the allegations contained in paragraphs 1 to 363 as if fully set
     6
         forth herein.
     7
                  858. Plaintiffs Ana Gabriela Felix Garcia, Tina Grant, Tya Hughes, John
     8
         Pels, and Erica Rodriguez purchased Packaged Tuna within the State of Arizona
     9
         during the Class Period. But for Defendants’ conduct set forth herein, the price per
    10
         unit of Packaged Tuna would have been lower, in an amount to be determined at
    11
         trial.
    12
                  859. Defendants unlawfully overcharged end payers, who made purchases
    13
         of Defendants’ Packaged Tuna in Arizona at prices that were more than they would
    14
         have been but for Defendants’ actions.
    15
                  860. Defendants have been enriched by revenue resulting from unlawful
    16
         overcharges for Defendants’ Packaged Tuna.
    17
                  861. Plaintiffs and Class members have been impoverished by the
    18
         overcharges for Defendants’ Packaged Tuna resulting from Defendants’ unlawful
    19
         conduct.
    20
                  862. Defendants wrongfully concealed the facts alleged herein giving rise
    21
         to their unlawful conduct preventing Arizona plaintiffs from reasonably
    22
         discovering the claim during the limitations period. This cause of action did not
    23
         accrue until July 23, 2015 when the plaintiffs knew or in the exercise of reasonable
    24
         diligence should have known about the Defendants' unlawful conduct.
    25
                  863. Defendants’    enrichment   and    Plaintiffs’   impoverishment    are
    26
         connected. Defendants have paid no consideration to any other person for any
    27
         benefits they received from Plaintiffs and Class Members.
    28

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     1          864. There is no justification for Defendants’ receipt of the benefits
     2   causing their enrichment and Plaintiffs’ and Class members’ impoverishment,
     3   because Plaintiffs and Class members paid anticompetitive prices that inured to
     4   Defendants’ benefit, and it would be inequitable for Defendants to retain any
     5   revenue gained from their unlawful overcharges.
     6          865. Plaintiffs and Class members have no remedy at law.
     7                       FIFTY-THIRD CLAIM FOR RELIEF
     8    (In the Alternative, By Plaintiffs Mary Hudson, Tya Hughes, Amy Jackson,
                        Michael Juetten, Rick Musgrave, and John Pels
     9
                                On Behalf of the California Class)
    10
                866. Plaintiffs Mary Hudson, Tya Hughes, Amy Jackson, Michael Juetten,
    11
         Rick Musgrave, and John Pels for themselves and on behalf of the California
    12
         Class, repeat and reallege each of the allegations contained in paragraphs 1 to 363
    13
         as if fully set forth herein.
    14
                867. Plaintiffs Mary Hudson, Tya Hughes, Amy Jackson, Michael Juetten,
    15
         Rick Musgrave, and John Pels purchased Packaged Tuna within the State of
    16
         California during the Class Period. But for Defendants’ conduct set forth herein,
    17
         the price per unit of Packaged Tuna would have been lower, in an amount to be
    18
         determined at trial.
    19
                868. Defendants unlawfully overcharged end payers, who made purchases
    20
         of Defendants’ Packaged Tuna in California at prices that were more than they
    21
         would have been but for Defendants’ actions.
    22
                869. Defendants wrongfully concealed the facts alleged herein giving rise
    23
         to their unlawful conduct preventing California Plaintiffs in the exercise of due
    24
         diligence from uncovering the unlawful conduct.        The applicable statute of
    25
         limitations is tolled until July 23, 2015 until the Plaintiffs, by the exercise of
    26
         reasonable diligence, should have discovered it.
    27
                870. Plaintiffs and Class members have conferred an economic benefit
    28

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     1   upon Defendants, in the nature of revenue resulting from unlawful overcharges to
     2   the economic detriment of Plaintiffs and Class members.
     3                       FIFTY-FOURTH CLAIM FOR RELIEF
     4       (By Plaintiffs Ana Gabriela Felix Garcia, Kaitlyn Rooney, and Andrew
                      Gorman On Behalf of the District of Columbia Class)
     5
     6         871. Plaintiffs Ana Gabriela Felix Garcia, Kaitlyn Rooney, and Andrew

     7   Gorman for themselves and on behalf of the District of Columbia Class, repeat and

     8   reallege each of the allegations contained in paragraphs 1 to 363 as if fully set forth

     9   herein.

    10         872. Plaintiffs Ana Gabriela Felix Garcia, Kaitlyn Rooney, and Andrew

    11   Gorman purchased Packaged Tuna within the District of Columbia during the

    12   Class Period. But for Defendants’ conduct set forth herein, the price per unit of

    13   Packaged Tuna would have been lower, in an amount to be determined at trial.

    14         873. Defendants retained the benefits bestowed upon them under

    15   inequitable and unjust circumstances at the expense of Plaintiffs and Class

    16   Members.

    17         874. Defendants unlawfully overcharged end payers, who made purchases

    18   of Defendants’ Packaged Tuna in the District of Columbia at prices that were more

    19   than they would have been but for Defendants’ actions.

    20         875. Plaintiffs and Class members have conferred an economic benefit

    21   upon Defendants, in the nature of revenue resulting from unlawful overcharges to

    22   the economic detriment of Plaintiffs and Class members.

    23         876. Defendants accepted and retained the benefit bestowed upon them

    24   under inequitable and unjust circumstances arising from unlawful overcharges to

    25   Plaintiffs and Class Members.

    26         877. Defendants wrongfully concealed the facts alleged herein giving rise

    27   to the unlawful conduct by the affirmative actions described herein which were

    28   designed to prevent the discovery of such unlawful conduct and the Plaintiffs in the


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     1   District of Columbia did not discover and could not discover the unlawful conduct
     2   prior to July 23, 2015.
     3          878. Under the circumstances, it would be inequitable and unjust for
     4   Defendants to retain such benefits.
     5                             FIFTY-FIFTH CLAIM FOR RELIEF
     6    (In the Alternative, By Plaintiff Gloria Emery on Behalf of the Hawaii Class)
     7          879. Plaintiff Gloria Emery for herself and on behalf of the Hawaii Class,
     8   repeats and realleges each of the allegations contained in paragraphs 1 to 363 as if
     9   fully set forth herein.
    10          880. Plaintiff Gloria Emery purchased Packaged Tuna within the State of
    11   Hawaii during the Class Period. But for Defendants’ conduct set forth herein, the
    12   price per unit of Packaged Tuna would have been lower, in an amount to be
    13   determined at trial.
    14          881. Defendants retained the benefits bestowed upon them under
    15   inequitable and unjust circumstances at the expense of Plaintiff and Class
    16   Members.
    17          882. Defendants unlawfully overcharged end payers, who made purchases
    18   of Defendants’ Packaged Tuna in the State of Hawaii at prices that were more than
    19   they would have been but for Defendants’ actions.
    20          883. Plaintiff and Class members have conferred an economic benefit upon
    21   Defendants, in the nature of revenue resulting from unlawful overcharges to the
    22   economic detriment of Plaintiffs and Class members.
    23          884. Defendants accepted and retained the benefit bestowed upon them
    24   under inequitable and unjust circumstances arising from unlawful overcharges to
    25   Plaintiff and Class Members.
    26          885. Defendants wrongfully and continually concealed the facts alleged
    27   herein giving rise to their unlawful conduct with the intent to deceive Plaintiff.
    28   Plaintiff did not know and could not have known about Defendants' unlawful

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     1   conduct until July 23, 2015.
     2         886. Under the circumstances, it would be inequitable and unjust for
     3   Defendants to retain such benefits.
     4         887. In the absence of other applicable claims for relief, Plaintiff Gloria
     5   Emery and the Hawaii Class have no adequate remedy at law against Defendants.
     6                        FIFTY-SIXTH CLAIM FOR RELIEF
     7                   (By Plaintiffs Carla Lown and Jennifer A. Nelson
                                   On Behalf of the Iowa Class)
     8
     9         888. Plaintiffs Carla Lown and Jennifer A. Nelson, on behalf of themselves

    10   and the Iowa Class, repeat and reassert each of the allegations contained in

    11   paragraphs 1 to 363 as if fully set forth herein.

    12         889. Plaintiffs Carla Lown and Jennifer A. Nelson purchased Packaged

    13   Tuna within the State of Iowa during the Class Period. But for Defendants’

    14   conduct set forth herein, the price per unit of Packaged Tuna would have been

    15   lower, in an amount to be determined at trial.

    16         890. Defendants unlawfully overcharged end payers, who made purchases

    17   of Defendants’ Packaged Tuna in Iowa at prices that were more than they would

    18   have been but for Defendants’ actions.

    19         891. Defendants have been enriched by revenue resulting from unlawful

    20   overcharges for Defendants’ Packaged Tuna, which revenue resulted from

    21   anticompetitive prices paid by Plaintiffs, which inured to Defendants’ benefit.

    22         892. Defendants’ enrichment has occurred at the expense of Plaintiffs and

    23   Class members.

    24         893. Defendants wrongfully concealed the facts alleged herein giving rise

    25   to the unlawful conduct.       Defendants’ unlawful conduct was not reasonably

    26   discovered until July 23, 2015.

    27         894. It is against equity and good conscience for Defendants to be

    28   permitted to retain the revenue resulting from their unlawful overcharges.


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     1                      FIFTY-SEVENTH CLAIM FOR RELIEF
                         (By Plaintiffs Brian Depperschmidt and Lisa Hall
     2
                                  On Behalf of the Kansas Class)
     3
               895. Plaintiffs Brian Depperschmidt and Lisa Hall, on behalf of themselves
     4
         and the Kansas Class, repeat and reassert each of the allegations contained in
     5
         paragraphs 1 to 363 as if fully set forth herein.
     6
               896. Plaintiffs Brian Depperschmidt and Lisa Hall purchased Packaged
     7
         Tuna within the State of Kansas during the Class Period. But for Defendants’
     8
         conduct set forth herein, the price per unit of Packaged Tuna would have been
     9
         lower, in an amount to be determined at trial.
    10
               897. Defendants unlawfully overcharged end payers, who made of
    11
         Defendants’ Packaged Tuna in Kansas at prices that were more than they would
    12
         have been but for Defendants’ actions.
    13
               898. Plaintiffs and Class members have conferred an economic benefit
    14
         upon Defendants, in the nature of revenue resulting from unlawful overcharges to
    15
         the economic detriment of Plaintiffs and Class members.
    16
               899. Defendants retained the benefits bestowed upon them under unjust
    17
         circumstances arising from unlawful overcharges to Plaintiffs and Class Members.
    18
               900. Defendants were unjustly enriched at the expense of Plaintiffs and
    19
         Class members.
    20                       FIFTY-EIGHTH CLAIM FOR RELIEF
    21          (By Plaintiffs Scott Caldwell, Sundé Daniels, and Elizabeth Perron
    22                         On Behalf of the Massachusetts Class)
    23         901. Plaintiffs Scott Caldwell, Sundé Daniels, and Elizabeth Perron, on
    24   behalf of themselves and the Massachusetts Class, repeat and reassert each of the
    25   allegations contained in paragraphs 1 to 363 as if fully set forth herein.
    26         902. Plaintiffs Scott Caldwell, Sundé Daniels, and Elizabeth Perron
    27   purchased Packaged Tuna within the State of Massachusetts during the Class
    28   Period. But for Defendants’ conduct set forth herein, the price per unit of Packaged


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     1   Tuna would have been lower, in an amount to be determined at trial.
     2         903. Defendants unlawfully overcharged end payers, who made purchases
     3   of Defendants’ Packaged Tuna in Massachusetts at prices that were more than they
     4   would have been but for Defendants’ actions.
     5         904. Plaintiffs and Class members have conferred an economic benefit
     6   upon Defendants, in the nature of revenue resulting from unlawful overcharges to
     7   the economic detriment of Plaintiffs and Class members.
     8         905. Defendants were aware of or appreciated the benefit conferred upon
     9   them by Plaintiffs and Class members.
    10         906. Defendants wrongfully concealed the facts alleged herein giving rise
    11   to their unlawful conduct. Until July 23, 2015, Defendants concealed the existence
    12   of their unlawful conduct through the affirmative actions alleged herein with an
    13   intent to deceive the Massachusetts Plaintiffs and Class as to the nature of their
    14   actions. Plaintiffs did not know and reasonably could not have known the facts
    15   alleged giving rise to Defendants’ unlawful conduct. As a result, this cause of
    16   action did not accrue until July 23, 2015.
    17         907. Under the circumstances, it would be inequitable for Defendants to
    18   retain such benefits without compensating Plaintiffs and Class members. Fairness
    19   and good conscience require that Defendants not be permitted to retain the revenue
    20   resulting from their unlawful overcharges at the expense of Plaintiffs and Class
    21   members.
    22                       FIFTY-NINTH CLAIM FOR RELIEF
    23          (By Plaintiffs Louise Adams, Jessica Decker, and Barbara Olson
                                On Behalf of the Michigan Class)
    24
    25         908. Plaintiffs Louise Adams, Jessica Decker, and Barbara Olson, on

    26   behalf of themselves and the Michigan Class, repeat and reassert each of the

    27   allegations contained in paragraphs 1 to 363 as if fully set forth herein.

    28         909. Plaintiffs Louise Adams, Jessica Decker, and Barbara Olson


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     1   purchased Packaged Tuna within the State of Michigan during the Class Period.
     2   But for Defendants’ conduct set forth herein, the price per unit of Packaged Tuna
     3   would have been lower, in an amount to be determined at trial.
     4         910. Defendants unlawfully overcharged end payers, who made purchases
     5   of Defendants’ Packaged Tuna in Michigan at prices that were more than they
     6   would have been but for Defendants’ actions.
     7         911. Plaintiffs and Class members have conferred a direct economic
     8   benefit upon Defendants, in the nature of revenue resulting from unlawful
     9   overcharges paid by Plaintiffs and the Class members and accepted and retained by
    10   Defendants, to the economic detriment of Plaintiffs and Class members.
    11         912. Defendants retained the benefits bestowed upon them under unjust
    12   circumstances arising from unlawful overcharges to Plaintiffs and Class members.
    13         913. Defendants wrongfully concealed the facts alleged herein giving rise
    14   to the unlawful conduct and through their affirmative arrangements and
    15   contrivances preventing discovery of such unlawful conduct until July 23, 2015.
    16         914. Defendants were unjustly enriched at the expense of Plaintiffs and
    17   Class members.
    18                          SIXTIETH CLAIM FOR RELIEF
    19                   (By Plaintiffs Laura Childs and Katherine Larson
                                 On Behalf of the Minnesota Class)
    20
    21         915. Plaintiffs Laura Childs and Katherine Larson, on behalf of themselves

    22   and the Minnesota Class, repeat and reassert each of the allegations contained in

    23   paragraphs 1 to 363 as if fully set forth herein.

    24         916. Plaintiffs Laura Childs and Katherine Larson purchased Packaged

    25   Tuna within the State of Minnesota during the Class Period. But for Defendants’

    26   conduct set forth herein, the price per unit of Packaged Tuna would have been

    27   lower, in an amount to be determined at trial.

    28         917. Defendants unlawfully overcharged end payers, who made purchases


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     1   of Defendants’ Packaged Tuna in Minnesota at prices that were more than they
     2   would have been but for Defendants’ actions.
     3          918. Defendants appreciated and knowingly accepted the benefits
     4   bestowed upon them by Plaintiff and Class members. Defendants have paid no
     5   consideration to any other person for any of the benefits they have received from
     6   Plaintiffs and Class members.
     7          919. Defendants wrongfully concealed the facts alleged herein giving rise
     8   to the unlawful conduct through the fraudulent and intentional acts described
     9   herein and Minnesota Plaintiffs could not have reasonable discovered the
    10   concealment of Defendants' unlawful conduct until July 23, 2015.
    11          920. It is inequitable for Defendants to accept and retain the benefits
    12   received without compensating Plaintiff and Class members.
    13                        SIXTY-FIRST CLAIM FOR RELIEF
    14         (By Plaintiff Christopher Todd On Behalf of the Mississippi Class)
    15          921. Plaintiff Christopher Todd, on behalf of himself and the Mississippi
    16   Class, repeats and reasserts each of the allegations contained in paragraphs 1 to
    17   363 as if fully set forth herein.
    18          922. Plaintiff Christopher Todd purchased Packaged Tuna within the State
    19   of Mississippi during the Class Period. But for Defendants’ conduct set forth
    20   herein, the price per unit of Packaged Tuna would have been lower, in an amount
    21   to be determined at trial.
    22          923. Defendants unlawfully overcharged end payers, who made purchases
    23   of Defendants’ Packaged Tuna in Mississippi at prices that were more than they
    24   would have been but for Defendants’ actions.
    25          924. Defendants wrongfully concealed the facts alleged herein giving rise
    26   to their unlawful conduct. As alleged herein, the Defendants actively concealed
    27   their unlawful conduct which prevented Mississippi plaintiffs from reasonably
    28   discovering the claim during the limitations period. This cause of action did not


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     1   accrue until July 23, 2015 when the Plaintiffs knew, or in the exercise of
     2   reasonable diligence, should have known about the Defendants' unlawful conduct.
     3         925. Defendants retained the benefit of overcharges received on the sales
     4   of Defendants’ Packaged Tuna, which in equity and good conscience belong to
     5   Plaintiffs and Class members on account of Defendants’ anticompetitive conduct.
     6                      SIXTY-SECOND CLAIM FOR RELIEF
     7     (By Plaintiffs John Frick, Steven Kratky, Amber Sartori, and Rebecca Lee
                            Simoens On Behalf of the Missouri Class)
     8
               926. Plaintiffs John Frick, Steven Kratky, Amber Sartori, and Rebecca Lee
     9
         Simoens, on behalf of themselves and the Missouri Class, repeat and reassert each
    10
         of the allegations contained in paragraphs 1 to 363 as if fully set forth herein.
    11
               927. Plaintiffs John Frick, Steven Kratky, Amber Sartori, and Rebecca Lee
    12
         Simoens purchased Packaged Tuna within the State of Missouri during the Class
    13
         Period.    But for Defendants’ conduct set forth herein, the price per unit of
    14
         Packaged Tuna would have been lower, in an amount to be determined at trial.
    15
               928. Defendants unlawfully overcharged end payers, who made purchases
    16
         of Defendants’ Packaged Tuna in Missouri at prices that were more than they
    17
         would have been but for Defendants’ actions.
    18
               929. Plaintiffs and Missouri Class members have conferred an economic
    19
         benefit upon Defendants, in the nature of revenue resulting from unlawful
    20
         overcharges to the economic detriment of Plaintiffs and Missouri Class Members.
    21
               930. Defendants appreciated the benefit bestowed upon them by Plaintiff
    22
         and Missouri Class members.
    23
               931. Defendants wrongfully concealed the facts alleged herein giving rise
    24
         to their unlawful conduct. As alleged herein, until July 23, 2015, Defendants
    25
         affirmatively and successfully concealed their unlawful conduct which prevented
    26
         the Missouri Plaintiffs and the Class from discovering Defendants’ unlawful
    27
         conduct.    As a result of this fraudulent concealment, this cause of action did not
    28

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     1   accrue until July 23, 2015.
     2         932. Defendants accepted and retained the benefit bestowed upon them
     3   under inequitable and unjust circumstances arising from unlawful overcharges to
     4   Plaintiffs and Missouri Class members.
     5                       SIXTY-THIRD CLAIM FOR RELIEF
     6                (By Plaintiffs Melissa Bowman and Barbara Buenning
                                 On Behalf of the Nebraska Class)
     7
     8         933. Plaintiffs Melissa Bowman and Barbara Buenning, on behalf of

     9   themselves and the Nebraska Class, repeat and reassert each of the allegations

    10   contained in paragraphs 1 to 363 as if fully set forth herein.

    11         934. Plaintiff Melissa Bowman and Barbara Buenning purchased Packaged

    12   Tuna within the State of Nebraska during the Class Period. But for Defendants’

    13   conduct set forth herein, the price per unit of Packaged Tuna would have been

    14   lower, in an amount to be determined at trial.

    15         935. Defendants unlawfully overcharged end payers, who made purchases

    16   of Defendants’ Packaged Tuna in Nebraska at prices that were more than they

    17   would have been but for Defendants’ actions.

    18         936. Defendants received money from Plaintiffs and Class members as a

    19   direct result of the unlawful overcharges, and have retained this money.

    20   Defendants have paid no consideration to any other person in exchange for this

    21   money.

    22         937. Defendants wrongfully concealed the facts alleged herein giving rise

    23   to their unlawful conduct.       As alleged herein, the Defendants affirmatively

    24   concealed their unlawful conduct which prevented Nebraska Plaintiffs from

    25   reasonably discovering the claim before the statute of limitations expired. As a

    26   result, Defendants” unlawful conduct was neither obvious nor discoverable during

    27   the limitations period. This cause of action did not accrue until July 23, 2015 when

    28   the Plaintiffs knew, or in the exercise of reasonable diligence, should have known


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     1   about the Defendants’ unlawful conduct.
     2         938. In justice and fairness, Defendants should disgorge such money and
     3   remit the overcharged payments back to Plaintiffs and Class members.
     4                       SIXTY-FOURTH CLAIM FOR RELIEF
     5                      (By Plaintiffs Nay Alidad and Nancy Stiller
                                  On Behalf of the Nevada Class)
     6
               939. Plaintiffs Nay Alidad and Nancy Stiller, on behalf of themselves and
     7
         the Nevada Class, repeat and reassert each of the allegations contained in
     8
         paragraphs 1 to 363 as if fully set forth herein.
     9
               940. Plaintiffs Nay Alidad and Nancy Stiller purchased Packaged Tuna
    10
         within the State of Nevada during the Class Period. But for Defendants’ conduct
    11
         set forth herein, the price per unit of Packaged Tuna would have been lower, in an
    12
         amount to be determined at trial.
    13
               941. Defendants unlawfully overcharged end payers, who made purchases
    14
         Defendants’ Packaged Tuna in Nevada at prices that were more than they would
    15
         have been but for Defendants’ actions.
    16
               942. Plaintiffs and Class members have conferred an economic benefit
    17
         upon Defendants in the nature of revenue resulting from unlawful overcharges for
    18
         Defendants’ Packaged Tuna.
    19
               943. Defendants appreciated the benefits bestowed upon them by Plaintiffs
    20
         and Class members, for which they have paid no consideration to any other person.
    21
               944. Defendants have knowingly accepted and retained the benefits
    22
         bestowed upon them by Plaintiffs and Class members.
    23
               945. Defendants wrongfully concealed the facts alleged herein giving rise
    24
         to their unlawful conduct. Until July 23, 2015, the Nevada Plaintiffs did not
    25
         discover and could not have discovered by the exercise of reasonable diligence
    26
         Defendants’ unlawful conduct.
    27
               946. The circumstances under which Defendants have accepted and
    28

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     1   retained the benefits bestowed upon them by Plaintiffs and Class members are
     2   inequitable in that they result from Defendants’ unlawful overcharges for
     3   Defendants’ Packaged Tuna.
     4                       SIXTY-FIFTH CLAIM FOR RELIEF
     5             (By Plaintiffs Jessica Bartling, Jody Cooper, and Rob Skaff
                            On Behalf of the New Hampshire Class)
     6
     7         947. Plaintiffs Jessica Bartling, Jody Cooper, and Rob Skaff, on behalf of

     8   themselves and the New Hampshire Class, repeat and reassert each of the

     9   allegations contained in paragraphs 1 to 363 as if fully set forth herein

    10         948. Plaintiffs Jessica Bartling, Jody Cooper, and Rob Skaff purchased

    11   Packaged Tuna within the State of New Hampshire during the Class Period. But

    12   for Defendants’ conduct set forth herein, the price per unit of Packaged Tuna

    13   would have been lower, in an amount to be determined at trial.

    14         949. Defendants unlawfully overcharged end payers, who made purchases

    15   of Defendants’ Packaged Tuna in New Hampshire at prices that were more than

    16   they would have been but for Defendants’ actions.

    17         950. Defendants have received a benefit from Plaintiffs and Class members

    18   in the nature of revenue resulting from the unlawful overcharges, which revenue

    19   resulted from anticompetitive prices that inured to the benefit of Defendants.

    20         951. Defendants fraudulently concealed the essential facts alleged here

    21   giving rise to their unlawful conduct.       Until July 23, 2015, New Hampshire

    22   Plaintiffs did not discover and could not have discovered in the exercise of

    23   reasonable diligence either Defendants’ unlawful conduct or the facts giving rise to

    24   such conduct.

    25         952. Under the circumstances, it would be unconscionable for Defendants

    26   to retain such benefits.

    27                         SIXTY-SIXTH CLAIM FOR RELIEF

    28

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     1    (By Plaintiffs Kathy Gore and Laura Montoya On Behalf of the New Mexico
                                           Class)
     2
               953. Plaintiffs Kathy Gore and Laura Montoya, on behalf of themselves
     3
         and the New Mexico Class, repeat and reassert each of the allegations contained in
     4
         paragraphs 1 to 363 as if fully set forth herein.
     5
               954. Plaintiffs Kathy Gore and Laura Montoya purchased Packaged Tuna
     6
         within the State of New Mexico during the Class Period. But for Defendants’
     7
         conduct set forth herein, the price per unit of Packaged Tuna would have been
     8
         lower, in an amount to be determined at trial.
     9
               955. Defendants unlawfully overcharged end payers, who made purchases
    10
         of Defendants’ Packaged Tuna in New Mexico at prices that were more than they
    11
         would have been but for Defendants’ actions.
    12
               956. Defendants have knowingly benefitted at the expense of Plaintiffs and
    13
         Class members from revenue resulting from unlawful overcharges for Defendants’
    14
         Packaged Tuna.
    15
               957. Defendants knew that their conduct was unlawful and wrongfully
    16
         concealed the facts alleged here giving rise to their unlawful conduct. Until July
    17
         23, 2015, New Mexico Plaintiffs did not know and could not have known in the
    18
         exercise of reasonable diligence either Defendants’ unlawful conduct or the facts
    19
         giving rise to such conduct.
    20
               958. To allow Defendants to retain the benefits would be unjust because
    21
         the benefits resulted from anticompetitive pricing that inured to Defendants’
    22
         benefit and because Defendants have paid no consideration to any other person for
    23
         any of the benefits they received.
    24
                           SIXTY-SEVENTH CLAIM FOR RELIEF
    25
                (By Plaintiffs Corey Norris, Audra Rickman, and Amber Sartori
    26                        On Behalf of the North Carolina Class)
    27
               959. Plaintiffs Corey Norris, Audra Rickman, and Amber Sartori, on behalf
    28

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     1   of themselves and the North Carolina Class, repeat and reassert each of the
     2   allegations contained in paragraphs 1 to 363 as if fully set forth herein.
     3          960. Plaintiffs Corey Norris, Audra Rickman, and Amber Sartori purchased
     4   Packaged Tuna within the State of North Carolina during the Class Period. But for
     5   Defendants’ conduct set forth herein, the price per unit of Packaged Tuna would
     6   have been lower, in an amount to be determined at trial.
     7          961. Defendants unlawfully overcharged end payers, who made purchases
     8   of Defendants’ Packaged Tuna in North Carolina at prices that were more than
     9   they would have been but for Defendants’ actions.
    10          962. Plaintiffs and Class members have conferred an economic benefit
    11   upon Defendants in the nature of revenue resulting from unlawful overcharges to
    12   the economic detriment of Plaintiffs and Class members.
    13          963. Plaintiffs and Class members did not interfere with Defendants’
    14   affairs in any manner that conferred these benefits upon Defendants.
    15          964. Defendants wrongfully concealed the facts alleged herein giving rise
    16   to their unlawful conduct. Until July 23, 2015, the North Carolina Plaintiffs did
    17   not know and could not have learned or discovered by the exercise of due care
    18   about Defendants’ unlawful conduct.
    19          965. The benefits conferred upon Defendants were not gratuitous, in that
    20   they comprised revenue created by unlawful overcharges arising from Defendants’
    21   actions to fix, maintain and stabilize artificially high prices for Packaged Tuna on
    22   the market.
    23          966. The benefits conferred upon Defendants are measurable, in that the
    24   revenue Defendants have earned due to unlawful overcharges are ascertainable by
    25   review of sales and other business records.
    26          967. Defendants consciously accepted the benefits and continue to do so as
    27   of the date of this filing.
    28                         SIXTY-EIGHTH CLAIM FOR RELIEF

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     1                 (By Plaintiffs Tya Hughes and Bonnie Vander Laan
                              On Behalf of the North Dakota Class)
     2
               968. Plaintiffs Tya Hughes and Bonnie Vander Laan, on behalf of
     3
         themselves and the North Dakota Class, repeat and reassert each of the allegations
     4
         contained in paragraphs 1 to 363 as if fully set forth herein.
     5
               969. Plaintiffs Tya Hughes and Bonnie Vander Laan purchased Packaged
     6
         Tuna within the State of North Dakota during the Class Period. But for
     7
         Defendants’ conduct set forth herein, the price per unit of Packaged Tuna would
     8
         have been lower, in an amount to be determined at trial.
     9
               970. Defendants unlawfully overcharged end payers, who made purchases
    10
         of Defendants’ Packaged Tuna in North Dakota at prices that were more than they
    11
         would have been but for Defendants’ actions.
    12
               971. Defendants, without justification, have been enriched at the direct
    13
         impoverishment of Plaintiffs and Class members, in that Defendants have been
    14
         enriched by revenue resulting from unlawful overcharges for Defendants’
    15
         Packaged Tuna.
    16
               972. Plaintiffs and Class members have been impoverished by the
    17
         overcharges for Defendants’ Packaged Tuna resulting from Defendants’ unlawful
    18
         conduct, and they have no legal means of retrieving the value of their
    19
         impoverishment.
    20
               973. Defendants’ enrichment and             Plaintiffs’ and Class   members’
    21
         impoverishment are connected. Defendants have paid no consideration to any other
    22
         person for any benefits they received directly or indirectly from Plaintiffs and
    23
         Class Members.
    24
               974. There is no justification for Defendants’ receipt of the benefits
    25
         causing their enrichment,        because   Plaintiffs   and Class   members   paid
    26
         anticompetitive prices that inured to Defendants’ benefit, and it would be
    27
         inequitable for Defendants to retain any revenue gained from their unlawful
    28

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     1   overcharges.
     2         975. Defendants wrongfully concealed the facts alleged herein giving rise
     3   to their unlawful conduct. Until July 23, 2015, North Dakota Plaintiffs did not
     4   discover and could not have discovered by exercise of reasonable diligence
     5   Defendants’ unlawful conduct. Until July 23, 2015, North Dakota Plaintiffs had
     6   neither actual nor constructive notice of the facts alleged herein giving rise to
     7   Defendants’ unlawful conduct.
     8         976. Plaintiffs and Class members have no remedy at law.
     9
                              SIXTY-NINTH CLAIM FOR RELIEF
    10                   (By Plaintiffs Danielle Johnson and Liza Milliner
    11                            On Behalf of the Oregon Class)
    12         977. Plaintiffs Danielle Johnson and Liza Milliner, on behalf of themselves
    13   and the Oregon Class, repeat and reassert each of the allegations contained in
    14   paragraphs 1 to 363 as if fully set forth herein.
    15         978. Plaintiffs Danielle Johnson and Liza Milliner purchased Packaged
    16   Tuna within the State of Oregon during the Class Period. But for Defendants’
    17   conduct set forth herein, the price per unit of Packaged Tuna would have been
    18   lower, in an amount to be determined at trial.
    19         979. Defendants unlawfully overcharged end payers, who made purchases
    20   of Defendants’ Packaged Tuna in Oregon at prices that were more than they would
    21   have been but for Defendants’ actions.
    22         980. Plaintiffs and Class members have conferred an economic benefit
    23   upon Defendants, in the nature of revenue resulting from unlawful overcharges to
    24   the economic detriment of Plaintiffs and Class members.
    25         981. Defendants were aware of the benefit bestowed upon them by
    26   Plaintiffs and Class members.
    27         982. Defendants wrongfully concealed the facts alleged herein giving rise
    28   to their unlawful conduct. Until July 23, 2015, Oregon Plaintiffs did not discover

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     1   and could not discovered with reasonable diligence either the facts alleged or
     2   Defendants’ unlawful conduct.
     3         983. It would be inequitable and unjust for Defendants to retain any of the
     4   overcharges for Packaged Tuna derived from Defendants’ unfair conduct without
     5   compensating Plaintiffs and Class members.
     6                       SEVENTIETH CLAIM FOR RELIEF
     7              (By Plaintiffs Katherine McMahon and Elizabeth Perron
                              On Behalf of the Rhode Island Class)
     8
               984. Plaintiffs Katherine McMahon and Elizabeth Perron, on behalf of
     9
         themselves and the Rhode Island Class, repeat and reassert each of the allegations
    10
         contained in paragraphs 1 to 363 as if fully set forth herein.
    11
               985. Plaintiffs Katherine McMahon and Elizabeth Perron purchased
    12
         Packaged Tuna within the State of Rhode Island during the Class Period. But for
    13
         Defendants’ conduct set forth herein, the price per unit of Packaged Tuna would
    14
         have been lower, in an amount to be determined at trial.
    15
               986. Defendants unlawfully overcharged end payers, who made purchases
    16
         of Defendants’ Packaged Tuna in Rhode Island at prices that were more than they
    17
         would have been but for Defendants’ actions.
    18
               987. Plaintiffs and Class members have conferred an economic benefit
    19
         upon Defendants, in the nature of revenue resulting from unlawful overcharges to
    20
         the economic detriment of Plaintiff and Class members.
    21
               988. Defendants were aware of and/or recognized the benefit bestowed
    22
         upon them by Plaintiffs and the Class members.
    23
               989. Defendants wrongfully concealed the facts alleged herein giving rise
    24
         to their unlawful conduct. Until July 23, 2015, Rhode Island Plaintiffs could not,
    25
         in the exercise of reasonable diligence, have discovered the alleged facts or
    26
         Defendants’ wrongful conduct.
    27
               990. Under the circumstances, it would be inequitable for Defendants to
    28

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     1   retain such benefits without compensating Plaintiffs and Class members.
     2                       SEVENTY-FIRST CLAIM FOR RELIEF
     3         (By Plaintiff Gay Birnbaum on Behalf of the South Carolina Class)
     4         991. Plaintiff Gay Birnbaum for herself and on behalf of the South
     5   Carolina Class, repeats and realleges each of the allegations contained in
     6   paragraphs 1 to 363 as if fully set forth herein.
     7         992. Plaintiff Gay Birnbaum purchased Packaged Tuna with the State of
     8   South Carolina during the Class Period. But for Defendants’ conduct set forth
     9   herein, the price per unit of Packaged Tuna would have been lower, in an amount
    10   to be determined at trial.
    11         993. Defendants unlawfully overcharged end payers, who made purchases
    12   of Defendants’ Packaged Tuna in the State of South Carolina at prices that were
    13   more than they would have been but for Defendants’ actions.
    14         994. Plaintiff and Class members have conferred a non-gratuitous,
    15   economic benefit upon Defendants, in the nature of revenue resulting from
    16   unlawful overcharges to the economic detriment of Plaintiff and Class members.
    17         995. Defendants appreciated the benefits bestowed upon them by Plaintiff
    18   and Class Members, for which they have paid no consideration to any other person.
    19         996. Defendants deliberately failed to disclose material facts to Plaintiff
    20   and members of the South Carolina Class concerning Defendants’ unlawful
    21   activities, including the horizontal conspiracy and artificially-inflated prices for
    22   Packaged Tuna. Defendants’ wrongful concealment of the facts alleged herein
    23   giving rise to the unlawful conduct meant that such facts were not and could not
    24   have been reasonably discovered by the diligence of Plaintiffs until July 23, 2015.
    25         997. It is inequitable for Defendants to accept and retain such benefits
    26   without compensating Plaintiff and Class Members.
    27                    SEVENTY-SECOND CLAIM FOR RELIEF
    28       (By Plaintiff Casey Christensen On Behalf of the South Dakota Class)

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     1          998. Plaintiff Casey Christensen, on behalf of herself and the South Dakota
     2   Class, repeats and reasserts each of the allegations contained in paragraphs 1 to
     3   363 as if fully set forth herein.
     4          999. Plaintiff Casey Christensen purchased Packaged Tuna within the State
     5   of South Dakota during the Class Period. But for Defendants’ conduct set forth
     6   herein, the price per unit of Packaged Tuna would have been lower, in an amount
     7   to be determined at trial.
     8          1000. Defendants unlawfully overcharged end payers, who made purchases
     9   of Defendants’ Packaged Tuna in South Dakota at prices that were more than they
    10   would have been but for Defendants’ actions.
    11          1001. Plaintiff and Class members have conferred an economic benefit upon
    12   Defendants, in the nature of revenue resulting from unlawful overcharges to the
    13   economic detriment of Plaintiffs and Class Members.
    14          1002. Defendants were aware of the benefit bestowed upon them by Plaintiff
    15   and Class members.
    16          1003. Defendants acted affirmatively to wrongfully conceal facts alleged
    17   herein giving rise to their unlawful conduct. Until July 23, 2015, South Dakota
    18   Plaintiffs had no actual or constructive notice of these concealed facts and did not
    19   discover and could not have discovered with reasonable diligence Defendants’
    20   unlawful conduct.
    21          1004. Under the circumstances, it would be inequitable and unjust for
    22   Defendants to retain such benefits without reimbursing Plaintiffs and Class
    23   members.
    24                     SEVENTY-THIRD CLAIM FOR RELIEF
    25              (By Plaintiffs Kirsten Peck, John Peychal, and John Trent
                                 On Behalf of the Tennessee Class)
    26
    27          1005. Plaintiffs Kirsten Peck, John Peychal, and John Trent, on behalf of

    28   himself and the Tennessee Class, repeats and reasserts each of the allegations


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     1   contained in paragraphs 1 to 363 as if fully set forth herein.
     2         1006. Plaintiffs Kirsten Peck, John Peychal, and John Trent purchased
     3   Packaged Tuna within the State of Tennessee during the Class Period. But for
     4   Defendants’ conduct set forth herein, the price per unit of Packaged Tuna would
     5   have been lower, in an amount to be determined at trial.
     6         1007. Defendants unlawfully overcharged end payers, who purchased
     7   Defendants’ Packaged Tuna in Tennessee at prices that were more than they would
     8   have been but for Defendants’ actions.
     9         1008. Plaintiffs and Class members have conferred an economic benefit
    10   upon Defendants, in the nature of revenue resulting from unlawful overcharges to
    11   the economic detriment of Plaintiff and Class Members.
    12         1009. Defendants appreciated the benefits bestowed upon them by Plaintiffs
    13   and Class Members, for which they have paid no consideration to any other person.
    14         1010. It is inequitable for Defendants to accept and retain such benefits
    15   without compensating Plaintiffs and Class Members.
    16         1011. Defendants wrongfully and affirmatively concealed the facts alleged
    17   herein giving rise to their unlawful conduct.      Despite exercising due diligence,
    18   Plaintiffs did not have information sufficient to alert a reasonable person of the
    19   need to investigate the injury, and were not able to discover evidence of their
    20   claims of Defendants’ unlawful conduct until July 23, 2015.
    21         1012. The resellers from whom Plaintiffs and Class Members purchased
    22   Defendants’ Packaged Tuna were not involved in the conspiracy. Plaintiff and
    23   Class Members have no remedy against the innocent resellers under the theory of
    24   unjust enrichment.
    25                     SEVENTY-FOURTH CLAIM FOR RELIEF
    26                      (By Plaintiffs Vivek Dravid and Tina Grant
                                   On Behalf of the Utah Class)
    27
    28         1013. Plaintiffs Vivek Dravid and Tina Grant, on behalf of themselves and


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     1   the Utah Class, repeat and reassert each of the allegations contained in paragraphs
     2   1 to 363 as if fully set forth herein.
     3          1014. Plaintiffs Vivek Dravid and Tina Grant purchased Packaged Tuna
     4   within the State of Utah during the Class Period. But for Defendants’ conduct set
     5   forth herein, the price per unit of Packaged Tuna would have been lower, in an
     6   amount to be determined at trial.
     7          1015. Defendants unlawfully overcharged end payers, who made purchases
     8   of Defendants’ Packaged Tuna in Utah at prices that were more than they would
     9   have been but for Defendants’ actions.
    10          1016. Plaintiffs and Class members have conferred a direct economic
    11   benefit upon Defendants, in the nature of revenue resulting from unlawful
    12   overcharges paid by Plaintiffs and the Class members and accepted and retained by
    13   Defendants, to the economic detriment of Plaintiffs and Class members.
    14          1017. Defendants were aware of or appreciated the benefit bestowed upon
    15   them by Plaintiffs and Class members.
    16          1018. Defendants wrongfully concealed the facts alleged herein giving rise
    17   to the their unlawful conduct. Until July 23, 2015, Utah Plaintiffs did not discover
    18   and could not have reasonably discovered their claim.
    19          1019. Under the circumstances, it would be inequitable for Defendants to
    20   retain such benefits without compensating Plaintiffs and Class Members.
    21                      SEVENTY-FIFTH CLAIM FOR RELIEF
    22                (By Plaintiffs Stephanie Gipson and Jennifer A. Nelson
                                 On Behalf of the Vermont Class)
    23
    24          1020. Plaintiffs Stephanie Gipson and Jennifer A. Nelson, on behalf of

    25   themselves and the Vermont Class, repeat and reassert each of the allegations

    26   contained in paragraphs 1 to 363 as if fully set forth herein.

    27          1021. Plaintiffs Stephanie Gipson and Jennifer A. Nelson purchased

    28   Packaged Tuna within the State of Vermont during the Class Period. But for


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     1   Defendants’ conduct set forth herein, the price per unit of Packaged Tuna would
     2   have been lower, in an amount to be determined at trial.
     3          1022. Defendants unlawfully overcharged end payers, who made purchases
     4   of Defendants’ Packaged Tuna in Vermont at prices that were more than they
     5   would have been but for Defendants’ actions.
     6          1023. Plaintiffs and Class members have conferred an economic benefit
     7   upon Defendants, in the nature of revenue resulting from unlawful overcharges to
     8   the economic detriment of Plaintiffs and Class Members.
     9          1024. Defendants accepted the benefit bestowed upon them by Plaintiffs and
    10   Class members.
    11          1025. Defendants wrongfully concealed the facts alleged herein giving rise
    12   to their unlawful conduct. As a result, the objective facts necessary to put the
    13   Vermont Plaintiffs and the Class on notice of such facts was not available until
    14   July 23, 2015. As a result, the period prior to the discovery of this unlawful
    15   conduct should be excluded in determining the time limited for the commencement
    16   of this action.
    17          1026. Under the circumstances, it would be inequitable for Defendants to
    18   retain such benefits without compensating Plaintiffs and Class members.
    19                       SEVENTY-SIXTH CLAIM FOR RELIEF
    20                     (By Plaintiffs Diana Mey and Jade Canterbury
                               On Behalf of the West Virginia Class)
    21
                1027. Plaintiffs Diana Mey and Jade Canterbury, on behalf of themselves
    22
         and the West Virginia Class, repeat and reassert each of the allegations contained
    23
         in paragraphs 1 to 363 as if fully set forth herein.
    24
                1028. Plaintiffs Diana Mey and Jade Canterbury purchased Packaged Tuna
    25
         within the State of West Virginia during the Class Period. But for Defendants’
    26
         conduct set forth herein, the price per unit of Packaged Tuna would have been
    27
         lower, in an amount to be determined at trial.
    28

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     1         1029. Defendants unlawfully overcharged end payers, who made purchases
     2   of Defendants’ Packaged Tuna in West Virginia at prices that were more than they
     3   would have been but for Defendants’ actions.
     4         1030. Plaintiffs and Class members have conferred an economic benefit
     5   upon Defendants, in the nature of revenue resulting from unlawful overcharges to
     6   the economic detriment of Plaintiffs and Class members.
     7         1031. Defendants were aware of or appreciated the benefit bestowed upon
     8   them by Plaintiffs and Class members.
     9         1032. Defendants wrongfully concealed the facts alleged herein giving rise
    10   to their unlawful conduct. Until July 23, 2015, West Virginia Plaintiffs did not
    11   discover and could not in the exercise of reasonable diligence have discovered the
    12   alleged concealed facts or Defendants’ wrongful conduct.
    13         1033. Under the circumstances, it would be inequitable for Defendants to
    14   retain such benefits without compensating Plaintiffs and Class members.
    15                   SEVENTY-SEVENTH CLAIM FOR RELIEF
    16            (By Plaintiffs Michael Juetten, Kathy Lingnofski, Julie Wiese,
                     and Daniel Zwirlein On Behalf of the Wisconsin Class)
    17
    18         1034. Plaintiffs Michael Juetten, Kathy Lingnofski, Julie Wiese, and Daniel

    19   Zwirlein, on behalf of themselves and the Wisconsin Class, repeat and reassert

    20   each of the allegations contained in paragraphs 1 to 363 as if fully set forth herein.

    21         1035. Plaintiffs Michael Juetten, Kathy Lingnofski, Julie Wiese, and Daniel

    22   Zwirlein purchased Packaged Tuna within the State of Wisconsin during the Class

    23   Period. But for Defendants’ conduct set forth herein, the price per unit of Packaged

    24   Tuna would have been lower, in an amount to be determined at trial.

    25         1036. Defendants unlawfully overcharged end payers, who made purchases

    26   of Defendants’ Packaged Tuna in Wisconsin at prices that were more than they

    27   would have been but for Defendants’ actions.

    28         1037. Plaintiffs and Class members have conferred an economic benefit


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     1   upon Defendants, in the nature of revenue resulting from unlawful overcharges to
     2   the economic detriment of Plaintiffs and Class members.
     3         1038. Defendants appreciated the benefit bestowed upon them by Plaintiffs
     4   and Class Members.
     5         1039. Defendants wrongfully concealed the facts alleged herein giving rise
     6   to their unlawful conduct. Until July 23, 2015, Wisconsin Plaintiffs did not
     7   discover and could not in the exercise of reasonable diligence have discovered
     8   their injury or that Defendants’ unlawful conduct likely caused such injury.
     9         1040. Under the circumstances, it would be inequitable for Defendants to
    10   retain such benefits without compensating Plaintiffs and Class members.
    11                                 PRAYER FOR RELIEF
    12         Accordingly, Plaintiffs, on behalf of themselves and the Classes of all others
    13   so similarly situated, respectfully requests that:
    14         a)     The Court determine that each of the claims alleged in this Complaint
    15   may be maintained as a class action claims under Rule 23(a), (b)(2), and (b)(3) of
    16   the Federal Rules of Civil Procedure, and direct that reasonable notice of this
    17   action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be
    18   given to each and every member of the Classes once certified;
    19         b)     The unlawful conduct alleged herein be adjudged and decreed in
    20   violation of the listed state antitrust laws, state consumer protection laws, and
    21   common law;
    22         c)     Plaintiffs and the members of the Classes recover damages, to the
    23   maximum extent allowed under applicable state law, and that a joint and several
    24   judgment in favor of Plaintiffs and the members of such Classes be entered against
    25   Defendants in an amount to be trebled to the extent such laws permit;
    26         d)     Plaintiffs and the members of the Classes recover damages, to the
    27   maximum extent allowed by applicable state law , in the form of restitution and/or
    28   disgorgement of profits unlawfully gained from them;

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     1         e)     Defendants, their affiliates, successors, transferees, assignees and
     2   other officers, directors, partners, agents and employees thereof, and all other
     3   persons acting or claiming to act on their behalf or in concert with them, be
     4   permanently enjoined and restrained from in any manner continuing, maintaining
     5   or renewing the conduct, contract, conspiracy, or combination alleged herein, or
     6   from entering into any other contract, conspiracy, or combination having a similar
     7   purpose or effect, and from adopting or following any practice, plan, program, or
     8   device having a similar purpose or effect;
     9         f)     Plaintiffs and the members of the Classes be awarded pre- and post-
    10   judgment interest as provided by law, and that such interest be awarded at the
    11   highest legal rate from and after the date of service of this Complaint;
    12         g)     Plaintiffs and the members of the Classes recover their costs of suit,
    13   including reasonable attorneys’ fees, as provided by law;
    14         h)     Plaintiffs and members of the Classes have such other and further
    15   relief as the case may require and the Court may deem just and proper.
    16                                    JURY DEMAND
    17         Plaintiffs, on behalf of themselves and the Classes of all others similarly
    18   situated, hereby demand a trial by jury on all issues so triable pursuant to Rule 38
    19   of the Federal Rules of Civil Procedure.
    20   DATED: October 10, 2017                WOLF HALDENSTEIN ADLER
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